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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Lynda T. Bui, Trustee
 3550 Vine Street, Suite 210
 Riverside, California 92507
 Telephone: (949) 340-3400
 Facsimile: (949) 340-3000
 Email: trustee.bui@shbllp.com

 Chapter 7 Trustee




      Individual appearing without attorney
      Attorney for:

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION                                       DIVISION

 In re:                                                                       CASE NO.: 6:17-bk-10928-WJ
                                                                              CHAPTER: 7
 PEGGY IRENE CLELLAND
 aka Peggy Irene Casey, and
 JOEL DOUGLAS CLELLAND
 aka Joel Clelland,
                                                                                   NOTICE OF SALE OF ESTATE PROPERTY

                                                              Debtor(s).


 Sale Date: 01/08/2019                                                        Time: 1:00 pm

 Location: Courtroom 304, U.S. Bankruptcy Court, 3420 Twelfth Street, Riverside, CA 92501

Type of Sale:           Public         Private               Last date to file objections: 12/26/2018

                                    Residential property located at 1339 Alta Avenue, Upland, CA 91786
Description of property to be sold: ___________________________________________________________________




                               See attached for more information.
Terms and conditions of sale: _______________________________________________________________________




                     $382,250.00, subject to lender approval
Proposed sale price: _________________________________


           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                                    F 6004-2.NOTICE.SALE
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                             Not applicable
Overbid procedure (if any): _________________________________________________________________________




If property is to be sold free and clear of liens or other interests, list date, time and location of hearing:

                      1/8/2019 at 1:00 pm
                      United States Bankruptcy Court
                      Courtroom 304
                      3420 Twelfth Street
                      Riverside, CA 92501




Contact person for potential bidders (include name, address, telephone, fax and/or email address):

                      Lynda T. Bui, Chapter 7 Trustee
                      3550 Vine Street, Suite 210
                      Riverside, California 92507
                      Telephone: (949) 340-3400
                      Facsimile: (949) 340-3000
                      Email: trustee.bui@shbllp.com




Date: 12/18/2018




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 2                                       F 6004-2.NOTICE.SALE
          Case 6:17-bk-10928-WJ                   Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                                      Desc
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Lynda T. Bui, Trustee
 3550 Vine Street, Suite 210
 Riverside, California 92507
 Telephone: (949) 340-3400
 Facsimile: (949) 340-3000
 Email: trustee.bui@shbllp.com

 Chapter 7 Trustee




      Individual appearing without attorney
      Attorney for:

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION                                       DIVISION

 In re:                                                                       CASE NO.: 6:17-bk-10928-WJ

PEGGY IRENE CLELLAND                                                          CHAPTER: 7
aka Peggy Irene Casey, and
JOEL DOUGLAS CLELLAND                                                         NOTICE OF MOTION FOR:
aka Joel Clelland,                                                            Chapter 7 Trustee's Motion for Order: (1) Authorizing the
                                                                              Short Sale of Real Property of the Estate Free and Clear of
                                                                              Liens Pursuant to Bankruptcy Code §§ 363(b) and 363(f);
                                                                              (2) Approving Payment of Real Estate Commission; and
                                                                              (3) Granting Related Relief

                                                                              (Specify name of Motion)

                                                                              DATE: 01/08/2019
                                                                              TIME: 1:00 pm
                                                                              COURTROOM: 304
                                                                              PLACE: 3420 Twelfth Street
                                                                                       Riverside, CA 92501
                                                              Debtor(s).

                       United States Trustee, Debtors, Creditors, Parties in Interest, and their respective counsel
1. TO (specify name): _____________________________________________________________________________

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                          F 9013-1.1.+($5,1*NOTICE
        Case 6:17-bk-10928-WJ                   Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                                      Desc
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4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: 12/18/2018
                                                                               Printed name of law firm




                                                                               /s/ Lynda T. Bui
                                                                                Signature


                                                                               /s/ Lynda T. Bui
                                                                               Printed name of attorney




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 2                              )+($5,1*127,&(
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                        1 Lynda T. Bui, Trustee
                          3550 Vine Street, Suite 210
                        2 Riverside, California 92507
                          Telephone: (949) 340-3400
                        3 Facsimile:   (949) 340-3000
                          Email:       trustee.bui@shbllp.com
                        4

                        5 Chapter 7 Trustee

                        6

                        7

                        8                                     UNITED STATES BANKRUPTCY COURT

                        9                      CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION

                      10

                      11
                                 In re                                                   Case No. 6:17-bk-10928-WJ
                      12
                                 PEGGY IRENE CLELLAND                                    Chapter 7
                      13         aka Peggy Irene Casey, and
                                 JOEL DOUGLAS CLELLAND                                   CHAPTER 7 TRUSTEE’S MOTION FOR
                      14         aka Joel Clelland,                                      ORDER:

                      15                                                                 (1) AUTHORIZING THE SHORT SALE OF
                                 Debtors.                                                    REAL PROPERTY OF THE ESTATE FREE
                      16                                                                     AND CLEAR OF LIENS PURSUANT TO
                                                                                             BANKRUPTCY CODE §§ 363(b) AND
                                                                                             363(f);
                      17
                                                                                         (2) APPROVING PAYMENT OF REAL
                      18                                                                     ESTATE COMMISSION; AND
                      19                                                                 (3) GRANTING RELATED RELIEF

                      20                                                                 MEMORANDUM OF POINTS AND
                                                                                         AUTHORITIES AND DECLARATIONS OF
                      21                                                                 LYNDA T. BUI AND PATRICK BUTLER IN
                                                                                         SUPPORT THEREOF
                      22                                                                 Real Property located at:
                                                                                         1339 Alta Avenue, Upland, CA 91786
                      23
                                                                                         Hearing Date:
                      24                                                                 Date: January 8, 2019
                                                                                         Time: 1:00 pm
                      25                                                                 Place: Courtroom 304
                                                                                                3420 Twelfth Street
                      26                                                                        Riverside, CA 92501
                      27

                      28
     LYNDA T. BUI
 CHAPTER 7 TRUSTEE
3550 Vine Street, Suite 210
                                                                                          1
   Riverside, CA 92507        23018-000/50 Sale Mtn TC Clelland Re 1339 Alta Avenue, Upland, CA.docx
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                        1 TO THE HONORABLE WAYNE JOHNSON, UNITED STATE BANKRUPTCY JUDGE,

                        2 THE OFFICE OF THE UNITED STATES TRUSTEE, THE DEBTORS AND ALL

                        3 CREDITORS AND OTHER INTERESTED PARTIES AND THEIR COUNSEL OF

                        4 RECORD:

                        5              Lynda T. Bui, the Chapter 7 trustee (“Trustee”) for the bankruptcy estate (“Estate”)

                        6 of Peggy Irene Clelland and Joel Douglas Clelland (“Debtor”), brings this Chapter 7

                        7 Trustee's Motion for Order: (1) Authorizing the Short Sale of Real Property of the Estate

                        8 Free and Clear of Liens Pursuant to Bankruptcy Code §§ 363(b) and 363(f); (2) Approving

                        9 Payment of Real Estate Commission; and (3) Granting Related Relief (“Sale Motion”) and

                      10 respectfully represents as follows:

                      11                                                   I.       BACKGROUND

                      12               The Debtors commenced this bankruptcy case under Chapter 7 by filing a Voluntary

                      13 Petition on February 7, 2017. Lynda T. Bui is the duly appointed, qualified and acting

                      14 Chapter 7 trustee for the Estate.

                      15               The last date to file claims in the case was August 14, 2017. Government claims

                      16 were due by August 7, 2017. The Court’s Claims Register indicates there have been nine

                      17 claims filed totaling $43,880.14, consisting of $506.71 in priority claims and $43,373.43 in

                      18 general unsecured claims.
                      19               Property of the Estate includes the Debtors’ interest in the real property located at

                      20 1339 Alta Avenue, Upland, California 91786 (“Property”).                      Attached as Exhibit 1 to the

                      21 Declaration of Lynda T. Bui (“Bu Declaration”) are true and correct copies of the Debtors’

                      22 Schedules A/B, C and D. On their Schedule A, the Debtors valued their interest in the

                      23 Property at $413,306.00 and listed two liens on their Schedule D in favor of (i) Cenlar

                      24 (Senior Secured Creditor ) in the amount of $265,390.00 and (ii)                        Specialized Loan

                      25 Servicing, LLC (“Junior Secured Creditor ”) in the amount of $122,323.00, for total liens of

                      26 $387,713.00 (the Senior Secured Creditor and Junior Secured Creditor are collectively

                      27 referred to as the “Secured Creditors”). Based on the Schedules there does not appear to

                      28 be equity in the Property for the benefit of the Estate.
     LYNDA T. BUI
 CHAPTER 7 TRUSTEE
3550 Vine Street, Suite 210
                                                                                          2
   Riverside, CA 92507        23018-000/50 Sale Mtn TC Clelland Re 1339 Alta Avenue, Upland, CA.docx
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                        1              A Preliminary Title Report on the Property dated December 13, 2018 is attached to

                        2 the Declaration of Lynda T. Bui (“Bui Declaration”) as Exhibit 2. The outstanding liens

                        3 against the Property are as shown on the Preliminary Title Report. Based on the Debtors’

                        4 Schedules and the Preliminary Title Report, the Property is over-encumbered.

                        5              The Court has ordered Secured Creditors’ relief from the automatic stay in this

                        6 case. 1 In addition, the Senior Secured Creditor has scheduled a foreclosure sale on the

                        7 Property for January 9, 2019 at 1:00 p.m. Attached as Exhibit 3 to the Bui Declaration is

                        8 a true and correct copy of the Senior Secured Creditor’s Notice of Trustee’s Sale which

                        9 indicates the amount owed on its lien is $309,255.62.

                      10               Pursuant to Court order entered on August 14, 2018 (docket 49), the Trustee was

                      11 authorized to employ the Broker Team of Sentinel Real Estate & Investments (through its

                      12 sales agent Gregory Shipp) and BK Global Real Estate Services as her real estate broker

                      13 for the Property.

                      14               Pursuant to order entered on September 18, 2018 (docket 54) (“Settlement Order”),

                      15 the Court approved a certain Settlement Agreement between the Trustee on behalf of the

                      16 Estate and the Debtors. Under the Settlement Agreement: (i) the Debtors agreed to

                      17 cooperate with the Trustee's efforts to market the Property for a short sale and cooperate

                      18 in the short sale process, (ii) the Trustee would file a Motion with the Bankruptcy Court to
                      19 request approval of the short sale that provides payment of all expenses associated with

                      20 the short sale, including payment of a standard real estate brokerage commission, and a

                      21 payment to the Estate to provide for meaningful distribution on allowed unsecured claims,

                      22

                      23

                      24      1
                                On March 29, 2018, the Court entered an order (docket 39) granting Lakeview Loan Servicing, LLC (loan
                      25      servicer for the current beneficiary of first trust deed on the Property) relief from automatic stay of 11 U.S.C.
                              § 362(a) to allow it to move forward with a foreclosure upon and to obtain possession of the Property in
                              accordance with applicable non-bankruptcy law.
                      26
                              On April 17, 2018, the Court entered an order (docket 44) granting Deutsche Bank National Trust Company,
                      27 as Trustee, for IndyMac Home Equity Mortgage Loan Asset-backed Trust, Series 2006-H1 (current
                              beneficiary of the second trust deed on the Property) relief from automatic stay of 11 U.S.C. § 362(a) to allow
                      28 it to move forward with a foreclosure upon and to obtain possession of the Property in accordance with
     LYNDA T. BUI
                              applicable non-bankruptcy law.
 CHAPTER 7 TRUSTEE
3550 Vine Street, Suite 210
                                                                                          3
   Riverside, CA 92507        23018-000/50 Sale Mtn TC Clelland Re 1339 Alta Avenue, Upland, CA.docx
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                        1 (iii) any “net proceeds” 2 generated from the Trustee’s short sale of the Property shall be

                        2 split as follows: 50% to the Estate (“Estate Settlement Amount”), and 50% to the Debtors

                        3 (“Debtors’ Settlement Amount”), (iv) the Estate Settlement Amount shall be used by the

                        4 Estate for payment of administrative claims of the Estate and allowed unsecured claims

                        5 against the Estate, and (v) as the Property is encumbered by liens that exceed its value

                        6 and there is no equity, in exchange for the Debtors’ Settlement Amount, the Debtors

                        7 agreed to waive their claimed exemption in the Property of $25,593.00 under C.C.P. §

                        8 703.140(b)(1). A true and correct copy of the Settlement Order is attached to the Bui

                        9 Declaration as Exhibit 4 and a true and correct copy of the Settlement Agreement is

                      10 attached to the Bui Declaration as Exhibit 5.

                      11                Attached as Exhibit 6 to the Bui Declaration is a true and correct copy of the

                      12 purchase offer for the Property received from Yao Juan Xu (“Buyer”) or his assignee 3,

                      13 whose address is 4394 Hiwassee, Claremont, CA 91711. The Buyer has offered to

                      14 purchase the Property for $382,250.00.

                      15                Through the proposed sale, the lien of the Senior Secured Creditor will be paid an

                      16 amount as agreed to by the Senior Secured Creditor so as to satisfy the lien, and the lien

                      17 of the Junior Secured Creditor will be paid no less than $23,000.00 as agreed to by the

                      18 Junior Secured Creditor. Attached here as Exhibit 7 is a true and correct copy of the letter
                      19 from the Junior Secured Creditor approving the short sale of the Property.

                      20                The following chart provides information in compliance with LBR 6004-1(c)(3):

                      21              LBR 6004-1(c)(3) Requirement                                        Information

                      22          LBR 6004-1(c)(3)(A)                             Hearing Date and Time: January 8, 2019 at 1:00 p.m.
                                  Date, Time, and Place of hearing on the         Hearing Place:         U.S. Bankruptcy Court
                      23          proposed sale:                                                         Courtroom 304
                                                                                                         3420 Twelfth Street
                      24                                                                                 Riverside, CA 92501

                      25

                      26
                              2
                                  The term “net proceeds” shall mean the gross proceeds generated from the sale of the Property, less (i)
                      27 satisfaction of the Secured Creditors’ liens, including all arrearages; (ii) payment of all outstanding property
                              taxes; and (iii) typical pro-rations and closing costs, including escrow fees and real estate commissions.
                      28      3
     LYNDA T. BUI
                                  The Trustee has final discretion to approve or not approve the assignee.
 CHAPTER 7 TRUSTEE
3550 Vine Street, Suite 210
                                                                                          4
   Riverside, CA 92507        23018-000/50 Sale Mtn TC Clelland Re 1339 Alta Avenue, Upland, CA.docx
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                        1             LBR 6004-1(c)(3) Requirement                                          Information

                        2         LBR 6004-1(c)(3)(B)                             Yao Juan Xu (or his assignee 4) whose address is 4394
                                  Name and address of the proposed buyer:         Hiwassee, Claremont, CA 91711.
                        3
                                  LBR 6004-1(c)(3)(C)                             Real property located at: 1339 Alta Avenue, Upland, CA 91786
                        4         Description of the property to be sold:

                                  LBR 6004-1(c)(3)(D)                             Buyer has offered $382,250.00.           Under the transaction,
                        5         Terms and conditions of the proposed            payment of all expenses associated with the short sale,
                                  sale, including the price and all               including payment of a maximum 6% real estate brokerage
                        6         contingencies:                                  commission to the Broker Team and a fee for the Estate of
                                                                                  approximately $20,000.00, provide for meaningful distribution
                        7                                                         on allowed unsecured claims will be paid. The Property will not
                                                                                  be sold unless the Estate receives this fee. Upon close of
                        8                                                         escrow, the liens of Secured Creditors will be released and all
                                                                                  of their claims against the Property and the Estate with respect
                        9                                                         to the Property (including any deficiency claims resulting from
                                                                                  the Trustee’s sale of the Property), will be waived.
                      10
                                  LBR 6004-1(c)(3)(E)                             Liens impacting the Property are identified in the Title Report
                      11          Whether the proposed sale is free and           attached as Exhibit 2. The liens of the Secured Creditors will
                                  clear of liens, claims or interests, or         be paid in amounts as agreed to by the Secured Creditors and
                      12          subject to them, and a description of all       such liens will be released. Pursuant to Bankruptcy Code
                                  such liens, claims or interests:                sections 363(f)(1) and 363(f)(5) any and all liens that are junior
                      13                                                          to that of the Secured Creditors, will be released, discharged
                                                                                  and terminated at the close of escrow to the extent they are not
                      14                                                          satisfied or released prior to closing, and the Property will be
                                                                                  sold free and clear of the liens that are junior to the Secured
                      15                                                          Creditors and such liens will not attach to the sale proceeds.

                      16          LBR 6004-1(c)(3)(F)                             Yes to the extent the lender requires the highest and best offer
                                  Whether the proposed sale is subject to         and one that is consistent with the lender’s own appraisal.
                      17          higher and better bids:

                                  LBR 6004-1(c)(3)(G)                             The Estate is expected to receive $20,000.00. The estimated
                      18          Consideration to be received by the             costs of sale is 8% of the sale price (includes broker
                                  Estate, including estimated commissions,        commission). Sale price and costs of sale are subject to the
                      19          fees and other costs of sale:                   Secured Creditors’ approval.
                      20          LBR 6004-1(c)(3)(H)                             The Broker Team’s commission shall not to exceed six percent
                                  If authorization if sought to pay               of the purchase price. The broker representing the purchaser
                      21          commission, the identity of the auctioneer,     of the Property is Sentinel Real Estate & Investments through
                                  broker, or sales agent and the amount or        its sales agent Jameson Shipp (“Selling Broker”), the
                      22          percentage of the proposed commission           commission will be split between the Broker Team and the
                                  to be paid:                                     Selling Broker as follows:
                      23                                                            Broker Team                            2% or $7,645.00
                                                                                    Bk Global Real Estate Services
                      24                                                            Broker Team                            2% or $7,645.00
                                                                                    Sentinel Real Estate & Investments
                      25                                                            through its agent Gregory Shipp
                                                                                    Selling Broker                         2% or $7,645.00
                      26                                                            Sentinel Real Estate & Investments
                                                                                    through its agent Jameson Shipp
                      27

                      28      4
     LYNDA T. BUI
                                  The Trustee has final discretion to approve or not approve the assignee.
 CHAPTER 7 TRUSTEE
3550 Vine Street, Suite 210
                                                                                          5
   Riverside, CA 92507        23018-000/50 Sale Mtn TC Clelland Re 1339 Alta Avenue, Upland, CA.docx
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                        1           LBR 6004-1(c)(3) Requirement                                            Information

                        2      LBR 6004-1(c)(3)(I)                                Trustee believes there will be no tax liability from the sale
                               A description of the estimated or possible         because she is informed that the Property is being sold for less
                        3      tax consequences to the Estate, if known,          than the Debtors’ purchase price for the Property and there will
                               and how any tax liability generated by the         be no gain from the sale.
                        4      sale of the property will be paid:

                        5      LBR 6004-1(c)(3)(J)                                Objections, if any, must be filed and served 14 days prior to the
                               Deadline to file and serve objection:              Hearing Date (or by December 26, 2018).
                        6
                                                                       II.      RELIEF REQUESTED
                        7
                                       Through this Sale Motion, the Trustee is seeking authority sell the Property on an
                        8
                              as-is, where-is basis, without any warranties or representations, to the Buyer on the terms
                        9
                              and conditions of the purchase offer attached as Exhibit 6 to the Bui Declaration and the
                      10
                              Junior Secured Creditor approval letter attached as Exhibit 7 to the Bui Declaration.
                      11
                              Through the sale, all liens shown on the Preliminary Title Report will be fully satisfied as
                      12
                              agreed to by the Secured Creditors. All costs of sale including escrow fees, and a broker’s
                      13
                              commission of no more than 6% will be paid through escrow and the Estate will receive
                      14
                              proceeds of approximately $20,000.00 (50% of which will be paid to the Debtors under the
                      15
                              Settlement Agreement and Settlement Order).
                      16
                                       The Trustee believes that it is in the best interest of the Estate and its creditors to
                      17
                              short sell the Property as proposed in this Sale Motion. The alternative is abandon the
                      18
                              Estate’s interest in the Property and creditors will not receive anything from the Property
                      19
                              as both Secured Creditors have obtained relief from stay and the Senior Secured Creditor
                      20
                              has a foreclosure sale scheduled on the Property (scheduled for January 9, 2019).
                      21
                                       Nothing in the Sale Motion is intended to impair any Secured Creditors’ right to
                      22
                              foreclose on the Property.
                      23
                                       Pursuant to Local Bankruptcy Rule 6004-1(g), once the short sale closes, the
                      24
                              Trustee will file with the Court a Report of Sale which details the sale terms approved by
                      25
                              the Junior Secured Creditor.
                      26

                      27

                      28
     LYNDA T. BUI
 CHAPTER 7 TRUSTEE
3550 Vine Street, Suite 210
                                                                                          6
   Riverside, CA 92507        23018-000/50 Sale Mtn TC Clelland Re 1339 Alta Avenue, Upland, CA.docx
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                        1                                                     III.     ARGUMENT

                        2 A.           There is a Good Business Reason for the Sale and the Sale is in the Best

                        3              Interest of the Estate. 5

                        4              The duties of a trustee in a Chapter 7 filing are enumerated in 11 U.S.C. §704, which

                        5 provides in relevant part as follows:

                        6              (a) The trustee shall—

                        7                       (1) collect and reduce to money the property of the estate for
                                                which such trustee serves, and close such estate as
                        8                       expeditiously as is compatible with the best interests of parties
                                                in interest;
                        9
                                                (2) be accountable for all property received;
                      10

                      11 11 U.S.C. §704(a). Further, the Trustee, after notice and hearing, may sell property of the

                      12 estate. 11 U.S.C. § 363(b). Courts ordinarily will approve a proposed sale if there is a

                      13 good business reason for the sale and the sale is in the bests interests of the estate. In re

                      14 Wilde Horse Enterprises, Inc., 136 B.R. 830, 841 (Bankr. C.D. Cal. 1991); In re Lionel

                      15 Corp., 722 F.2d 1063, 1069 (2d Cir. 1983). In this case, the sale is anticipated to net the

                      16 Estate of approximately $20,000.00 that will be paid as part of the short sale.

                      17 B.            The Proposed Sale Should be Allowed Free and Clear of Liens

                      18               Bankruptcy Code Section 363(f) allows a trustee to sell property of the bankruptcy
                      19 estate “free and clear of any interest in such property of an entity,” if any one of the following

                      20 five conditions is met:

                      21
                                                (1)   applicable non-bankruptcy law permits a sale of such
                      22                        property free and clear of such interest;

                      23                        (2)       such entity consents;

                      24                                                        […]

                      25              (5)    such entity could be compelled, in a legal or equitable
                                      proceeding, to accept money satisfaction of such interest.
                      26 11 U.S.C. § 363(f).

                      27
                              5
                      28               Although Local Bankruptcy Rule 6004-1(c)(2)(C) does not require that a memorandum of points and
     LYNDA T. BUI
                              authorities be filed in support of the Motion, the Trustee is nevertheless submitting one.
 CHAPTER 7 TRUSTEE
3550 Vine Street, Suite 210
                                                                                          7
   Riverside, CA 92507        23018-000/50 Sale Mtn TC Clelland Re 1339 Alta Avenue, Upland, CA.docx
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                        1              Section 363(f) is written in the disjunctive and thus only one of the enumerated

                        2 conditions needs to be satisfied for Court approval to be appropriate.               The Secured

                        3 Creditors will be paid amounts as agreed to by the Secured Creditors and will consent to

                        4 the sale, and therefore the Trustee will have satisfied § 363(f)(2).

                        5              With respect to liens that are junior to the Secured Creditors, if any, (to the extent

                        6 they are not satisfied or released prior to closing), out of an abundance of caution, the

                        7 Trustee proposes to sell under § 363(f)(1) and/or 363(f)(5) as in California, judicial and

                        8 non-judicial foreclosures can be used to wipe out such junior liens. See Bankruptcy Code

                        9 section 363(f)(1) (stating that a trustee may sell property of the estate free and clear of

                      10 liens or other interest when applicable nonbankruptcy law permits such a sale free and

                      11 clear of liens and interests). The BAP in Clear Chanel stated that an example of a section

                      12 363(f)(1) sale is the Uniform Commercial Code section 9-320, which permits a sale free

                      13 and clear of a consensual security interest if the collateral is sold in the ordinary course of

                      14 business of the debtor. See Clear Channel Outdoor, Inc. v. Knupfer (In re PW, LLC), 391

                      15 B.R. 25, 41 (9th Cir B.A.P. 2008), fn. 21; Cal. Civ. Code §2924 et seq.                   Similarly,

                      16 Bankruptcy courts have expressed that the availability of foreclosure sales outside of

                      17 bankruptcy represent a “legal or equitable proceeding”, thus allowing a bankruptcy trustee

                      18 to sell the subject property free and clear of liens under § 363(f)(5). See e.g., In re Jolan,
                      19 Inc., 403 B.R. 866, 869-870 (Bankr. W.D. Wash,. 2009); In re Boston Generating, LLC, 440

                      20 B.R. 302, 333 (Bankr. S.D.N.Y. 2010); In re Aerisa, Inc., 2:09-bk-18456-RJH (Bankr. D.

                      21 Ariz).

                      22               In this case, if the Secured Creditors, elected to foreclose on their interest outside

                      23 of bankruptcy, every junior interest in the Property, would be extinguished notwithstanding

                      24 the fact that the foreclosure sale price may or may not pay such extinguished interests in

                      25 full, or at all. In such a foreclosure proceeding, liens junior to the Secured Creditors would

                      26 be forced to accept the distribution allowed by the resulting foreclosure sale price, in full

                      27

                      28
     LYNDA T. BUI
 CHAPTER 7 TRUSTEE
3550 Vine Street, Suite 210
                                                                                          8
   Riverside, CA 92507        23018-000/50 Sale Mtn TC Clelland Re 1339 Alta Avenue, Upland, CA.docx
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                        1 satisfaction of its released lien. 6 This hypothetical foreclosure sale clearly meets each

                        2 element of section 363(f)(5) to authorize the sale of the Property free and clear of all

                        3 interests, as it actively demonstrates that a junior interest “could be compelled, in a legal

                        4 or equitable proceeding [i.e. the foreclosure sale], to accept money satisfaction [i.e. the

                        5 distribution allowed pursuant to the foreclosure sale price] of such interest.” 11 U.S.C. §

                        6 363(f)(5).

                        7               Accordingly, the Court has the authority to approve the sale of the Property free and

                        8 clear of the liens that are junior to the Secured Creditors’ liens under Bankruptcy Code

                        9 sections 363(f)(1) and/or 363(f)(5).

                      10 C.             The Court has Authority to Waive the Fourteen-Day Stay of Sale.

                      11                Federal Rule of Bankruptcy Procedure 6004(h) provides that “[a]n order authorizing

                      12 the use, sale or lease of property other than cash collateral is stayed until the expiration of

                      13 14 days after entry of the order, unless the Court orders otherwise.” Fed. Rule Bankr. P.

                      14 6004(h). The Trustee desires to close the sale of the Property as soon as practicable after

                      15 entry of an order approving the sale. Accordingly, the Trustee requests that the Court, in

                      16 the discretion provided it under Federal Rule of Bankruptcy Procedure 6004(h), waive the

                      17 fourteen-day stay requirement.

                      18                                                    IV.      CONCLUSION
                      19                WHEREFORE, based upon the foregoing, the Trustee respectfully submits that

                      20 good cause exists for granting the Sale Motion and requests that the Court enter an order

                      21 which provides as follows:

                      22                1.       Authorizing (i) the Trustee to short sell the Property on an as-is, where-is

                      23 basis, without any warranties or representations, to a buyer approved by the Junior

                      24 Secured Creditor (“Approved Buyer”), in an amount approved by Junior Secured Creditor,

                      25 under the terms and conditions set forth above and as approved by the Junior Secured

                      26

                      27
                              6
                                  In the hypothetical foreclosure setting for a money satisfaction of the Secured Creditor’s interest, the holders
                      28 of the Junior Liens may still have general unsecured claims against the Estate for the amounts that are not
     LYNDA T. BUI
                              paid.
 CHAPTER 7 TRUSTEE
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                                                                                          9
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                        1 Creditor, including (i) authorizing the Trustee to comply with any written short sale approval

                        2 letter from the Junior Secured Creditor, including the letter attached as Exhibit 7, (ii)

                        3 authorizing payment of customary and normal closing costs at close of escrow, including

                        4 a real estate commission of no more than 6%, (iii) upon close of escrow, the liens of the

                        5 Secured Creditors shown on the Title Report are released or paid in amounts as agreed to

                        6 by the Secured Creditors and all of their claims against the Property and the Estate with

                        7 respect to the Property (including any deficiency claims resulting from the Trustee’s sale

                        8 of the Property), will be waived prior to closing or at the time of closing; (iv) approving the

                        9 sale of the Property free and clear of any and all liens that are junior to the liens of the

                      10 Secured Creditors, if any, (to the extent they are not satisfied or released prior to closing)

                      11 pursuant to Bankruptcy Code §§ 363(f)(1) and 363(f)(5), and (v) approve the payment of

                      12 approximately $20,000.00 to the Estate through the short sale transaction.

                      13               2.       Authorizing the Trustee to sign any and all documents convenient and

                      14 necessary to effectuate the sale.

                      15               3.       Waiving the fourteen day stay of the order approving the sale of the Property

                      16 under Federal Rules of Bankruptcy Procedure 6004(h).

                      17               4.       Pursuant to Local Bankruptcy Rule 6004-1(g), the Trustee will file a Report

                      18 of Sale detailing the terms of sale with the Court once the sale closes.
                      19               5.       From the “net proceeds” generated from sale of the Property, authorizing the

                      20 Trustee to pay the Debtors’ Settlement Amount (fifty percent of the net proceeds) as

                      21 provided for in the Settlement Agreement attached as Exhibit 5 to the Bui Declaration.

                      22               6.       And for such other and further relief as the Court deems just and proper under

                      23 the circumstances of this case.

                      24
                                Dated: December 18, 2018                       /s/ Lynda T. Bui
                      25                                                       _________________________________________
                                                                               Lynda T. Bui, solely in her capacity as the
                      26                                                       Chapter 7 Trustee for the bankruptcy estate of
                                                                               Peggy Irene Clelland and Joel Douglas Clelland
                      27

                      28
     LYNDA T. BUI
 CHAPTER 7 TRUSTEE
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                   DECLARATION
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                        1                                          DECLARATION OF LYNDA T. BUI

                        2              I, Lynda T. Bui, declare:

                        3              1.       I am the duly appointed, qualified and acting Chapter 7 trustee for the

                        4 bankruptcy estate (“Estate”) of Peggy Irene Clelland and Joel Douglas Clelland (“Debtors”).

                        5 I have personal knowledge of the facts set forth here, and if called and sworn as a witness,

                        6 I could and would competently testify to the facts.

                        7              2.       I make this Declaration in support of my Motion for Order: (1) Authorizing the

                        8 Short Sale of Real Property of the Estate Free and Clear of Liens Pursuant to Bankruptcy

                        9 Code §§ 363(b) and 363(f); (2) Approving Payment of Real Estate Commission; and (3)

                      10 Granting Related Relief (“Sale Motion”). All capitalized terms not otherwise defined herein

                      11 shall have the meaning set forth in the Sale Motion.

                      12               3.       I have filed this Sale Motion to obtain an order approving the short sale of the

                      13 Property on an “as-is, where-as” basis, to a buyer approved by the Junior Secured Creditor

                      14 in an amount approved by the Junior Secured Creditor and that results in the Estate

                      15 receiving approximately $20,000.00.

                      16               4.       Attached here as Exhibit 1 are true and correct copies of the Debtors’

                      17 Schedules A/B, C and D.

                      18               5.       Attached here as Exhibit 2 is a true and correct copy of the Preliminary Title

                      19 Report for the Property dated December 13, 2018.

                      20               6.       The Court has ordered Secured Creditors’ relief from the automatic stay in

                      21 this case. 7 In addition, the Senior Secured Creditor has scheduled a foreclosure sale on

                      22

                      23

                      24      7
                                On March 29, 2018, the Court entered an order (docket 39) granting Lakeview Loan Servicing, LLC (loan
                      25      servicer for the current beneficiary of first trust deed on the Property) relief from automatic stay of 11 U.S.C.
                              § 362(a) to allow it to move forward with a foreclosure upon and to obtain possession of the Property in
                              accordance with applicable non-bankruptcy law.
                      26
                              On April 17, 2018, the Court entered an order (docket 44) granting Deutsche Bank National Trust Company,
                      27 as Trustee, for IndyMac Home Equity Mortgage Loan Asset-backed Trust, Series 2006-H1 (current
                              beneficiary of the second trust deed on the Property) relief from automatic stay of 11 U.S.C. § 362(a) to allow
                      28 it to move forward with a foreclosure upon and to obtain possession of the Property in accordance with
     LYNDA T. BUI
                              applicable non-bankruptcy law.
 CHAPTER 7 TRUSTEE
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                        1 the Property for January 9, 2019 at 1:00 p.m. Attached here as Exhibit 3 is a true and

                        2 correct copy of the Notice of Trustee’s Sale.

                        3               7.      A true and correct copy of the Settlement Order is attached here as Exhibit 4

                        4 and true and correct copy of the Settlement Agreement is here as Exhibit 5.

                        5               8.      Attached here as Exhibit 6 is a true and correct copy of the offer for the

                        6 Property received from Yao Juan Xu (or his assignee 8).

                        7               9.      Under the sale, (i) the lien of the Senior Secured Creditor will be paid in full

                        8 on an amount as agreed to by the Senior Secured Creditor so as to satisfy the lien, (ii) the

                        9 lien of the Junior Secured Creditor will be paid no less than $23,000.00 as agreed to by

                      10 the Junior Secured Creditor (attached here as Exhibit 7 is a true and correct copy of the

                      11 letter from the Junior Secured Creditor approving the short sale of the Property), (iii)

                      12 through escrow, payment of all expenses associated with the short sale will be paid. These

                      13 expenses include payment of a maximum 6% real estate brokerage commission to the

                      14 Broker Team and a fee for the Estate of approximately $20,000.00 (50% of which will be

                      15 paid to the Debtors under the previous Settlement Agreement and Settlement Order).

                      16                10.     I believe this short sale is in the best interest of the Estate as it will create

                      17 “equity” where there was none. In addition, I currently have cash on hand exceeding

                      18 $20,000.00 from other assets. Accordingly, I expect to distribute a meaningful distribution
                      19 to creditors in the range of 25% to 50%.

                      20      ////

                      21 ////

                      22 ////

                      23

                      24

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                      28      8
     LYNDA T. BUI
                                  The Trustee has final discretion to approve or not approve the assignee.
 CHAPTER 7 TRUSTEE
3550 Vine Street, Suite 210
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                        1              11.      For the reasons set forth in the Sale Motion and this Declaration, I respectfully

                        2 request that the Court grant the Sale Motion so that I do not lose this favorable business

                        3 opportunity to generate a substantial amount of funds for the Estate from an asset that

                        4 otherwise has no equity.

                        5              I declare under penalty of perjury under the laws of the United States of America

                        6 that the foregoing is true and correct.

                        7              Executed on December 18, 2018, at Riverside, California.

                        8

                        9
                                                                        /s/ Lynda T. Bui
                      10                                                ______________________________________________
                                                                        Lynda T. Bui
                      11

                      12

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     LYNDA T. BUI
 CHAPTER 7 TRUSTEE
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                   DECLARATION
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                        1                                      DECLARATION OF PATRICK BUTLER

                        2              I, Patrick Butler, declare and state as follows:

                        3              1.       The matters stated herein are true and correct and within my personal

                        4 knowledge. If called as a witness, I could and would competently testify to the matters. I

                        5 am a real estate broker, duly licensed in the State of Florida and associated with BK Global

                        6 Real Estate Services (“Firm”), an entity duly licensed as a real estate brokerage firm in

                        7 Florida, with an office located at 1095 Broken Sound Parkway, N.W., Suite 100, Boca Raton,

                        8 FL 33487; telephone 855-658-1254.

                        9              2.       I am the Firm’s broker-in-charge and am authorized by the Firm to and make

                      10 this declaration in support of the Chapter 7 Trustee's Motion for Order: (1) Authorizing the

                      11 Short Sale of Real Property of the Estate Free and Clear of Liens Pursuant to Bankruptcy

                      12 Code §§ 363(b) and 363(f); (2) Approving Payment of Real Estate Commission; and (3)

                      13 Granting Related Relief (“Sale Motion”) filed by Lynda T. Bui, the Chapter 7 trustee

                      14 (“Trustee”) for the bankruptcy estate (“Estate”) of Peggy Irene Clelland and Joel Douglas

                      15 Clelland(“Debtors”). All capitalized terms not otherwise defined herein shall have the

                      16 meaning set forth in the Sale Motion.

                      17               3.       I have read the Sale Motion and am familiar with the real property located at

                      18 1339 Alta Avenue, Upland, California 91786 (“Property”).
                      19               4.       As background, I would like to explain to the Court my understanding of the

                      20 basic procedures that we go through to obtain the lender’s short sale approval for any real

                      21 property. As a caveat, all lenders have their own procedures in addition to the basic

                      22 requirements. With respect to the basic requirement true for all short sales, we start with

                      23 obtaining the listing from the bankruptcy trustee. After a physical inspection of the property,

                      24 we take pictures and put the property on the market. To the extent that there are any

                      25 showings requested, we accommodate that as well. We coordinate with the debtor or the

                      26 occupant of the property. When we receive any offer, we send out a request for highest

                      27 and best offer along with all the bankruptcy terms before submitting the highest and best

                      28 to the bankruptcy trustee for review and execution. Once we have an accepted offer, we
     LYNDA T. BUI
 CHAPTER 7 TRUSTEE
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                        1 present that offer with a package of all required documents (which are lender specific).

                        2 The package is often voluminous and lenders can change requirements midstream and we

                        3 would need to submit completed documents on their forms. Routinely, if there is anything

                        4 missing or not properly completed, the lender will not review the file or consider the short

                        5 sale. Assuming all documents are completed and are properly submitted, the lender

                        6 usually obtains an independent appraisal of the property. Depending on the lender, at this

                        7 stage, the file is assigned a negotiator.

                        8              5.       The package for a short sale for any lender always includes a proposed

                        9 preliminary HUD-1 which details what funds will come in for the sale and the costs to be

                      10 paid as well as the payoff to the lender and the payment to the Estate. The HUD-1 is the

                      11 basis for which every real estate sale transaction in the United States is founded on. There

                      12 is not a transaction in any 50 states that is completed without a HUD-1. The buyer, seller

                      13 and lender review and approve the HUD-1 before funds are dispersed through escrow in

                      14 the state of California. The HUD-1 is signed by all parties in agreement to the payoff of

                      15 each line item in the sale. The lienholder acknowledges that their final approval of closing

                      16 a property would be the approval of said HUD-1. If for any reason the lender does not

                      17 approve a line item, it would not sign the HUD-1, and escrow could not disburse funds or

                      18 close the sale.
                      19               6.       Once the package is complete, the negotiator then reviews the entire

                      20 package, including the type and qualification of the proposed buyer and the proposed HUD-

                      21 1 and all the itemized proposed payments. If the negotiator does not approve a certain

                      22 cost or payment, he or she will require that the items be deleted or otherwise modified.

                      23 Using the proposed HUD-1, the negotiator will cause the written short sale approval letter

                      24 to be generated and sent to the bankruptcy trustee and/or the borrower(s). The short

                      25 approval letter usually only provides for 30 days to close escrow. An extension is often

                      26 difficult to obtain. In addition, not closing escrow within the 30 days can substantially delay

                      27 closing because some lenders re-start the process, others require new appraisals, and yet

                      28 others will proceed with foreclosure. It is not uncommon to see the lender negotiate the
     LYNDA T. BUI
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                           EXHIBIT 1
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                                                                  97
 Fill in this information to identify your case and this filing:

 Debtor 1                    Peggy Irene Clelland
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Joel Douglas Clelland
 (Spouse, if filing)         First Name                             Middle Name                     Last Name

 United States Bankruptcy Court for the:                     CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                                              Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                        What is the property? Check all that apply
        1339 Alta Ave
        Street address, if available, or other description
                                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put the
                                                                                                                               amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Upland                            CA        91786-0000                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                               $413,306.00                 $413,306.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                              Fee simple
        San Bernardino                                                             Debtor 2 only
        County
                                                                                   Debtor 1 and Debtor 2 only
                                                                                   At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $413,306.00

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




                                                                                   Exhibit 1
Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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                                                               97
 Debtor 1         Peggy Irene Clelland
 Debtor 2         Joel Douglas Clelland                                                                           Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:        Toyota                                   Who has an interest in the property? Check one              Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
         Model:       Corolla                                   Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:        2003                                      Debtor 2 only                                             Current value of the      Current value of the
         Approximate mileage:                 140000            Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                 $3,394.00                  $3,394.00
                                                                     (see instructions)



  3.2    Make:        Chevy                                    Who has an interest in the property? Check one              Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
         Model:       Tahoe LS                                  Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:        2006                                      Debtor 2 only                                             Current value of the      Current value of the
         Approximate mileage:                 230000            Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                 $3,300.00                  $3,300.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                $6,694.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.       Describe.....

                                    3 Bedroom Sets, 1 Dining Room Set, 1 Living Room Set, Washer,
                                    Dryer, 1 Fridge, 1 Stove                                                                                                     $3,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.       Describe.....

                                    3 TV's, 2 Cellphones, 1 Tablet                                                                                                 $500.00



                                                                               Exhibit 1
Official Form 106A/B                                                       Schedule A/B: Property                                                                      page 2
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 Debtor 1          Peggy Irene Clelland
 Debtor 2          Joel Douglas Clelland                                                                                    Case number (if known)

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
    No
     Yes.       Describe.....

                                            Misc Décor, Comic Books                                                                                                 $300.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

                                           1 Handgun, 1 Shotgun                                                                                                     $200.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                           4 Suits, Everyday Wear                                                                                                   $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

                                           2 Wedding Bands, Misc Costume Jewelry                                                                                    $200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                        $4,700.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
                                                                                           Exhibit 1
     Yes................................................................................................................

Official Form 106A/B                                                                   Schedule A/B: Property                                                           page 3
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                                                                                    Desc
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                                                               97
 Debtor 1       Peggy Irene Clelland
 Debtor 2       Joel Douglas Clelland                                                                         Case number (if known)

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                   Institution name:


                                      17.1.    Checking                     United Catholics Federal Credit Union                                  $50.00



                                      17.2.    Savings                      United Catholics Federal Credit Union                                  $25.00



                                      17.3.    Savings                      Chaffey FCU                                                          $100.00



                                      17.4.    Checking                     US Bank                                                                $50.00



                                      17.5.    Savings                      US Bank                                                                $50.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
     No
     Yes. Give specific information about them...................
                                         Name of entity:                                                       % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                         Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                      Type of account:                      Institution name:

                                      457                                   VOYA                                                               $9,500.00


                                      403(b)                                New York Life                                                      $1,100.00


                                      457                                   VOYA                                                               $2,500.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                            Institution name or individual:

                                                                        Exhibit 1
Official Form 106A/B                                                 Schedule A/B: Property                                                          page 4
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 Debtor 1       Peggy Irene Clelland
 Debtor 2       Joel Douglas Clelland                                                                   Case number (if known)

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............          Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                         Beneficiary:                           Surrender or refund
                                                                                                                                      value:

                                         Knights of Columbus Life Insurance                    Peggy Clelland                                     $2,383.00


                                         Transamerica Life Insurance                           Peggy Clelland                                     $6,332.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..
                                                                        Exhibit 1
Official Form 106A/B                                                 Schedule A/B: Property                                                             page 5
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 Debtor 1         Peggy Irene Clelland
 Debtor 2         Joel Douglas Clelland                                                                                             Case number (if known)


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................      $22,090.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                               $0.00

 Part 8:        List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................      $413,306.00
 56. Part 2: Total vehicles, line 5                                                                         $6,694.00
 57. Part 3: Total personal and household items, line 15                                                    $4,700.00
 58. Part 4: Total financial assets, line 36                                                               $22,090.00
 59. Part 5: Total business-related property, line 45                                                           $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
 61. Part 7: Total other property not listed, line 54                                          +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                   $33,484.00             Copy personal property total       $33,484.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                $446,790.00




                                                                                     Exhibit 1
Official Form 106A/B                                                             Schedule A/B: Property                                                                      page 6
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                                                                  97
 Fill in this information to identify your case:

 Debtor 1                Peggy Irene Clelland
                         First Name                         Middle Name                   Last Name

 Debtor 2                Joel Douglas Clelland
 (Spouse if, filing)     First Name                         Middle Name                   Last Name

 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      1339 Alta Ave Upland, CA 91786 San                                                                                         C.C.P. § 703.140(b)(1)
      Bernardino County
                                                                     $413,306.00                                $25,593.00
      Line from Schedule A/B: 1.1                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      2003 Toyota Corolla 140000 miles                                                                                           C.C.P. § 703.140(b)(2)
      Line from Schedule A/B: 3.1
                                                                       $3,394.00                                  $3,394.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      2006 Chevy Tahoe LS 230000 miles                                                                                           C.C.P. § 703.140(b)(5)
      Line from Schedule A/B: 3.2
                                                                       $3,300.00                                  $2,157.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      3 Bedroom Sets, 1 Dining Room Set,                                                                                         C.C.P. § 703.140(b)(3)
      1 Living Room Set, Washer, Dryer, 1
                                                                       $3,000.00                                  $3,000.00
      Fridge, 1 Stove                                                                    100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                            any applicable statutory limit

      3 TV's, 2 Cellphones, 1 Tablet                                                                                             C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 7.1
                                                                          $500.00                                   $500.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit


                                                                           Exhibit 1
Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                         page 1 of 3
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 Debtor 1    Peggy Irene Clelland
 Debtor 2    Joel Douglas Clelland                                                                       Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Misc Décor, Comic Books                                                                                                     C.C.P. § 703.140(b)(3)
     Line from Schedule A/B: 8.1
                                                                         $300.00                                  $300.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     1 Handgun, 1 Shotgun                                                                                                         C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 10.1
                                                                         $200.00                                  $200.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     4 Suits, Everyday Wear                                                                                                       C.C.P. § 703.140(b)(3)
     Line from Schedule A/B: 11.1
                                                                         $500.00                                  $500.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 Wedding Bands, Misc Costume                                                                                                C.C.P. § 703.140(b)(4)
     Jewelry
                                                                         $200.00                                  $200.00
     Line from Schedule A/B: 12.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: United Catholics Federal                                                                                           C.C.P. § 703.140(b)(5)
     Credit Union
                                                                          $50.00                                    $50.00
     Line from Schedule A/B: 17.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: United Catholics Federal                                                                                            C.C.P. § 703.140(b)(5)
     Credit Union
                                                                          $25.00                                    $25.00
     Line from Schedule A/B: 17.2                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Chaffey FCU                                                                                                         C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.3
                                                                         $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: US Bank                                                                                                            C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.4
                                                                          $50.00                                    $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: US Bank                                                                                                             C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.5
                                                                          $50.00                                    $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     457: VOYA                                                                                                                    C.C.P. § 703.140(b)(10)(E)
     Line from Schedule A/B: 21.1
                                                                      $9,500.00                                 $9,500.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     403(b): New York Life                                                                                                        C.C.P. § 703.140(b)(10)(E)
     Line from Schedule A/B: 21.2
                                                                      $1,100.00                                 $1,100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




                                                                           Exhibit 1
Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 2 of 3
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 Debtor 1    Peggy Irene Clelland
 Debtor 2    Joel Douglas Clelland                                                                       Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     457: VOYA                                                                                                                    C.C.P. § 703.140(b)(10)(E)
     Line from Schedule A/B: 21.3
                                                                      $2,500.00                                 $2,500.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Knights of Columbus Life Insurance                                                                                           C.C.P. § 703.140(b)(8)
     Beneficiary: Peggy Clelland
                                                                      $2,383.00                                 $2,383.00
     Line from Schedule A/B: 31.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Transamerica Life Insurance                                                                                                  C.C.P. § 703.140(b)(8)
     Beneficiary: Peggy Clelland
                                                                      $6,332.00                                 $6,332.00
     Line from Schedule A/B: 31.2                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




                                                                           Exhibit 1
Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 3 of 3
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                                                                  97
 Fill in this information to identify your case:

 Debtor 1                   Peggy Irene Clelland
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Joel Douglas Clelland
 (Spouse if, filing)        First Name                      Middle Name                      Last Name

 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                     amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                               Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
 each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of collateral    Unsecured
 as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the      that supports this     portion
                                                                                                               value of collateral.   claim                  If any
 2.1     Cenlar                                   Describe the property that secures the claim:                  $265,390.00              $413,306.00                   $0.00
         Creditor's Name                          1339 Alta Ave Upland, CA 91786
                                                  San Bernardino County
                                                  As of the date you file, the claim is: Check all that
         P.o.Box 77404                            apply.
         Trenton, NJ 08628                         Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)    First Mortgage
       community debt

                                 Opened
                                 3/24/10
                                 Last Active
 Date debt was incurred          11/04/15                  Last 4 digits of account number        6061


 2.2     Specialized Loan Servi                   Describe the property that secures the claim:                  $122,323.00              $413,306.00                   $0.00
         Creditor's Name                          1339 Alta Ave Upland, CA 91786
         Attn: Bankruptcy                         San Bernardino County
         8742 Lucent Blvd. Suite
         300                                      As of the date you file, the claim is: Check all that
                                                  apply.
         Highlands Ranch, CO                       Contingent
         80129
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
                                                                            Exhibit 1
Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
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 Debtor 1 Peggy Irene Clelland                                                                       Case number (if know)
             First Name                 Middle Name                     Last Name
 Debtor 2 Joel Douglas Clelland
             First Name                 Middle Name                     Last Name


  Check if this claim relates to a                Other (including a right to offset)   Purchase Money Security
     community debt

                              Opened
                              11/01/05
                              Last Active
 Date debt was incurred       12/23/15                    Last 4 digits of account number     6333



   Add the dollar value of your entries in Column A on this page. Write that number here:                            $387,713.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                           $387,713.00

 Part 2: List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                          On which line in Part 1 did you enter the creditor?   2.1
        Ocwen Loan Sevicing Llc
        1661 Worthington R                                                                    Last 4 digits of account number   3488
        West Palm Beac, FL 33409

        Name, Number, Street, City, State & Zip Code                                          On which line in Part 1 did you enter the creditor?   2.2
        Specialized Loan Servi
        8742 Lucent Blvd.#300                                                                 Last 4 digits of account number
        Highlands Ranch, CO 80129




                                                                           Exhibit 1
Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 2 of 2
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                           EXHIBIT 2
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                                 Bright Line Title, LLC

                         5404 Cypress Center Drive, Suite 150

                                   Tampa FL 33609




                                Exhibit 2
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American Land Title Association                                                           ALTA Commitment Form
                                                                                                 Adopted 6-17-06




         FIDELITY NATIONAL TITLE INSURANCE COMPANY 800-943-1196



                                                              SCHEDULE A




 Loan No.:                                       Title No.: APS18-67325



1.       Effective date: 13th day of December, 2018
      Issue Date: 12/13/2018
      This Title Insurance Commitment is good for 60 days from the effective date. If you close a transaction based on
      this Title Insurance Commitment without a title update, Fidelity National Title Insurance Company will not issue a
      Title Insurance Policy.

2.          Policy (or Policies) to be issued:

      (a)      Owner’s Policy 2006 Owner's Policy               Policy        $382,250.00
               Form                                             Amount

               Proposed Insured:       Yao Juan Xu

               Policy Premium: $1,326.00 (Additional discounts may apply)

      (b)      Loan Policy 2006 Loan Policy Form                     Policy       $0.00
                                                                     Amount

               Proposed Insured:


               Policy Premium: $0.00 (Additional discounts may apply)

      (c)      Proposed Insured            Policy             $0.00
                                           Amount

3.          The estate or interest in the land described or referred to in this Commitment is:




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         FEE SIMPLE

         The estate is subject to, and the Company does not insure title to, and excepts from the description of the land, coal,
         lignite, oil, gas and other minerals in, under and that may be produced from the land, together with all rights,
         privileges, and immunities relating thereto




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4.       Title to the Fee Simple estate or interest in the land is at the Effective Date vested in:

         JOEL D. CLELLAND AND PEGGY I. CLELLAND, AS TRUSTEES OF THE CLELLAND FAMILY
         TRUST, DATED MAY 18, 2010

         Deed Type: Quitclaim Deed
         Grantors: JOEL D. CLELLAND AND PEGGY I. CLELLAND
         Grantees: JOEL D. CLELLAND AND PEGGY I. CLELLAND, AS TRUSTEES OF THE CLELLAND
         FAMILY TRUST, DATED MAY 18, 2010
         Dated: May 18, 2010
         Recorded Date: August 15, 2013
         Consideration: $0.00
         BOOK:
         PAGE:
         Instrument: 2013-0360308
         Notes:


         Deed Type: Grant Deed
         Grantors: FRANK LEGGETT AND ROXANNE LEGGETT, HUSBAND AND WIFE AS JOINT
         TENANTS
         Grantees: JOEL CLELLAND AND PEGGY CLELLAND, HUSBAND AND WIFE AS JOINT TENANTS
         Dated: July 15, 2004
         Recorded Date: August 11, 2004
         Consideration: $0.00
         BOOK:
         PAGE:
         Instrument: 2004-0577544
         Notes:


         Deed Type: Grant Deed
         Grantors: PMI MORTGAGE INSURANCE CO., AN ARIZONA CORPORATION
         Grantees: FRANK LEGGETT AND ROXANNE LEGGETT, HUSBAND AND WIFE AS JOINT TENANTS
         Dated: January 24, 2000
         Recorded Date: February 10, 2000
         Consideration: $0.00
         BOOK:
         PAGE:
         Instrument: 20000047299
         Notes:


5.       The land referred to in this Commitment is described as follows:

         SEE EXHIBIT “A” ATTACHED HERETO AND MADE A PART HEREOF
                                            Commonly known as 1339 Alta Avenue, Upland, CA 91786
                                         However, by showing this address no additional coverage is provided




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Countersigned: _______________________________
                         Authorized Signatory
             Michele W. Jorgensen, Senior Vice President




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       FIDELITY NATIONAL TITLE INSURANCE COMPANY 800-943-1196


                                                                            Title No APS18-67325

                                             LEGAL DESCRIPTION

                                                  EXHIBIT “A”

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF SAN BERNARDINO, STATE OF
CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

LOT 2 OF TRACT 4705 AS PER MAP RECORDED IN BOOK 70, PAGES 89 AND 90 OF MAPS, IN THE OFFICE OF
THE COUNTY RECORDER OF SAN BERNARDINO.



Parcel ID: 1045-XXX-XX-XXXX

                            Commonly known as 1339 Alta Avenue, Upland, CA 91786
                         However, by showing this address no additional coverage is provided




                                               Exhibit 2
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        FIDELITY NATIONAL TITLE INSURANCE COMPANY 800-943-1196


                                                                    Title No. APS18-67325


                                               SCHEDULE B – SECTION I

                                                     REQUIREMENTS




The following requirements must be met:

    1) Pay the agreed amounts for the interest in the land and/or the mortgage to be insured.

    2) Pay us the premiums, fees and charges for the policy.

    3) If the insured premises include a mobile or manufactured home that has not been permanently affixed to the
       premises, Company will not issue a final policy of title insurance and any and all obligations created under this
       commitment will be void.

    4) Instrument(s) creating the estate or interest (Title) to be insured, executed, delivered and recorded in the Public
       Records of the appropriate county.

    5) You must tell us in writing the name of anyone not referred to in this Commitment who will get an interest in the
       land or who will make a loan on the land. We may then make additional requirements or exceptions.

    6) Pay all taxes, charges, and assessments affecting the land that are due and payable.

    7) Duly executed Title/Owner’s Affidavit.

    8) Documents for recordation pertinent to this transaction are required to be presented for recording in the format
       required by the appropriate county recording jurisdiction

    9) Tax Information to follow as Exhibit B.

    10) A judgment search has been performed in the county land records, for buyer(s) Roberto C. Trevino and seller(s)
        Lynda T Bui as Trustee for the Bankruptcy Estate of Peggy Clelland and JOEL D CLELLAND AND PEGGY I
        CLELLAND, AS TRUSTEES OF THE CLELLAND FAMILY TRUST, DATED MAY 18, 2010. Results of this
        search for the name of buyer(s) Roberto C. Trevino and seller(s) Lynda T Bui as Trustee for the Bankruptcy Estate
        of Peggy Clelland and JOEL D CLELLAND AND PEGGY I CLELLAND, AS TRUSTEES OF THE CLELLAND
        FAMILY TRUST, DATED MAY 18, 2010 will be named in this commitment, if any. (All results herein are for
        information purposes only and are not warranted for content, accuracy or any other implied or explicit purpose)

    11) Company requires a Grant Deed for the consideration amount of $400,000.00 from Lynda T. Bui as Trustee for the
        Bankruptcy Estate of Peggy Clelland, to Roberto C. Trevino, be executed, and delivered in recordable form.
    12) Obtain and File Satisfactory resolution of the following matters:



                                                    Exhibit 2
            2. Company requires evidence of satisfaction or release of a bankruptcy filing, case number 15-04922-LT13, by
            Roberto Trevino and Linda J. Sandoval dated July 27, 2015 and filed in the San Diego District Court –
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            Bankruptcy Division, SAN DIEGO-CA District of SAN DIEGO-CA. (All results herein are for information
            purposes only and are not warranted for content, accuracy or any other implied or explicit purpose)

            2. Company requires evidence of satisfaction/release or subordination of a Open/Line of Credit Deed of Trust
            instrument from JOEL CLELLAND AND PEGGY CLELLAND, HUSBAND AND WIFE AS JOINT
            TENANTS (borrower) dated November 7, 2005 and recorded on December 12, 2005 in (instrument) 2005-
            0940520, of the official property records of SAN BERNARDINO County, CALIFORNIA in the amount of
            $125,000.00 and in favor of INDYMAC BANK, F.S.B., A FEDERALLY CHARTERED SAVINGS BANK
            (lender). "TRUSTEE, as trustee NORTH AMERICAN TITLE INSURANCE COMPANY.Assigned to
            DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE, FOR INDYMAC HOME EQUITY
            MORTGAGE LOAN ASSET-BACKED TRUST, SERIES 2006-H1 by instrument recorded in (instrument)
            2015-0564992 REC ON 12/29/2015.

            SUBORDINATION AGREEMENT RECORDED ON 4/1/2010 IN INSTRUMENT NO. 2010-0124724.

            (Company must be provided with executed copy of revolving credit/equity line account termination request
            signed and dated by all borrowers, in addition to satisfaction or release of any/all open-end Mortgages/Deeds of
            Trust noted herein.)

            3. Company requires evidence of satisfaction or release of a Deed of Trust from JOEL CLELLAND AND
            PEGGY CLELLAND, HUSBAND AND WIFE AS JOINT TENANTS (borrower) dated March 24, 2010 and
            recorded on April 1, 2010 in (instrument) 2010-0124723, of the official property records of SAN
            BERNARDINO County, CALIFORNIA in the amount of $292,500.00 and in favor of MORTGAGE
            ELECTRONIC REGISTRATION SYSTEMS INC., AS A NOMINEE FOR ONEWEST BANK, FSB (lender)
            "TRUSTEE, as trustee FIDELITY NATIONAL TITLE INSURANCE CO. Assigned to LAKEVIEW LOAN
            SERVICING, LLC by instrument recorded in (instrument) 2016-0316046 REC ON 08/05/2016.

            4. Evidence to be furnished that the Trust Agreement / Trust Certificate dated May 18, 2010 is still in full force
            and effect at the time of the conveyance of premises being insured hereunder and that there have been no
            modifications or charges made to same.

            5. Trust Agreement / Trust Certificate dated May 18, 2010 under which current owners hold title to subject
            property to be produced for review by this Company. NOTE: The express right is reserved to make additional
            searches and raise additional exceptions upon review of same. (IF APPLICABLE)
            (i) Affidavit to be submitted by the Trustees that there have been no changes or modifications to the Trust
            Agreement since its inception. (IF APPLICABLE)

            6. Production for examination and filing with this Company of the Trust Agreement / Trust Certificate dated
            May 18, 2010 under which THE CLELLAND FAMILY TRUST holds title to subject premises. NOTE: The
            express right is reserved to make additional searches and raise additional exceptions upon examination and
            review of said Trust Agreement.


    14) Company must act as settlement agent, if an entity other than Company acts as settlement agent title policy will not
    be issued.

    15) Company requires spousal joinder to the security instrument to be insured under this commitment to insure.
    Company will require joinder to the security instrument or waiver of homestead, community property, dower, and/or
    courtesy should the state allow this waiver to be made by separate instrument.

NOTICE: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
Land that is associated with these activities.


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         FIDELITY NATIONAL TITLE INSURANCE COMPANY 800-943-1196


                                                                                                         Title No APS18-67325

                                                  SCHEDULE B – SECTION II

                                                           EXCEPTIONS

Schedule B of the policy or policies to be issued will contain exceptions to the following matters unless the same are
disposed of to the satisfaction of the Company:

1. Defects, liens, encumbrances, adverse claims or other matters, if any, created, first appearing in the public records or
attaching subsequent to the Effective Date but prior to the date the proposed Insured acquires for value of record the estate
or interest or mortgage thereon covered by this Commitment.

2. Any lien, or right to alien, for services, labor or material heretofore or hereafter furnished, imposed by law and not shown
by the public records.

3. Any encroachment, conflicts in boundary lines, discrepancies, easements, measurement, encumbrance, violation,
variation, adverse circumstance or other state of facts affecting the title that would be disclosed by an accurate and complete
survey of the land. The term “encroachment” includes encroachments of existing improvements located on the land onto
adjoining land, and encroachments onto the land of existing improvements located on adjoining land.

4. The exact acreage or square footage of the premises will not be insured.

5. Rights, facts, interests or claims of present tenants, lessees or parties in possession which are not shown by the Public
Records, but which could be ascertained by an inspection of said Land or by making inquiry of persons in possession
thereof.

6. Streams, riparian rights, littoral rights and the title to any filled-in-lands.

7. Taxes or special assessments which are not shown as existing liens by the public records.

8. Covenants, conditions and restrictions and other instruments recorded in the public records and purporting to impose a
transfer fee or conveyance fee payable upon the conveyance of a interest in real property or payable for the right to make or
accept such a transfer, and any and all fees, liens or charges, whether recorded or unrecorded, if any, currently due payable
or that will become due or payable, and any other rights deriving therefrom, that are assessed pursuant thereto.

9. Any easements or servitudes not appearing in the public records.

10. Any lease, grant, exception or reservation of minerals or mineral rights appearing in the public records.

11. Any lien for service, installation, connection, maintenance, tap, capacity, or construction or similar charges for sewer,
water, electricity, natural gas or other utilities, or for garbage collection and disposal by any utility service provider or
authority that delivers such services and levies such charges, not shown as an existing lien by the Public Records.

12. Homeowner’s or other association dues, assessments or fees for which no notice of delinquency, lien, claim of lien or
assessment has been filed of record in the real property records.

13. Any matters listed as requirements on Schedule B-I that are not resolved to the satisfaction of Company will be shown as
an exception on final policy.


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  Company will not issue a policy to the proposed insured(s) if the contemplated transaction involves a Short Sale. A short
  sale is defined as any sale or refinance transaction where the current mortgagee(s) or beneficiary(ies) of a deed of trust have
  agreed to satisfy/reconvey their interest for less than the full amount owed under the mortgage/deed of trust. It is the
  insured's obligation to notify Company if this transaction involves Short Sale.

  14. Terms, provisions, covenants, conditions, restrictions, easements, charges, assessments and liens provided in the
  Covenants, Conditions and Restrictions recorded in (book) 4353 (page) 73, but omitting any covenant, condition or
  restriction, if any, based on race, color, religion, sex, handicap, familial status, or national origin unless and only to the
  extent that the covenant, condition or restriction (a) is exempt under Title 42 of the United States Code, or (b) relates to
  handicap, but does not discriminate against handicapped persons.

  15. EASEMENT (S) FOR THE PURPOSES(S) SHOWN BELOW AND RIGHTS INCIDENTAL THERETO AS
  DELINEATED OR AS OFFERED FOR DEDICATION, ON THE MAP OF SAID TRACT. PURPOSE: PUBLIC
  UTILITIES AFFECTS: THE WEST 6 FEET OF LOT 2.

  16. EASEMENT(S) FOR T HE PURPOSE(S) SHOWN BELOW AND RIGHTS INCIDENTAL THERETO AS
  GRANTED IN A DOCUMENT. GRANTED TO: GENERAL TELEPHONE COMPANY PURPOSE: EITHER OR BOTH
  POLE LINES AND UNDERGROUND CONDUITS RECORDED: JANUARY 16, 1958, BOOK 4415, PAGE2, OF
  OFFICIAL RECORDS AFFECTS: AS SHOWN ON MAP OF SAID TRACT.

  17. EASEMENT(S) FOR THE PURPOSE(S) SHOWN BELOW AND RIGHTS INCIDENTAL THERETO AS GRANTED
  IN A DOCUMENT. GRANTED TO: SOUTHERN CALIFORNIA EDISON COMPANY PURPOSE: EITHER OR BOTH
  POLE LINES AND UNDERGROUND CONDUITS RECORDED: JANUARY 17, 1958, BOOK 4416, PAGE 219, OF
  OFFICIAL RECORDS AFFECTS: THE WEST 10 FEET OF SAID LAND.

  18. EASEMENT(S) FOR THE PURPOSE(S) SHOWN BELOW AND RIGHTS INCIDENTAL THERETO AS GRANTED
  IN A DOCUMENT. GRANTED TO: SAN ANTONIO WATER CO. PURPOSE: PIPELINES RECORDED: NOVEMBER
  21, 1958, BOOK 4660, PAGE 467, OF OFFICIAL RECORDS AFFECTS: OVER AND ACROSS ANY AND ALL
  STREETS AND ALLEYS IN SAID DESCRIBED PARCELS OR ANY OF THEM.

  19. Note: According to the public records, there have been no deeds conveying the land described herein within a period of
  twenty four (24) months prior to the date of this report, except as follows:

  None



NOTE: Any map/plat provided is provided as a courtesy as an aid in locating the herein described Land in relation to adjoining streets,
natural boundaries and other land. Except to the extent a policy of title insurance is expressly modified by endorsement, if any, the
Company does not insure dimensions, distances, locations of easements or acreage shown thereon.




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                                                   Wire Fraud Alert
This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with
                                                     a lawyer.

  All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of
 dollars because they simply relied upon the wire instructions received via email, without further verification. If
   funds are to be wired in conjunction with this real estate transaction, we strongly recommend verbal
      verification of wire instructions through a known, trusted phone number prior to sending funds.

In addition, the following non-exclusive self-protection strategies are recommended to minimize exposure to
possible wire fraud.



   •   NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change
       wire instructions in the course of a transaction.
   •   ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by
       calling the party who sent the instructions to you. DO NOT use the phone number provided in the email
       containing the instructions, use phone numbers you have called before or can otherwise verify. Obtain the
       phone number of relevant parties to the transaction as soon as an escrow account is opened. DO
       NOT send an email to verify as the email address may be incorrect or the email may be intercepted by the
       fraudster.
   •   USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and
       symbols. Make your passwords greater than eight (8) characters. Also, change your password often and
       do NOT reuse the same password for other online accounts.
   •   USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may
       have specific instructions on how to implement this feature.

For more information on wire-fraud scams or to report an incident, please refer to the following links:


           Federal Bureau of Investigation                              Internet Crime Compliant Center
                 http://www.fbi.gov                                            http://www.ic3.gov




Wire Fraud Alert
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017      TM and ©Fidelity National Financial, Inc. and/or an affiliate.

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                            6500 Pinecrest Drive, Suite 600 Plano, TX 75024
                                             800-943-1196

                                File Number: BLTI-APS18-67325
                                 Transactee: Roberto C. Trevino
                      Property Address: 1339 Alta Avenue, Upland, CA 91786




                               ACCOUNT INFORMATION

                                    BANK OF AMERICA
                                   275 Valencia, 2nd Floor
                                   BREA, CA 92823-6340

             ROUTING NUMBER: 0260-0959-3 (FOR WIRES ONLY)

                  Fidelity National Title Insurance Company,
            FIDELITY NATIONAL AGENCY SOLUTIONS DIVISION
                 ESCROW ACCOUNT NUMBER: 1235183426

PLEASE REFERENCE THE FULL BORROWERS NAME AND PROPERTY ADDRESS
                          ON ALL WIRES

                                         THANK YOU




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RECORDING REQUESTED BY:
Roberto C. Trevino
WHEN RECORDED MAIL TO:
Roberto C. Trevino
1339 Alta Avenue, Upland, CA 91786
________________________________________________________________________

                               CALIFORNIA NON DURABLE LIMITED POWER OF ATTORNEY

CAUTION: THIS IS AN IMPORTANT DOCUMENT. IT GIVES THE PERSON WHOM YOU DESIGNATE (YOUR "AGENT" OR
"ATTORNEY IN FACT" HEREINAFTER CALLED “AGENT/AIF”) CERTAIN LIMITED POWERS TO ACT ON YOUR BEHALF
FOR A SPECIFIC TRANSACTION DURING A CERTAIN PERIOD OF TIME, WITH RESPECT TO ANY LOSS OF,
MISPLACEMENT OF, INACCURACY IN, OR FAILURE TO SIGN THE DOCUMENTS SPECIFIED BELOW. YOUR AGENT/AIF
WILL CONTINUE TO HAVE THESE POWERS AFTER THE LOAN CLOSING, FOR THE LIMITED PURPOSE TO REPLACE OR
CORRECT SUCH DOCUMENTS IF THE DOCUMENT CORRECTION/COMPLETION IS NECESSARY TO COMPLETE THE
RECORDING OF THE SECURITY INSTRUMENT/CONVEYANCE DEED OR OTHER DOCUMENTS SPECIFIED BELOW. IF
THE ATTORNEY IN FACT HAS ACTUAL KNOWLEDGE OF ANY INCOMPETENCE BEFORE, DURING OR AFTER CLOSING,
THE POWERS CONTAINED HEREIN WILL CEASE TO EXIST. BEFORE YOU DECIDE WHETHER TO SIGN OR IF YOU DO
NOT UNDERSTAND THE PURPOSE OR EFFECT OF THIS FORM, YOU SHOULD CONSULT AN ATTORNEY.

TRANSACTION SPECIFICS

Principal:                    Roberto C. Trevino
Secured Property Address      1339 Alta Avenue, Upland, CA 91786

Lender:                       BK Global
Loan Number                                              Loan Amount             $0.00


BE IT KNOWN, that I / We, Roberto C. Trevino

Whose residence address is: 1339 Alta Avenue, Upland, CA 91786

Make and appoint, as my / our true and lawful Attorneys in Fact or Agents to act for me / us in my / our name(s), place and stead, the
following persons who are employees of Fidelity National Financial, Inc, namely: Adeline Gibson, Elizabeth McCool, Michele
Jorgensen, or Erin Kropp, whose business address is 6500 Pinecrest Drive, Suite 600, Plano, TX 75024. Each of my / our agents may
exercise the powers conferred in this power of attorney separately, without the consent of the other agent. My /Our agents may delegate
the powers, tasks and duties to one of the other agents but to no other person. My / Our Agents/AIFs may exercise the powers to
accomplish the following specific and limited purposes:

         (A)      With respect to any loss of, misplacement of, inaccuracy in, or failure to sign the documents specified below to execute,
                  initial or take all necessary actions for correction purposes only to secure the interest of BK Global in the property
                  located at 1339 Alta Avenue, Upland, CA 91786 as insured by Fidelity National Title Insurance Company:

                   1.     Security Instrument to BK Global in the amount of $0.00 dollars which has been executed on
                          ______________by Roberto C. Trevino______________________;

                   2.     Deed conveying the Secured Property from _____________________________________ to
                          _______________________________________ executed on ___________. THIS IS ONLY NECESSARY
                          IF A DEED IS BEING USED IN THE TRANSACTION.

                   3.     Documents needed by any governmental or taxing authorities to complete the recording of the Security
                          Instrument and Conveyance Deed as stated in paragraph (A) (1) and (A) (2) above;

Further giving and granting said Agent/AIF, full power and authority to do and perform all and every act and thing whatsoever necessary
to be done in and about the specific and limited premises (setout herein) as fully, to all intents and purposes, as might or could be done if
personally present, with full power of substitution and revocation, hereby ratifying and confirming all that said attorney in fact (also
called agent) should lawfully do or cause to be done by virtue hereof.


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This Power of Attorney is effective immediately and is limited to the specific transaction described above. This Power of Attorney shall
not be effective in the event of my disability or incapacity. This Power of Attorney will terminate upon the proper recording of all
documents (as stated above in Section A of this Power of Attorney) necessary or requested as part of this transaction by the title insurer,
lender or other parties to the transaction, except with respect to any loss of, misplacement of, inaccuracy in, or failure to sign the
documents listed in Section A of this Power of Attorney, these powers will continue to exist for the limited purpose to replace or correct
such documentation.

I / We acknowledge that I / We have agreed to and assume the obligations, terms and conditions of the sale and/or loan transaction as
described in the documents executed by me / us (or my representative) at closing. I / We understand that my / Our Agent/AIF is
exercising his/her power for the sole purpose of resolving clerical matters as described in Section A.

Conflict of Interest Disclosure. I / We understand that Fidelity National Financial, Inc. or one of its subsidiaries receives fees for
escrow, title insurance premium, and title services from the closing. I / We further understand that these fees will be detailed on my / our
Settlement Statement that accompanies my / our loan documents.

TO INDUCE ANY THIRD PARTY TO ACT, I / WE AGREE THAT ANY THIRD PARTY RECEIVING AN EXECUTED COPY OR
FACSIMILE OF THIS INSTRUMENT MAY ACT ON THIS INSTRUMENT. ANY REVOCATION OR TERMINATION OF THIS
INSTRUMENT WILL BE INEFFECTIVE AS TO SUCH THIRD PARTY UNTIL SUCH THIRD PARTY HAS ACTUAL OR
CONSTRUCTIVE NOTICE OF SUCH REVOCATION OR TERMINATION. I / We, FOR MYSELF / OURSELVES AND FOR MY /
OUR HEIRS, EXECUTORS, LEGAL REPRESENTATIVES AND ASSIGNS, AGREE TO INDEMNIFY AND HOLD HARMLESS
ANY SUCH THIRD PARTY FROM AND AGAINST ANY AND ALL CLAIMS THAT MAY ARISE AGAINST SUCH THIRD
PARTY BY REASON OF SUCH THIRD PARTY HAVING REASONABLY RELIED ON THE PROVISIONS OF THIS
INSTRUMENT.

I / We, Roberto C. Trevino, the principal, sign my / our name to this power of attorney this________day of____________, 20__, and,
being first duly sworn, do declare to the undersigned authority that I / We sign and execute this instrument as my / our power of attorney
for a refinance and that I / we sign it willingly, or willingly direct another to sign for me / us, that I / We execute it as my / our free and
voluntary act for the purposes expressed in the power of attorney and that I / we am / are eighteen years of age or older, of sound mind
and under no constraint or undue influence.


Dated: __________________, 20____.




PRINCIPAL                                              PRINCIPAL


                                                        ACKNOWLEDGEMENT

STATE OF CALIFORNIA                )

COUNTY OF                      )

On________________ before me, _________________________________ (here insert name and title of the officer), personally
appeared_________________________(the Principal) ,who proved to me on the basis of satisfactory evidence to be the person(s)
whose name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the same in his/her/their
authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of which the
person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is true and correct.

Witness my hand and official seal.

Signature ___________________________ (Seal)




                                                          Exhibit 2
          Case 6:17-bk-10928-WJ          Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18   Desc
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                         WAIVER OF SETTLEMENT AGENT RESPONSIBILITY

Date: 06/11/2018

File No: BLTI-APS18-67325

Settlement Agent: Fidelity National Title Insurance

Seller:

Purchaser:

Property: 1339 Alta Avenue, Upland, CA 91786

To: Escrow Holder

Escrow Holder is released from and shall have no liability, obligation or responsibility with
respect to, (a) withholding of funds pursuant to Section 1445 of the Internal Revenue Code
1986 as amended, (b) advising the parties as to the requirements of such Section or (c)
determining whether the transferor is a foreign person under such Section, acting as the
Qualified Substitute or otherwise making any inquiry concerning compliance with such Section
for any party to the transaction.


PURCHASER(S):


_________________________________



_________________________________




F.I.R.P.T.A – Waiver of Settlement Agent Responsibility




                                                   Exhibit 2
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                           EXHIBIT 3
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                               Exhibit 3
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                               Exhibit 3
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                           EXHIBIT 4
            Case 6:17-bk-10928-WJ                 Doc 54
                                                      58 Filed 09/18/18
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                                                                               2


               1 Lynda T Bui, Trustee
                 3550 Vine Street, Ste. 210
               2 Riverside, CA 92507
                 Telephone:    (949) 340-3400                                             FILED & ENTERED
               3 Facsimile:    (949) 340-3000
                 Email: Trustee.Bui@shbllp.com
               4                                                                               SEP 18 2018

               5 Chapter 7 Trustee                                                        CLERK U.S. BANKRUPTCY COURT
                                                                                          Central District of California
                                                                                          BY gooch      DEPUTY CLERK
               6

               7
                                                     UNITED STATES BANKRUPTCY COURT
               8
                                                       CENTRAL DISTRICT OF CALIFORNIA
               9
                                                                     RIVERSIDE DIVISION
             10

             11       In re:                                                Case No. 6:17-bk-10928-WJ
             12       PEGGY IRENE CLELLAND                                  CHAPTER 7
                      aka Peggy Irene Casey, and
             13       JOEL DOUGLAS CLELLAND                                 ORDER APPROVING COMPROMISE
                      aka Joel Clelland,                                    UNDER RULE 9019 BETWEEN THE
             14                                                             BANKRUPTCY ESTATE AND THE
                                                          Debtors.          DEBTORS
             15
                                                                            [No Hearing Required LBR 9013-1(o)]
             16

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             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
                                                             Exhibit 4
     Suite 210
Riverside, CA 92507
                                                                             1
                      23018-000\56\Compromise Order TC Clelland v2
            Case 6:17-bk-10928-WJ                 Doc 58
                                                      54 Filed 12/18/18
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               1              The Court has reviewed the “Motion to Approve Compromise Under Rule 9019 Between

               2 the Bankruptcy Estate and the Debtors” (“Motion”) (docket number 51) filed by Lynda T. Bui,

               3 solely in her capacity as the chapter 7 trustee (“Trustee”) for the bankruptcy estate of Peggy Irene

               4 Clelland and Joel Douglas Clelland. No objection having been filed, and good cause appearing, the

               5 Court hereby ORDERS as follows:

               6              1.       The Motion is granted.

               7              2.       The settlement agreement attached as Exhibit 1 to the declaration of Lynda T. Bui in

               8 support of the Motion is approved.

               9              3.       Not less than 40% of the estate settlement amount (as that term is defined in the

             10 settlement agreement), shall be used to pay non-administrative creditors in this case.

             11               4.       The Trustee is authorized to execute any and all documents reasonably necessary to

             12 carry out the terms of the settlement agreement.

             13                                                        ###

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             26 Date: September 18, 2018
             27

             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
                                                             Exhibit 4
     Suite 210
Riverside, CA 92507
                                                                        2
                      23018-000\56\Compromise Order TC Clelland v2
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                           EXHIBIT 5
         Case 6:17-bk-10928-WJ                 Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                Desc
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                                                  SETTLEMENT AGREEMENT

       This Settlement Agreement (“Agreement”) is entered into by and between Lynda T. Bui,
solely in her capacity as the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Peggy
Irene Clelland and Joel Douglas Clelland (“Debtors”), on the one hand and the Debtors, on the
other hand. The Trustee and the Debtors will be collectively referred to herein as the “Parties”.
                                                          I.      RECITALS

            This Agreement is made by the Parties hereto with reference to the following facts:

       1.   The Debtors filed a chapter 7 bankruptcy petition on February 7, 2017, in the United
States Bankruptcy Court, Central District of California, Case No. 6:17-bk-10928-WJ.

      2.    Lynda T. Bui is the duly appointed, qualifying, and acting Chapter 7 trustee for the
Debtors’ Bankruptcy Estate (“Estate”).

        3.     The last date to file claims in the case was August 14, 2017. Government claims
were due by August 7, 2017. The Court’s Claims Register indicates there have been nine claims
filed totaling $43,880.14, consisting of $506.71 in priority claims and $43,373.43 in general
unsecured claims.

      4.     Property of the Estate includes the Debtors’ interest in the real property located at
1339 Alta Avenue, Upland, California 91786 (“Property”).

       5.    On their Schedule A, the Debtors valued their interest in the Property at $413,306.00
and listed two liens on their Schedule D in favor of (i) Cenlar (first trust deed) in the amount of
$265,390.00 and (ii) Specialized Loan Servicing, LLC in the amount of $122,323.00, for total liens
of $387,713.00 (collectively the “Secured Creditors”). On their Schedule C, the Debtors claimed
an exemption in the Property of $25,593.00 under C.C.P. § 703.140(b)(1). Based on the
Schedules there does not appear to be equity in the Property for the benefit of the Estate.

       6.     The Court has ordered Secured Creditors’ relief from the automatic stay in this case. 1
The Debtors have advised the Trustee that they do not want a foreclosure on their record and
would like the Trustee to short sell the Property.

       7.     After reviewing potential options, the Trustee and the Debtors have determined it
may be in the best interest of the Estate and its creditors to negotiate to obtain the Secured
Creditors’ consent to a short sale of the Property that would provide for payment of all expenses
associated with the short sale, including (i) payment of a 6% real estate brokerage commission



1   On March 29, 2018, the Court entered an order (docket 39) granting Lakeview Loan Servicing, LLC (loan servicer
for the current beneficiary of first trust deed on the Property) relief from automatic stay of 11 U.S.C. § 362(a) to allow
it to move forward with a foreclosure upon and to obtain possession of the Property in accordance with applicable
non-bankruptcy law.

On April 17, 2018, the Court entered an order (docket 44) granting Deutsche Bank National Trust Company, as
Trustee, for IndyMac Home Equity Mortgage Loan Asset-backed Trust, Series 2006-H1 (current beneficiary of the
second trust deed on the Property) relief from automatic stay of 11 U.S.C. § 362(a) to allow it to move forward with a
foreclosure upon and to obtain possession of the Property in accordance with applicable non-bankruptcy law.
                                                                   1
    Settlement Agreement TC Clelland (short sale proceeds).docx

                                                           Exhibit 5
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and (ii) a meaningful carve-out to the Estate to be paid by the buyer at the close of escrow to
provide for a meaningful distribution on allowed unsecured claims.

       8.    The Parties desire to resolve any and all disputes related to the administration of
the Property upon the terms and conditions set forth hereinafter.

                                                     II.       AGREEMENT

       NOW THEREFORE, FOR GOOD AND VALUABLE CONSIDERATION, the adequacy of
which is hereby acknowledged by each party hereto, and in consideration of the mutual promises
and covenants set forth below, the Parties hereto agree as follows:

         1.       Cooperation for the Sale of the Property.

                  a.        The Debtors agree to cooperate with the Trustee's efforts to market the
                            Property for a short sale and cooperate in the short sale process, including
                            providing information as necessary and cooperate with the Trustee's
                            proposed real estate broker team of (i) Gregory Shipp of Sentinel Real Estate
                            & Investments, and (ii) BK Global Real Estate Services (“Broker Team”).

                  b.        The Trustee will file a Motion with the Bankruptcy Court to request approval
                            of the short sale that provides payment of all expenses associated with the
                            short sale, including (i) payment of a standard real estate brokerage
                            commission to the Trustee's Broker Team and reimbursement of the Broker
                            Team’s out-of-pocket expenses, and (ii) a payment to the Estate to provide
                            for meaningful distribution on allowed unsecured claims. The Property will not
                            be sold unless the Estate receives funds to pay creditors.

                  c.        The Trustee will be listing the Property for sale in her capacity as the Chapter
                            7 trustee for the Estate, and not in her personal capacity, and no liability or
                            obligations shall accrue to her personally as a result of such listing.

                  d.        The Trustee reserves the right, in her sole discretion, to determine not to sell
                            the Property if doing so does not benefit the Estate.

        2.     Split of the Short Sale Proceeds. The Debtors and the Trustee agree that any “net
proceeds” generated from the Trustee’s short sale of the Property shall be split as follows: 50%
to the Estate (“Estate Settlement Amount”), and 50% to the Debtors (“Debtors’ Settlement
Amount”). As used herein, the term “net proceeds” shall mean the gross proceeds generated from
the sale of the Property, less (i) satisfaction of the Secured Creditors’ liens, including all arrearages;
(ii) payment of all outstanding property taxes; and (iii) typical pro-rations and closing costs,
including escrow fees and real estate commissions. The Debtors agree that the Estate Settlement
Amount shall be used by the Estate for payment of administrative claims of the Estate and allowed
unsecured claims against the Estate. The Trustee reserves the right to abandon the Property if
the net proceeds decrease to such an amount that would make administrating the case cost-
prohibitive.

       3.      Waiver of Exemption Claim. As the Property is encumbered by liens that exceed its
value and there is no equity, in exchange for the Debtors’ Settlement Amount, the Debtors agree
to waive their claimed exemption in the Property of $25,593.00 under C.C.P. § 703.140(b)(1). The
                                                 2
 Settlement Agreement TC Clelland (short sale proceeds).docx

                                                        Exhibit 5
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Debtors agree that they will not be entitled nor will they file amended schedules to claim an
exemption in the Property and/or the Estate’s Settlement Amount .

       4.    Possession of the Property. The Debtors are not making the mortgage payments.
The Trustee will not demand any mortgage or rental payment from the Debtors for allowing the
Debtors to reside in the Property since the Petition Date without paying the monthly payments on
the loans secured by deeds of trust on the Property. However, the Debtors shall continue to
maintain the Property and cooperate with the Trustee’s Broker Team for all showings and open
houses.

      5.     Additional Conditions to be Performed by the Debtors. Until such time that the
Trustee closes on the sale of the Property, the Debtors agree that they shall or shall cause to
maintain and preserve the Property for the benefit of the Estate and its creditors, and shall or shall
cause to:

                  a.        Not place or record, or allow to be placed or recorded, any liens or
                            encumbrances on the Property.

                  b.        Maintain current all insurance on the Property.

                  c.        Name the Trustee as the loss payee on insurance against the Property at no
                            cost to the Trustee or the Estate.

                  d.        Provide the Trustee with proof of insurance naming the Trustee as the loss
                            payee on insurance against the Property no later than ten (10) days after the
                            execution of this Agreement.

        6.   Motion for Approval of Compromise. Upon receipt of a fully executed copy of this
Agreement, the Trustee shall promptly file a motion with the Bankruptcy Court to obtain approval
of this Agreement (“Compromise Motion”). This Agreement is contingent upon and expressly
conditioned on the issuance of an order by the Bankruptcy Court in the Chapter 7 proceeding
approving this Agreement pursuant to Federal Rule of Bankruptcy Procedure 9019. Unless and
until approved by the Bankruptcy Court, this Agreement shall have no force or effect whatsoever.

       7.     Vacating the Property. The Debtors agree to deliver the Property in an unoccupied
broom clean condition, including removing all of their personal property, seven (7) days prior to
close of escrow.


                                 III.      REPRESENTATION AND WARRANTIES

     1.     Each of the parties to this Agreement represents, warrants, and agrees as to
themselves as follows:

                  a.        No party (nor any officer, agent, employee, representative, or attorney of or
                            for any party) has made any statement or representation to any other party
                            regarding any fact relied upon in entering into this Agreement, and each party
                            does not rely upon any statement, representation or promise of any other party
                            (or of any officer, agent, employee, representative, or attorney for the other

                                                               3
 Settlement Agreement TC Clelland (short sale proceeds).docx

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                            party), in executing this Agreement, or in making the settlement provided for
                            herein, except as expressly stated in this Agreement

                  b.        Each party to this Agreement has made such investigation of facts pertaining
                            to this settlement and this Agreement and of all the matters pertaining thereto
                            as they deem necessary.

                  c.        Each party has read this Agreement and understands its contents.

                  d.        The Parties acknowledge that they have either been represented in
                            negotiations for and in the preparation of this Agreement by counsel of their
                            choice or that they have had an opportunity to retain counsel and that they
                            have read this Agreement and have had an opportunity to have it fully
                            explained to them by such counsel, and that they are fully aware of the
                            contents of this Agreement and of its legal effect.

                  e.        The Parties acknowledge that this Agreement is the result of extensive good
                            faith negotiations between the Parties and their respective counsel and is not
                            to be construed as an admission of liability on the part of any of the Parties
                            hereto, their agents, employees or officers, by whom liability is expressly
                            denied.

                  f.        The Parties are bound by this Agreement subject only to Bankruptcy Court
                            approval and waive any right to object to approval by the Bankruptcy Court.

                                                 IV.       MISCELLANEOUS

       1.      Jurisdiction of the Bankruptcy Court. Should any dispute arise regarding this
Agreement, the United States Bankruptcy Court for the Central District of California, Riverside
Division shall have exclusive jurisdiction to determine the same.

       2.     Trustee Capacity. The Trustee is signing this Agreement in her capacity solely as
Chapter 7 Trustee of the Estate. Nothing contained herein shall in any way impute liability to the
Trustee, personally or as a member of any professional organization, or anyone acting on her
behalf, including but not limited to her counsel.

       3.     Further Documentation of Settlement. The Parties agree that they will execute any
and all further and additional documents and take all further and additional steps, which may be
necessary or convenient to consummate the terms of this Agreement and accomplish the purposes
thereof.

       4.      Entire Agreement. This Agreement constitutes the entire understanding and
agreement between the Parties hereto concerning the subject matter hereof and supersedes all
prior and contemporaneous agreements, understandings, terms, conditions and representations,
written or oral, made by any of the Parties hereto or their agents, concerning the matters covered
by this Agreement.

      5.      Modification and/or Amendment. This Agreement may be amended and modified
only by a written agreement signed by all of the Parties hereto specifically acknowledging and
approving of the modification.

                                                               4
 Settlement Agreement TC Clelland (short sale proceeds).docx

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       6.    Successors and Assigns. This Agreement shall inure to the benefit of, and shall be
binding upon the Parties, and each of them, and their respective successors, assigns, heirs,
partners, agents, interrogators, officers, corporations, partnerships, partners, shareholders,
representatives, and each of them.

       7.   Controlling Law. This Agreement has been entered into in the State of California and
this Agreement, including any rights, remedies, or obligations provided for hereunder, shall be
construed and enforced in accordance with the laws of the State of California.

      8.      Severability. If any provision of this Agreement is held, determined or adjudicated to
be invalid, unenforceable or void for any reason, each such provision shall be severed from the
remaining portions of this Agreement and shall not affect the validity and enforceability of such
remaining provisions.

      9.      Effect of Headings. The titles and headings of this Agreement are for convenience
and identification only, and shall not be deemed to limit, amplify, or define the contents of the
respective sections or paragraphs to which they pertain.

      10.    Gender. Whenever in this document the context may so require, the masculine
gender shall be deemed to include the feminine and neuter genders, and vice-versa.

         11.      Recitals. Each term of this Agreement is contractual and not merely a recital.

       12.    Counter-Parts. This Agreement may be executed in one or more counter-parts
(multiple signatures) each of which shall be deemed an original, and all of which constitute one
and the same instrument.

        13.    Attorneys' Fees. All Parties shall bear their own attorneys’ fees and costs. In the
event any claim, dispute and/or litigation arises out of this Agreement, the prevailing party shall be
entitled to recovery of its attorneys' fees and costs incurred in prosecuting or defending said claim,
dispute and/or litigation.

                                    SIGNATURES ON THE FOLLOWING PAGE




                                                               5
 Settlement Agreement TC Clelland (short sale proceeds).docx

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                           EXHIBIT 6
DocuSign Envelope ID: C4607E9B-4C9E-4F36-BEC9-6E09324E6DF3
                 Case 6:17-bk-10928-WJ                            Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                                                              Desc
                                                                  Main DISCLOSURE
                                                                       Document    Page 70 of 97
                                                                                     REGARDING
                                                                 REAL ESTATE AGENCY RELATIONSHIP
                                                                                      (Selling Firm to Buyer)
                                                                                  (As required by the Civil Code)
                                                                                 (C.A.R. Form AD, Revised 12/14)
        (If checked) This form is being provided in connection with a transaction for a leasehold interest exceeding one year as per Civil
    Code section 2079.13(k), (l) and (m).
    When you enter into a discussion with a real estate agent regarding a real estate transaction, you should from the outset understand
    what type of agency relationship or representation you wish to have with the agent in the transaction.
    SELLER'S AGENT
    A Seller's agent under a listing agreement with the Seller acts as the agent for the Seller only. A Seller's agent or a subagent of that agent has
    the following affirmative obligations:
    To the Seller: A Fiduciary duty of utmost care, integrity, honesty and loyalty in dealings with the Seller.
    To the Buyer and the Seller:
           (a)Diligent exercise of reasonable skill and care in performance of the agent's duties.
           (b)A duty of honest and fair dealing and good faith.
           (c) A duty to disclose all facts known to the agent materially affecting the value or desirability of the property that are not known to, or within
                 the diligent attention and observation of, the parties. An agent is not obligated to reveal to either party any confidential information
                 obtained from the other party that does not involve the affirmative duties set forth above.
    BUYER'S AGENT
    A selling agent can, with a Buyer's consent, agree to act as agent for the Buyer only. In these situations, the agent is not the Seller's agent,
    even if by agreement the agent may receive compensation for services rendered, either in full or in part from the Seller. An agent acting only for
    a Buyer has the following affirmative obligations:
    To the Buyer: A fiduciary duty of utmost care, integrity, honesty and loyalty in dealings with the Buyer.
    To the Buyer and the Seller:
           (a)Diligent exercise of reasonable skill and care in performance of the agent's duties.
           (b)A duty of honest and fair dealing and good faith.
           (c) A duty to disclose all facts known to the agent materially affecting the value or desirability of the property that are not known to, or within
                 the diligent attention and observation of, the parties.
    An agent is not obligated to reveal to either party any confidential information obtained from the other party that does not involve the affirmative
    duties set forth above.
    AGENT REPRESENTING BOTH SELLER AND BUYER
    A real estate agent, either acting directly or through one or more associate licensees, can legally be the agent of both the Seller and the Buyer
    in a transaction, but only with the knowledge and consent of both the Seller and the Buyer.
    In a dual agency situation, the agent has the following affirmative obligations to both the Seller and the Buyer:
           (a)A fiduciary duty of utmost care, integrity, honesty and loyalty in the dealings with either the Seller or the Buyer.
           (b)Other duties to the Seller and the Buyer as stated above in their respective sections.
    In representing both Seller and Buyer, the agent may not, without the express permission of the respective party, disclose to the other party
    that the Seller will accept a price less than the listing price or that the Buyer will pay a price greater than the price offered.
    The above duties of the agent in a real estate transaction do not relieve a Seller or Buyer from the responsibility to protect his or her own
    interests. You should carefully read all agreements to assure that they adequately express your understanding of the transaction. A real estate
    agent is a person qualified to advise about real estate. If legal or tax advice is desired, consult a competent professional.
    Throughout your real property transaction you may receive more than one disclosure form, depending upon the number of agents assisting in
    the transaction. The law requires each agent with whom you have more than a casual relationship to present you with this disclosure form. You
    should read its contents each time it is presented to you, considering the relationship between you and the real estate agent in your specific
    transaction. This disclosure form includes the provisions of Sections 2079.13 to 2079.24, inclusive, of the Civil Code set forth on page
    2. Read it carefully. I/WE ACKNOWLEDGE RECEIPT OF A COPY OF THIS DISCLOSURE AND THE PORTIONS OF THE CIVIL CODE
    PRINTED ON THE BACK (OR A SEPARATE PAGE).
                                                                                                                                10/22/2018 | 13:38:14 PDT
    X Buyer         Seller      Landlord       Tenant                                                                                                     Date
                                                        Yao Juan Xu

         Buyer      Seller      Landlord       Tenant                                                                                                     Date

    Agent                                Sentinel Real Estate & Investments                                                    DRE Lic. # 01835117
                                                      Real Estate Broker (Firm)
    By                                                                  DRE Lic. # 02011647                                                           Date 10/22/2018 | 13:13:27 PDT
                              (Salesperson or Broker-Associate) Jameson Shipp
    Agency Disclosure Compliance (Civil Code §2079.14):
    ● When the listing brokerage company also represents Buyer/Tenant: The Listing Agent shall have one AD form signed by Seller/Landlord and a
      different AD form signed by Buyer/Tenant.
    ● When Seller/Landlord and Buyer/Tenant are represented by different brokerage companies: (i) the Listing Agent shall have one AD form signed by
      Seller/Landlord and (ii) the Buyer's/Tenant's Agent shall have one AD form signed by Buyer/Tenant and either that same or a different AD form
      presented to Seller/Landlord for signature prior to presentation of the offer. If the same form is used, Seller may sign here:

    Seller/Landlord                                              Date                                      Seller/Landlord                                                 Date
    Lynda Bui, BK Trustee for the Estate of Joel &


    © 1991-2010, California Association of REALTORS®, Inc.

    AD REVISED 12/14 (PAGE 1 OF 2)
                          DISCLOSURE REGARDING REAL ESTATE AGENCY RELATIONSHIP (AD PAGE 1 OF 2)
    Sentinel Real Estate, 8780 19th Street #350 Alta Loma CA 91701                                                             Phone: 909-944-6900         Fax: 909-912-8350      1339 Alta Ave -
    Gregory Shipp                                   Produced with zipForm® by zipLogix 18070 Fifteen Mile Road, Fraser, Michigan 48026 www.zipLogix.com



                                                                                   Exhibit 6
DocuSign Envelope ID: C4607E9B-4C9E-4F36-BEC9-6E09324E6DF3
                Case 6:17-bk-10928-WJ                              Doc 58           Filed 12/18/18                  Entered 12/18/18 18:00:18                        Desc
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                                              CIVIL CODE SECTIONS               Page
                                                                  2079.24 (2079.16    71 of ON
                                                                                   APPEARS  97 THE FRONT)
    2079.13 As used in Sections 2079.14 to 2079.24, inclusive, the following terms have the following meanings: (a) “Agent” means a person acting under provisions of
    Title 9 (commencing with Section 2295) in a real property transaction, and includes a person who is licensed as a real estate broker under Chapter 3 (commencing
    with Section 10130) of Part 1 of Division 4 of the Business and Professions Code, and under whose license a listing is executed or an offer to purchase is obtained. (b)
    “Associate licensee” means a person who is licensed as a real estate broker or salesperson under Chapter 3 (commencing with Section 10130) of Part 1 of Division 4
    of the Business and Professions Code and who is either licensed under a broker or has entered into a written contract with a broker to act as the broker's agent in
    connection with acts requiring a real estate license and to function under the broker's supervision in the capacity of an associate licensee. The agent in the real
    property transaction bears responsibility for his or her associate licensees who perform as agents of the agent. When an associate licensee owes a duty to any
    principal, or to any buyer or seller who is not a principal, in a real property transaction, that duty is equivalent to the duty owed to that party by the broker for whom the
    associate licensee functions. (c) “Buyer” means a transferee in a real property transaction, and includes a person who executes an offer to purchase real property from
    a seller through an agent, or who seeks the services of an agent in more than a casual, transitory, or preliminary manner, with the object of entering into a real
    property transaction. “Buyer” includes vendee or lessee. (d) “Commercial real property” means all real property in the state, except single-family residential real
    property, dwelling units made subject to Chapter 2 (commencing with Section 1940) of Title 5, mobilehomes, as defined in Section 798.3, or recreational vehicles, as
    defined in Section 799.29. (e) “Dual agent” means an agent acting, either directly or through an associate licensee, as agent for both the seller and the buyer in a real
    property transaction. (f) “Listing agreement” means a contract between an owner of real property and an agent, by which the agent has been authorized to sell the real
    property or to find or obtain a buyer. (g) “Listing agent” means a person who has obtained a listing of real property to act as an agent for compensation. (h) “Listing
    price” is the amount expressed in dollars specified in the listing for which the seller is willing to sell the real property through the listing agent. (i) “Offering price” is the
    amount expressed in dollars specified in an offer to purchase for which the buyer is willing to buy the real property. (j) “Offer to purchase” means a written contract
    executed by a buyer acting through a selling agent that becomes the contract for the sale of the real property upon acceptance by the seller. (k) “Real property” means
    any estate specified by subdivision (1) or (2) of Section 761 in property that constitutes or is improved with one to four dwelling units, any commercial real property,
    any leasehold in these types of property exceeding one year's duration, and mobilehomes, when offered for sale or sold through an agent pursuant to the authority
    contained in Section 10131.6 of the Business and Professions Code. (l) “Real property transaction” means a transaction for the sale of real property in which an agent
    is employed by one or more of the principals to act in that transaction, and includes a listing or an offer to purchase. (m) “Sell,” “sale,” or “sold” refers to a transaction
    for the transfer of real property from the seller to the buyer, and includes exchanges of real property between the seller and buyer, transactions for the creation of a
    real property sales contract within the meaning of Section 2985, and transactions for the creation of a leasehold exceeding one year's duration. (n) “Seller” means the
    transferor in a real property transaction, and includes an owner who lists real property with an agent, whether or not a transfer results, or who receives an offer to
    purchase real property of which he or she is the owner from an agent on behalf of another. “Seller” includes both a vendor and a lessor. (o) “Selling agent” means a
    listing agent who acts alone, or an agent who acts in cooperation with a listing agent, and who sells or finds and obtains a buyer for the real property, or an agent who
    locates property for a buyer or who finds a buyer for a property for which no listing exists and presents an offer to purchase to the seller. (p) “Subagent” means a
    person to whom an agent delegates agency powers as provided in Article 5 (commencing with Section 2349) of Chapter 1 of Title 9. However, “subagent” does not
    include an associate licensee who is acting under the supervision of an agent in a real property transaction.
    2079.14 Listing agents and selling agents shall provide the seller and buyer in a real property transaction with a copy of the disclosure form specified in Section
    2079.16, and, except as provided in subdivision (c), shall obtain a signed acknowledgement of receipt from that seller or buyer, except as provided in this section or
    Section 2079.15, as follows: (a) The listing agent, if any, shall provide the disclosure form to the seller prior to entering into the listing agreement. (b) The selling agent
    shall provide the disclosure form to the seller as soon as practicable prior to presenting the seller with an offer to purchase, unless the selling agent previously
    provided the seller with a copy of the disclosure form pursuant to subdivision (a). (c) Where the selling agent does not deal on a face-to-face basis with the seller, the
    disclosure form prepared by the selling agent may be furnished to the seller (and acknowledgement of receipt obtained for the selling agent from the seller) by the
    listing agent, or the selling agent may deliver the disclosure form by certified mail addressed to the seller at his or her last known address, in which case no signed
    acknowledgement of receipt is required. (d) The selling agent shall provide the disclosure form to the buyer as soon as practicable prior to execution of the buyer's
    offer to purchase, except that if the offer to purchase is not prepared by the selling agent, the selling agent shall present the disclosure form to the buyer not later than
    the next business day after the selling agent receives the offer to purchase from the buyer.
    2079.15 In any circumstance in which the seller or buyer refuses to sign an acknowledgement of receipt pursuant to Section 2079.14, the agent, or an associate
    licensee acting for an agent, shall set forth, sign, and date a written declaration of the facts of the refusal.
    2079.16 Reproduced on Page 1 of this AD form.
    2079.17 (a) As soon as practicable, the selling agent shall disclose to the buyer and seller whether the selling agent is acting in the real property transaction exclusively as
    the buyer's agent, exclusively as the seller's agent, or as a dual agent representing both the buyer and the seller. This relationship shall be confirmed in the contract to
    purchase and sell real property or in a separate writing executed or acknowledged by the seller, the buyer, and the selling agent prior to or coincident with execution of that
    contract by the buyer and the seller, respectively. (b) As soon as practicable, the listing agent shall disclose to the seller whether the listing agent is acting in the real property
    transaction exclusively as the seller's agent, or as a dual agent representing both the buyer and seller. This relationship shall be confirmed in the contract to purchase and
    sell real property or in a separate writing executed or acknowledged by the seller and the listing agent prior to or coincident with the execution of that contract by the seller.
    (c) The confirmation required by subdivisions (a) and (b) shall be in the following form.
                       (DO NOT COMPLETE. SAMPLE ONLY)                          is the agent of (check one):           the seller exclusively; or both the buyer and seller.
    (Name of Listing Agent)
                       (DO NOT COMPLETE. SAMPLE ONLY)                          is the agent of (check one):           the buyer exclusively; or the seller exclusively; or
    (Name of Selling Agent if not the same as the Listing Agent)                                                      both the buyer and seller.
    (d)   The disclosures and confirmation required by this section shall be in addition to the disclosure required by Section 2079.14.
    2079.18 No selling agent in a real property transaction may act as an agent for the buyer only, when the selling agent is also acting as the listing agent in the transaction.
    2079.19 The payment of compensation or the obligation to pay compensation to an agent by the seller or buyer is not necessarily determinative of a particular
    agency relationship between an agent and the seller or buyer. A listing agent and a selling agent may agree to share any compensation or commission paid, or
    any right to any compensation or commission for which an obligation arises as the result of a real estate transaction, and the terms of any such agreement shall
    not necessarily be determinative of a particular relationship.
    2079.20 Nothing in this article prevents an agent from selecting, as a condition of the agent's employment, a specific form of agency relationship not specifically
    prohibited by this article if the requirements of Section 2079.14 and Section 2079.17 are complied with.
    2079.21 A dual agent shall not disclose to the buyer that the seller is willing to sell the property at a price less than the listing price, without the express written consent
    of the seller. A dual agent shall not disclose to the seller that the buyer is willing to pay a price greater than the offering price, without the express written consent of the
    buyer. This section does not alter in any way the duty or responsibility of a dual agent to any principal with respect to confidential information other than price.
    2079.22 Nothing in this article precludes a listing agent from also being a selling agent, and the combination of these functions in one agent does not, of itself,
    make that agent a dual agent.
    2079.23 A contract between the principal and agent may be modified or altered to change the agency relationship at any time before the performance of the act
    which is the object of the agency with the written consent of the parties to the agency relationship.
    2079.24 Nothing in this article shall be construed to either diminish the duty of disclosure owed buyers and sellers by agents and their associate licensees,
    subagents, and employees or to relieve agents and their associate licensees, subagents, and employees from liability for their conduct in connection with acts
    governed by this article or for any breach of a fiduciary duty or a duty of disclosure.
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              525 South Virgil Avenue, Los Angeles, California 90020      TRANSACTION. A REAL ESTATE BROKER IS THE PERSON QUALIFIED TO ADVISE ON
    AD REVISED 12/14 (PAGE 2 OF 2)                                        REAL ESTATE TRANSACTIONS. IF YOU DESIRE LEGAL OR TAX ADVICE, CONSULT AN
                                                                          APPROPRIATE PROFESSIONAL.
                                  DISCLOSURE REGARDING REAL ESTATE AGENCY RELATIONSHIP (AD PAGE 2 OF 2)

                                                                                 Exhibit 6
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                 Case 6:17-bk-10928-WJ                     Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18 Desc
                                                            Main Document   Page 72 of 97
                                                      POSSIBLE REPRESENTATION OF MORE THAN ONE BUYER
                                                             OR SELLER - DISCLOSURE AND CONSENT
                                                                                                  (C.A.R. Form PRBS, 11/14)

    A real estate broker (Broker), whether a corporation, partnership or sole proprietorship, may represent more than one buyer
    or seller. This multiple representation can occur through an individual licensed as a broker or salesperson or through different
    individual broker's or salespersons (associate licensees) acting under the Broker's license. The associate licensees may be
    working out of the same or different office locations.
    Multiple Buyers: Broker (individually or through its associate licensees) may be working with many prospective buyers at
    the same time. These prospective buyers may have an interest in, and make offers on, the same properties. Some of these
    properties may be listed with Broker and some may not. Broker will not limit or restrict any particular buyer from making an
    offer on any particular property whether or not Broker represents other buyers interested in the same property.
    Multiple Sellers: Broker (individually or through its associate licensees) may have listings on many properties at the same
    time. As a result, Broker will attempt to find buyers for each of those listed properties. Some listed properties may appeal to
    the same prospective buyers. Some properties may attract more prospective buyers than others. Some of these prospective
    buyers may be represented by Broker and some may not. Broker will market all listed properties to all prospective buyers
    whether or not Broker has another or other listed properties that may appeal to the same prospective buyers.
    Dual Agency: If Seller is represented by Broker, Seller acknowledges that broker may represent prospective buyers
    of Seller's property and consents to Broker acting as a dual agent for both seller and buyer in that transaction. If Buyer
    is represented by Broker, buyer acknowledges that Broker may represent sellers of property that Buyer is interested in
    acquiring and consents to Broker acting as a dual agent for both buyer and seller with regard to that property.
    In the event of dual agency, seller and buyer agree that: (a) Broker, without the prior written consent of the Buyer, will not
    disclose to seller that the Buyer is willing to pay a price greater than the offered price; (b) Broker, without the prior written
    consent of the seller, will not disclose to the buyer that seller is willing to sell property at a price less than the listing price;
    and (c) other than as set forth in (a) and (b) above, a dual agent is obligated to disclose known facts materially affecting the
    value or desirability of the property to both parties.
    Offers not necessarily confidential: Buyer is advised that seller or listing agent may disclose the existence, terms, or
    conditions of buyer's offer unless all parties and their agent have signed a written confidentiality agreement. Whether any such
    information is actually disclosed depends on many factors, such as current market conditions, the prevailing practice in the real
    estate community, the listing agent's marketing strategy and the instructions of the seller.
    Buyer and seller understand that Broker may represent more than one buyer or more than one seller and even both buyer
    and seller on the same transaction and consents to such relationships.
    Seller and/or Buyer acknowledges reading and understanding this Possible Representation of More Than One
    Buyer or Seller - Disclosure and Consent and agrees to the agency possibilities disclosed.
    Seller                                                                                                      Lynda Bui, BK Trustee for the Estate of Joel &          Date
    Seller                                                                                                                                                              Date
    Buyer                                                                                                                                       Yao Juan Xu Date 10/22/2018 | 13:38
    Buyer                                                                                                                                                   Date
    Real Estate Broker (Firm) SENTINEL REAL ESTATE & INVEST.                                                                     DRE Lic # 01835117                     Date 10/19/2018
    By                                                                                                                           DRE Lic # 01006314                     Date 10/22/2018 | 13:59
       GREGORY SHIPP
    Real Estate Broker (Firm) Sentinel Real Estate & Investments                                                                 DRE Lic # 01835117                     Date 10/19/2018
    By                                                                                                                           DRE Lic # 02011647                     Date 10/22/2018 | 13:13
       Jameson Shipp
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    PRBS 11/14 (PAGE 1 OF 1)
                    POSSIBLE REPRESENTATION OF MORE THAN ONE BUYER OR SELLER (PRBS PAGE 1 OF 1)
    Sentinel Real Estate, 8780 19th Street #350 Alta Loma CA 91701                                                             Phone: 909-944-6900        Fax: 909-912-8350    1339 Alta Ave -
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                                                                                   Exhibit 6
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                 Case 6:17-bk-10928-WJ                              Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                                                           Desc
                                                                    Main Document    Page 73 of 97
                                                                    WIRE FRAUD AND ELECTRONIC FUNDS
                                                                            TRANSFER ADVISORY
                                                                                       (C.A.R. Form WFA, Revised 12/17)

    Property Address: 1339 Alta Ave, Upland, CA 91786-2812                                                                                                                     (“Property”).
    WIRE FRAUD AND ELECTRONIC FUNDS TRANSFERS ADVISORY:
    The ability to communicate and conduct business electronically is a convenience and reality in nearly all parts of our lives.
    At the same time, it has provided hackers and scammers new opportunities for their criminal activity. Many businesses
    have been victimized and the real estate business is no exception.
    While wiring or electronically transferring funds is a welcome convenience, we all need to exercise extreme caution.
    Emails attempting to induce fraudulent wire transfers have been received and have appeared to be legitimate. Reports
    indicate that some hackers have been able to intercept emailed transfer instructions, obtain account information and, by
    altering some of the data, redirect the funds to a different account. It also appears that some hackers were able to provide
    false phone numbers for verifying the wiring or funds transfer instructions. In those cases, the victim called the number
    provided to confirm the instructions, and then unwittingly authorized a transfer to somewhere or someone other than the
    intended recipient.
    ACCORDINGLY, YOU ARE ADVISED:
      1. Obtain phone numbers and account numbers only from Escrow Officers, Property Managers, or
          Landlords at the beginning of the transaction.
      2. DO NOT EVER WIRE OR ELECTRONICALLY TRANSFER FUNDS PRIOR TO CALLING TO
          CONFIRM THE TRANSFER INSTRUCTIONS. ONLY USE A PHONE NUMBER YOU WERE
          PROVIDED PREVIOUSLY. Do not use any different phone number or account number included
          in any emailed transfer instructions.
      3. Orally confirm the transfer instruction is legitimate and confirm the bank routing number, account
          numbers and other codes before taking steps to transfer the funds.
      4. Avoid sending personal information in emails or texts. Provide such information in person or
          over the telephone directly to the Escrow Officer, Property Manager, or Landlord.
      5. Take steps to secure the system you are using with your email account. These steps include
          creating strong passwords, using secure WiFi, and not using free services.
    If you believe you have received questionable or suspicious wire or funds transfer instructions, immediately notify your
    bank, and the other party, and the Escrow Office, Landlord, or Property Manager. The sources below, as well as others,
    can also provide information:
    Federal Bureau of Investigation: https://www.fbi.gov/; the FBI's IC3 at www.ic3.gov; or 310-477-6565
    National White Collar Crime Center: http://www.nw3c.org/
    On Guard Online: https://www.onguardonline.gov/
    NOTE: There are existing alternatives to electronic and wired fund transfers such as cashier's checks.
    By signing below, the undersigned acknowledge that each has read, understands and has received a
    copy of this Wire Fraud and Electronic Funds Transfer Advisory.
    Buyer/Tenant                                                                                                                     Yao Juan Xu Date 10/22/2018 | 13:38:1
    Buyer/Tenant                                                                                                                                       Date
    Seller/Landlord                                                                      Lynda Bui, BK Trustee for the Estate of Joel & Peggy Clelland Date

    Seller/Landlord                                                                                                                                    Date
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    WFA REVISED 12/17 (PAGE 1 OF 1)
                      WIRE FRAUD AND ELECTRONIC FUNDS TRANSFER ADVISORY (WFA PAGE 1 OF 1)
    Sentinel Real Estate, 8780 19th Street #350 Alta Loma CA 91701                                                             Phone: 909-944-6900        Fax: 909-912-8350       1339 Alta Ave -
    Gregory Shipp                                   Produced with zipForm® by zipLogix 18070 Fifteen Mile Road, Fraser, Michigan 48026 www.zipLogix.com




                                                                                   Exhibit 6
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                 Case 6:17-bk-10928-WJ                            Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                                                             Desc
                                                                  Main Document    Page 74 of 97
                                                                          CALIFORNIA
                                                                 RESIDENTIAL PURCHASE AGREEMENT
                                                                  AND JOINT ESCROW INSTRUCTIONS
                                                                                       (C.A.R. Form RPA-CA, Revised 12/15 )

    Date Prepared: 10/19/2018
    1. OFFER:
       A. THIS IS AN OFFER FROM                                                                         Yao Juan Xu                                                                  (“Buyer”).
       B. THE REAL PROPERTY to be acquired is                                                     1339 Alta Ave, Upland, CA 91786-2812                                             , situated in
                          Upland               (City), San Bernardino (County), California, 91786-2812 (Zip Code), Assessor's Parcel No. 1045455180000 (“Property”).
       C. THE PURCHASE PRICE offered is Three Hundred Eighty-Two Thousand, Two Hundred Fifty
                                                                                                                                     Dollars $ 382,250.00                                 .
       D. CLOSE OF ESCROW shall occur on                                                                                    (date)(or X              10          Days After Acceptance).
       E. Buyer and Seller are referred to herein as the “Parties.” Brokers are not Parties to this Agreement.
    2. AGENCY:
       A. DISCLOSURE: The Parties each acknowledge receipt of a X “Disclosure Regarding Real Estate Agency Relationships”
           (C.A.R. Form AD).
       B. CONFIRMATION: The following agency relationships are hereby confirmed for this transaction:
           Listing Agent                      SENTINEL REAL ESTATE & INVEST.                                                     (Print Firm Name) is the agent of (check one):
              the Seller exclusively; or X both the Buyer and Seller.
           Selling Agent                         Sentinel Real Estate & Investments                                                       (Print Firm Name) (if not the same as the
           Listing Agent) is the agent of (check one): the Buyer exclusively; or the Seller exclusively; or X both the Buyer and Seller.
       C. POTENTIALLY COMPETING BUYERS AND SELLERS: The Parties each acknowledge receipt of a X “Possible
           Representation of More than One Buyer or Seller - Disclosure and Consent” (C.A.R. Form PRBS).
    3. FINANCE TERMS: Buyer represents that funds will be good when deposited with Escrow Holder.
       A. INITIAL DEPOSIT: Deposit shall be in the amount of . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                          10,000.00
           (1) Buyer Direct Deposit: Buyer shall deliver deposit directly to Escrow Holder by electronic funds
           transfer,     cashier's check,     personal check,        other                                                  within 3 business days
           after Acceptance (or                                                                                                                  );
       OR (2)       Buyer Deposit with Agent: Buyer has given the deposit by personal check (or                                                                  )
           to the agent submitting the offer (or to                                                                                ), made payable to
                                                   . The deposit shall be held uncashed until Acceptance and then deposited
           with Escrow Holder within 3 business days after Acceptance (or                                                                                       ).
           Deposit checks given to agent shall be an original signed check and not a copy.
       (Note: Initial and increased deposits checks received by agent shall be recorded in Broker's trust fund log.)
       B. INCREASED DEPOSIT: Buyer shall deposit with Escrow Holder an increased deposit in the amount of . . . . . . . . . $
           within         Days After Acceptance (or                                                                                                             ).
           If the Parties agree to liquidated damages in this Agreement, they also agree to incorporate the increased
           deposit into the liquidated damages amount in a separate liquidated damages clause (C.A.R. Form
           RID) at the time the increased deposit is delivered to Escrow Holder.
       C. X ALL CASH OFFER: No loan is needed to purchase the Property. This offer is NOT contingent on Buyer
           obtaining a loan. Written verification of sufficient funds to close this transaction IS ATTACHED to this offer or
              Buyer shall, within 3 (or              ) Days After Acceptance, Deliver to Seller such verification.
       D. LOAN(S):
           (1) FIRST LOAN: in the amount of . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    $
                This loan will be conventional financing or             FHA,           VA,          Seller financing (C.A.R. Form SFA),
                    assumed financing (C.A.R. Form AFA),          Other                                            . This loan shall be at a fixed
                rate not to exceed               % or,     an adjustable rate loan with initial rate not to exceed                                           %.
                Regardless of the type of loan, Buyer shall pay points not to exceed                                      % of the loan amount.
           (2)      SECOND LOAN in the amount of . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
                This loan will be conventional financing or                Seller financing (C.A.R. Form SFA),                                    assumed
                financing (C.A.R. Form AFA),       Other                                          . This loan shall be at a fixed rate not to
                exceed              % or,    an adjustable rate loan with initial rate not to exceed                                   %. Regardless of
                the type of loan, Buyer shall pay points not to exceed                            % of the loan amount.
           (3) FHA/VA: For any FHA or VA loan specified in 3D(1), Buyer has 17 (or                                        ) Days After Acceptance
                to Deliver to Seller written notice (C.A.R. Form FVA) of any lender-required repairs or costs that
                Buyer requests Seller to pay for or otherwise correct. Seller has no obligation to pay or satisfy lender
                requirements unless agreed in writing. A FHA/VA amendatory clause (C.A.R. Form FVAC) shall be a
                part of this Agreement.
       E. ADDITIONAL FINANCING TERMS:

         F. BALANCE OF DOWN PAYMENT OR PURCHASE PRICE in the amount of . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                                     372,250.00
            to be deposited with Escrow Holder pursuant to Escrow Holder instructions.
         G. PURCHASE PRICE (TOTAL): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                  382,250.00


    Buyer's Initials     (              ) (                )                                                              Seller's Initials     (              ) (             )
    © 1991-2015, California Association of REALTORS®, Inc.
    RPA-CA REVISED 12/15 (PAGE 1 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 1 OF 10)
    Sentinel Real Estate, 8780 19th Street #350 Alta Loma CA 91701                                                             Phone: 909-944-6900        Fax: 909-912-8350         1339 Alta Ave -
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                                                                                   Exhibit 6
    Gregory Shipp
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               Case 6:17-bk-10928-WJ                     Doc 58            Filed 12/18/18                  Entered 12/18/18 18:00:18                Desc
    Property Address: 1339 Alta Ave, Upland, CAMain         Document
                                                      91786-2812               Page 75 of 97                   Date: October 19, 2018
       H. VERIFICATION OF DOWN PAYMENT AND CLOSING COSTS: Buyer (or Buyer's lender or loan broker pursuant to paragraph
           3J(1)) shall, within 3 (or         ) Days After Acceptance, Deliver to Seller written verification of Buyer's down payment and
           closing costs. ( Verification attached.)
       I. APPRAISAL CONTINGENCY AND REMOVAL: This Agreement is (or X is NOT) contingent upon a written appraisal of the
           Property by a licensed or certified appraiser at no less than the purchase price. Buyer shall, as specified in paragraph 14B(3),
           in writing, remove the appraisal contingency or cancel this Agreement within 17 (or          ) Days After Acceptance.
       J. LOAN TERMS:
           (1) LOAN APPLICATIONS: Within 3 (or             ) Days After Acceptance, Buyer shall Deliver to Seller a letter from Buyer's lender or
           loan broker stating that, based on a review of Buyer's written application and credit report, Buyer is prequalified or preapproved
           for any NEW loan specified in paragraph 3D. If any loan specified in paragraph 3D is an adjustable rate loan, the prequalification
           or preapproval letter shall be based on the qualifying rate, not the initial loan rate. ( Letter attached.)
           (2) LOAN CONTINGENCY: Buyer shall act diligently and in good faith to obtain the designated loan(s). Buyer's qualification
           for the loan(s) specified above is a contingency of this Agreement unless otherwise agreed in writing. If there is no appraisal
           contingency or the appraisal contingency has been waived or removed, then failure of the Property to appraise at the purchase
           price does not entitle Buyer to exercise the cancellation right pursuant to the loan contingency if Buyer is otherwise qualified
           for the specified loan. Buyer's contractual obligations regarding deposit, balance of down payment and closing costs are not
           contingencies of this Agreement.
           (3) LOAN CONTINGENCY REMOVAL:
           Within 21 (or         ) Days After Acceptance, Buyer shall, as specified in paragraph 14, in writing, remove the loan contingency or
           cancel this Agreement. If there is an appraisal contingency, removal of the loan contingency shall not be deemed removal of the
           appraisal contingency.
           (4)     NO LOAN CONTINGENCY: Obtaining any loan specified above is NOT a contingency of this Agreement. If Buyer does not
           obtain the loan and as a result does not purchase the Property, Seller may be entitled to Buyer's deposit or other legal remedies.
           (5) LENDER LIMITS ON BUYER CREDITS: Any credit to Buyer, from any source, for closing or other costs that is agreed to
           by the Parties (“Contractual Credit”) shall be disclosed to Buyer's lender. If the total credit allowed by Buyer's lender (“Lender
           Allowable Credit”) is less than the Contractual Credit, then (i) the Contractual Credit shall be reduced to the Lender Allowable
           Credit, and (ii) in the absence of a separate written agreement between the Parties, there shall be no automatic adjustment to
           the purchase price to make up for the difference between the Contractual Credit and the Lender Allowable Credit.
       K. BUYER STATED FINANCING: Seller is relying on Buyer's representation of the type of financing specified (including but not
           limited to, as applicable, all cash, amount of down payment, or contingent or non-contingent loan). Seller has agreed to a specific
           closing date, purchase price and to sell to Buyer in reliance on Buyer's covenant concerning financing. Buyer shall pursue the
           financing specified in this Agreement. Seller has no obligation to cooperate with Buyer's efforts to obtain any financing other than
           that specified in the Agreement and the availability of any such alternate financing does not excuse Buyer from the obligation to
           purchase the Property and close escrow as specified in this Agreement.
    4. SALE OF BUYER'S PROPERTY:
       A. This Agreement and Buyer's ability to obtain financing are NOT contingent upon the sale of any property owned by Buyer.
    OR B.     This Agreement and Buyer's ability to obtain financing are contingent upon the sale of property owned by Buyer as specified
           in the attached addendum (C.A.R. Form COP).
    5. ADDENDA AND ADVISORIES:
       A. ADDENDA:                                                                Addendum #            (C.A.R. Form ADM)
              Back Up Offer Addendum (C.A.R. Form BUO)                            Court Confirmation Addendum (C.A.R. Form CCA)
              Septic, Well and Property Monument Addendum (C.A.R. Form SWPI)
            X Short Sale Addendum (C.A.R. Form SSA)                               Other
       B. BUYER AND SELLER ADVISORIES:                                                          X Buyer's Inspection Advisory (C.A.R. Form BIA)
            Probate Advisory (C.A.R. Form PA)                                                   X Statewide Buyer and Seller Advisory (C.A.R. Form SBSA)
            Trust Advisory (C.A.R. Form TA)                                                       REO Advisory (C.A.R. Form REO)
          X Short Sale Information and Advisory (C.A.R. Form SSIA)                              X Other BK Global Purchase Addendum
    6. OTHER TERMS:



    7. ALLOCATION OF COSTS
       A. INSPECTIONS, REPORTS AND CERTIFICATES: Unless otherwise agreed in writing, this paragraph only determines who
       is to pay for the inspection, test, certificate or service (“Report”) mentioned; it does not determine who is to pay for any work
       recommended or identified in the Report.
           (1)   Buyer X Seller shall pay for a natural hazard zone disclosure report, including tax     environmental  Other:
                                             prepared by seller's choice                                                                .
           (2)    Buyer    Seller shall pay for the following Report
               prepared by                                                                                                              .
           (3)    Buyer    Seller shall pay for the following Report
               prepared by                                                                                                            .


    Buyer's Initials   (      ) (               )                                                             Seller's Initials    (    ) (            )
    RPA-CA REVISED 12/15 (PAGE 2 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 2 OF 10)
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                                                                        Exhibit 6
DocuSign Envelope ID: C4607E9B-4C9E-4F36-BEC9-6E09324E6DF3
               Case 6:17-bk-10928-WJ                      Doc 58            Filed 12/18/18                  Entered 12/18/18 18:00:18                Desc
    Property Address: 1339 Alta Ave, Upland, CAMain          Document
                                                        91786-2812               Page 76 of 97                    Date: October 19, 2018
       B. GOVERNMENT REQUIREMENTS AND RETROFIT:
           (1)      Buyer   Seller shall pay for smoke alarm and carbon monoxide device installation and water heater bracing, if required by
               Law. Prior to Close Of Escrow (“COE”), Seller shall provide Buyer written statement(s) of compliance in accordance with state
               and local Law, unless Seller is exempt.
           (2) (i) Buyer       Seller shall pay the cost of compliance with any other minimum mandatory government inspections and reports
               if required as a condition of closing escrow under any Law.
               (ii)    Buyer     Seller shall pay the cost of compliance with any other minimum mandatory government retrofit standards
               required as a condition of closing escrow under any Law, whether the work is required to be completed before or after COE.
               (iii) Buyer shall be provided, within the time specified in paragraph 14A, a copy of any required government conducted or
               point-of-sale inspection report prepared pursuant to this Agreement or in anticipation of this sale of the Property.
       C. ESCROW AND TITLE:
           (1) (a) X Buyer X Seller shall pay escrow fee 50/50 split between buyer and seller                                                         .
               (b) Escrow Holder shall be Brightline Title                                                                                             .
               (c) The Parties shall, within 5 (or       ) Days After receipt, sign and return Escrow Holder's general provisions.
           (2) (a) Buyer X Seller shall pay for owner's title insurance policy specified in paragraph 13E                                              .
               (b) Owner's title policy to be issued by seller's choice                                                                               .
               (Buyer shall pay for any title insurance policy insuring Buyer's lender, unless otherwise agreed in writing.)
       D. OTHER COSTS:
           (1)      Buyer X Seller shall pay County transfer tax or fee                                                                               .
           (2)      Buyer Seller shall pay City transfer tax or fee                                                                                 .
           (3)      Buyer Seller shall pay Homeowners' Association (“HOA”) transfer fee                                                              .
           (4) Seller shall pay HOA fees for preparing documents required to be delivered by Civil Code §4525.
           (5)      Buyer Seller shall pay HOA fees for preparing all documents other than those required by Civil Code §4525.
           (6) Buyer to pay for any HOA certification fee.
           (7)      Buyer Seller shall pay for any private transfer fee                                                                              .
           (8)      Buyer Seller shall pay for                                                                                                       .
           (9)      Buyer Seller shall pay for                                                                                                       .
         (10)       Buyer    Seller shall pay for the cost, not to exceed $                                         , of a standard (or     upgraded)
               one-year home warranty plan, issued by                                                                                        , with the
               following optional coverages:       Air Conditioner    Pool/Spa       Other:                                                              .
               Buyer is informed that home warranty plans have many optional coverages in addition to those listed above. Buyer is advised
               to investigate these coverages to determine those that may be suitable for Buyer.
           OR X Buyer waives the purchase of a home warranty plan. Nothing in this paragraph precludes Buyer's purchasing
                     a home warranty plan during the term of this Agreement.
    8. ITEMS INCLUDED IN AND EXCLUDED FROM SALE:
       A. NOTE TO BUYER AND SELLER: Items listed as included or excluded in the MLS, flyers or marketing materials are not
           included in the purchase price or excluded from the sale unless specified in paragraph 8 B or C.
       B. ITEMS INCLUDED IN SALE: Except as otherwise specified or disclosed,
           (1) All EXISTING fixtures and fittings that are attached to the Property;
           (2) EXISTING electrical, mechanical, lighting, plumbing and heating fixtures, ceiling fans, fireplace inserts, gas logs and grates,
               solar power systems, built-in appliances, window and door screens, awnings, shutters, window coverings, attached floor
               coverings, television antennas, satellite dishes, air coolers/conditioners, pool/spa equipment, garage door openers/remote
               controls, mailbox, in-ground landscaping, trees/shrubs, water features and fountains, water softeners, water purifiers, security
               systems/alarms and the following if checked:          all stove(s), except                                      ;    all refrigerator(s)
               except                                          ; all washer(s) and dryer(s), except                                               ;
           (3) The following additional items:                                                                                                    .
           (4) Existing integrated phone and home automation systems, including necessary components such as intranet and Internet-
               connected hardware or devices, control units (other than non-dedicated mobile devices, electronics and computers) and
               applicable software, permissions, passwords, codes and access information, are ( are NOT) included in the sale.
           (5) LEASED OR LIENED ITEMS AND SYSTEMS: Seller shall, within the time specified in paragraph 14A, (i) disclose to Buyer
               if any item or system specified in paragraph 8B or otherwise included in the sale is leased, or not owned by Seller, or
               specifically subject to a lien or other encumbrance, and (ii) Deliver to Buyer all written materials (such as lease, warranty,
               etc.) concerning any such item. Buyer's ability to assume any such lease, or willingness to accept the Property subject to
               any such lien or encumbrance, is a contingency in favor of Buyer and Seller as specified in paragraph 14B and C.
           (6) Seller represents that all items included in the purchase price, unless otherwise specified, (i) are owned by Seller and shall
               be transferred free and clear of liens and encumbrances, except the items and systems identified pursuant to 8B(5) and
                                                                            , and (ii) are transferred without Seller warranty regardless of value.
       C. ITEMS EXCLUDED FROM SALE: Unless otherwise specified, the following items are excluded from sale: (i) audio and video
           components (such as flat screen TVs, speakers and other items) if any such item is not itself attached to the Property, even if a
           bracket or other mechanism attached to the component or item is attached to the Property; (ii) furniture and other items secured
           to the Property for earthquake purposes; and (iii)

                                                                 . Brackets attached to walls, floors or ceilings for any such component, furniture
            or item shall remain with the Property (or              will be removed and holes or other damage shall be repaired, but not painted).
    Buyer's Initials   (        ) (              )                                                             Seller's Initials    (    ) (            )
    RPA-CA REVISED 12/15 (PAGE 3 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 3 OF 10)
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                                                                         Exhibit 6
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               Case 6:17-bk-10928-WJ                      Doc 58            Filed 12/18/18 Entered 12/18/18 18:00:18 Desc
    Property Address: 1339 Alta Ave, Upland, CAMain Document
                                                91786-2812                            Page 77 of 97       Date: October 19, 2018
    9. CLOSING AND POSSESSION:
        A. Buyer intends (or X does not intend) to occupy the Property as Buyer's primary residence.
        B. Seller-occupied or vacant property: Possession shall be delivered to Buyer: (i) at 6 PM or (                   AM/ PM) on the date of Close
           Of Escrow; (ii) no later than           calendar days after Close Of Escrow; or (iii) at          AM/ PM on                        .
        C. Seller remaining in possession After Close Of Escrow: If Seller has the right to remain in possession after Close Of Escrow, (i) the
           Parties are advised to sign a separate occupancy agreement such as            C.A.R. Form SIP, for Seller continued occupancy of less than 30
           days,       C.A.R. Form RLAS for Seller continued occupancy of 30 days or more; and (ii) the Parties are advised to consult with their
           insurance and legal advisors for information about liability and damage or injury to persons and personal and real property; and (iii)
           Buyer is advised to consult with Buyer's lender about the impact of Seller's occupancy on Buyer's loan.
        D. Tenant-occupied property: Property shall be vacant at least 5 (or                 ) Days Prior to Close Of Escrow, unless otherwise agreed in
           writing. Note to Seller: If you are unable to deliver Property vacant in accordance with rent control and other applicable Law,
           you may be in breach of this Agreement.
        OR Tenant to remain in possession (C.A.R. Form TIP).
        E. At Close Of Escrow: Seller assigns to Buyer any assignable warranty rights for items included in the sale; and Seller shall Deliver to Buyer
           available Copies of any such warranties. Brokers cannot and will not determine the assignability of any warranties.
        F. At Close Of Escrow, unless otherwise agreed in writing, Seller shall provide keys, passwords, codes and/or means to operate all locks,
           mailboxes, security systems, alarms, home automation systems and intranet and Internet-connected devices included in the purchase
           price, and garage door openers. If the Property is a condominium or located in a common interest subdivision, Buyer may be required
           to pay a deposit to the Homeowners' Association (“HOA”) to obtain keys to accessible HOA facilities.
    10. STATUTORY AND OTHER DISCLOSURES (INCLUDING LEAD-BASED PAINT HAZARD DISCLOSURES) AND CANCELLATION RIGHTS:
        A. (1) Seller shall, within the time specified in paragraph 14A, Deliver to Buyer: (i) if required by Law, a fully completed: Federal Lead-
                Based Paint Disclosures (C.A.R. Form FLD) and pamphlet (“Lead Disclosures”); and (ii) unless exempt, fully completed disclosures or
                notices required by sections 1102 et. seq. and 1103 et. seq. of the Civil Code (“Statutory Disclosures”). Statutory Disclosures include,
                but are not limited to, a Real Estate Transfer Disclosure Statement (“TDS”), Natural Hazard Disclosure Statement (“NHD”), notice or
                actual knowledge of release of illegal controlled substance, notice of special tax and/or assessments (or, if allowed, substantially
                equivalent notice regarding the Mello-Roos Community Facilities Act of 1982 and Improvement Bond Act of 1915) and, if Seller has
                actual knowledge, of industrial use and military ordnance location (C.A.R. Form SPQ or ESD).
           (2) Any Statutory Disclosure required by this paragraph is considered fully completed if Seller has answered all questions and completed
                and signed the Seller section(s) and the Listing Agent, if any, has completed and signed the Listing Broker section(s), or, if applicable,
                an Agent Visual Inspection Disclosure (C.A.R. Form AVID). Nothing stated herein relieves a Buyer's Broker, if any, from the obligation
                to (i) conduct a reasonably competent and diligent visual inspection of the accessible areas of the Property and disclose, on Section IV
                of the TDS, or an AVID, material facts affecting the value or desirability of the Property that were or should have been revealed by such
                an inspection or (ii) complete any sections on all disclosures required to be completed by Buyer's Broker.
           (3) Note to Buyer and Seller: Waiver of Statutory and Lead Disclosures is prohibited by Law.
           (4) Within the time specified in paragraph 14A, (i) Seller, unless exempt from the obligation to provide a TDS, shall, complete and
                provide Buyer with a Seller Property Questionnaire (C.A.R. Form SPQ); (ii) if Seller is not required to provide a TDS, Seller shall
                complete and provide Buyer with an Exempt Seller Disclosure (C.A.R. Form ESD).
           (5) Buyer shall, within the time specified in paragraph 14B(1), return Signed Copies of the Statutory, Lead and other disclosures to Seller.
           (6) In the event Seller or Listing Broker, prior to Close Of Escrow, becomes aware of adverse conditions materially affecting the
                Property, or any material inaccuracy in disclosures, information or representations previously provided to Buyer, Seller shall
                promptly provide a subsequent or amended disclosure or notice, in writing, covering those items. However, a subsequent or
                amended disclosure shall not be required for conditions and material inaccuracies of which Buyer is otherwise aware, or
                which are disclosed in reports provided to or obtained by Buyer or ordered and paid for by Buyer.
           (7) If any disclosure or notice specified in paragraph 10A(1), or subsequent or amended disclosure or notice is Delivered to Buyer after
                the offer is Signed, Buyer shall have the right to cancel this Agreement within 3 Days After Delivery in person, or 5 Days After
                Delivery by deposit in the mail, by giving written notice of cancellation to Seller or Seller's agent.
        B. NATURAL AND ENVIRONMENTAL HAZARD DISCLOSURES AND OTHER BOOKLETS: Within the time specified in paragraph 14A,
           Seller shall, if required by Law: (i) Deliver to Buyer earthquake guide(s) (and questionnaire), environmental hazards booklet, and home
           energy rating pamphlet; (ii) disclose if the Property is located in a Special Flood Hazard Area; Potential Flooding (Inundation) Area;
           Very High Fire Hazard Zone; State Fire Responsibility Area; Earthquake Fault Zone; and Seismic Hazard Zone; and (iii) disclose any
           other zone as required by Law and provide any other information required for those zones.
        C. WITHHOLDING TAXES: Within the time specified in paragraph 14A, to avoid required withholding, Seller shall Deliver to Buyer or qualified
           substitute, an affidavit sufficient to comply with federal (FIRPTA) and California withholding Law (C.A.R. Form AS or QS).
        D. MEGAN'S LAW DATABASE DISCLOSURE: Notice: Pursuant to Section 290.46 of the Penal Code, information about specified
           registered sex offenders is made available to the public via an Internet Web site maintained by the Department of Justice at
           www.meganslaw.ca.gov. Depending on an offender's criminal history, this information will include either the address at which the
           offender resides or the community of residence and ZIP Code in which he or she resides. (Neither Seller nor Brokers are required to
           check this website. If Buyer wants further information, Broker recommends that Buyer obtain information from this website during
           Buyer's inspection contingency period. Brokers do not have expertise in this area.)
        E. NOTICE REGARDING GAS AND HAZARDOUS LIQUID TRANSMISSION PIPELINES: This notice is being provided simply to inform
           you that information about the general location of gas and hazardous liquid transmission pipelines is available to the public via the
           National Pipeline Mapping System (NPMS) Internet Web site maintained by the United States Department of Transportation at
           http://www.npms.phmsa.dot.gov/. To seek further information about possible transmission pipelines near the Property, you may
           contact your local gas utility or other pipeline operators in the area. Contact information for pipeline operators is searchable by ZIP
           Code and county on the NPMS Internet Web site.
        F. CONDOMINIUM/PLANNED DEVELOPMENT DISCLOSURES:
           (1) SELLER HAS: 7 (or                ) Days After Acceptance to disclose to Buyer if the Property is a condominium, or is located in a
           planned development or other common interest subdivision (C.A.R. Form SPQ or ESD).

    Buyer's Initials   (        ) (              )                                                             Seller's Initials    (    ) (            )
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                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 4 OF 10)

                                                                         Exhibit 6
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DocuSign Envelope ID: C4607E9B-4C9E-4F36-BEC9-6E09324E6DF3
               Case 6:17-bk-10928-WJ                       Doc 58            Filed 12/18/18 Entered 12/18/18 18:00:18 Desc
    Property Address: 1339 Alta Ave, Upland, CAMain Document
                                                91786-2812                             Page 78 of 97       Date: October 19, 2018
            (2) If the Property is a condominium or is located in a planned development or other common interest subdivision, Seller has
            3 (or        ) Days After Acceptance to request from the HOA (C.A.R. Form HOA1): (i) Copies of any documents required by Law;
            (ii) disclosure of any pending or anticipated claim or litigation by or against the HOA; (iii) a statement containing the location and
            number of designated parking and storage spaces; (iv) Copies of the most recent 12 months of HOA minutes for regular and special
            meetings; and (v) the names and contact information of all HOAs governing the Property (collectively, “CI Disclosures”). (vi) private
            transfer fees; (vii) Pet fee restrictions; and (viii) smoking restrictions. Seller shall itemize and Deliver to Buyer all CI Disclosures
            received from the HOA and any CI Disclosures in Seller's possession. Buyer's approval of CI Disclosures is a contingency of this
            Agreement as specified in paragraph 14B(3). The Party specified in paragraph 7, as directed by escrow, shall deposit funds into escrow
            or direct to HOA or management company to pay for any of the above.
    11. CONDITION OF PROPERTY: Unless otherwise agreed in writing: (i) the Property is sold (a) “AS-IS” in its PRESENT
        physical condition as of the date of Acceptance and (b) subject to Buyer's Investigation rights; (ii) the Property, including pool, spa,
        landscaping and grounds, is to be maintained in substantially the same condition as on the date of Acceptance; and (iii) all debris
        and personal property not included in the sale shall be removed by Close Of Escrow.
        A. Seller shall, within the time specified in paragraph 14A, DISCLOSE KNOWN MATERIAL FACTS AND DEFECTS affecting the
            Property, including known insurance claims within the past five years, and make any and all other disclosures required by law.
        B. Buyer has the right to conduct Buyer Investigations of the Property and, as specified in paragraph 14B, based upon information
            discovered in those investigations: (i) cancel this Agreement; or (ii) request that Seller make Repairs or take other action.
        C. Buyer is strongly advised to conduct investigations of the entire Property in order to determine its present condition.
            Seller may not be aware of all defects affecting the Property or other factors that Buyer considers important. Property
            improvements may not be built according to code, in compliance with current Law, or have had permits issued.
    12. BUYER'S INVESTIGATION OF PROPERTY AND MATTERS AFFECTING PROPERTY:
        A. Buyer's acceptance of the condition of, and any other matter affecting the Property, is a contingency of this Agreement as specified in
            this paragraph and paragraph 14B. Within the time specified in paragraph 14B(1), Buyer shall have the right, at Buyer's expense unless
            otherwise agreed, to conduct inspections, investigations, tests, surveys and other studies (“Buyer Investigations”), including, but not
            limited to: (i) a general physical inspection; (ii) an inspection specifically for wood destroying pests and organisms. Any inspection for
            wood destroying pests and organisms shall be prepared by a registered Structural Pest Control company; shall cover the main building
            and attached structures; may cover detached structures; shall NOT include water tests of shower pans on upper level units unless the
            owners of property below the shower consent; shall NOT include roof coverings; and, if the Property is a unit in a condominium or other
            common interest subdivision, the inspection shall include only the separate interest and any exclusive-use areas being transferred, and
            shall NOT include common areas; and shall include a report (“Pest Control Report”) showing the findings of the company which shall be
            separated into sections for evident infestation or infections (Section 1) and for conditions likely to lead to infestation or infection (Section
            2); (iii) inspect for lead-based paint and other lead-based paint hazards; (iv) satisfy Buyer as to any matter specified in the attached
            Buyer's Inspection Advisory (C.A.R. Form BIA); (v) review the registered sex offender database; (vi) confirm the insurability of Buyer
            and the Property including the availability and cost of flood and fire insurance; and (vii) review and seek approval of leases that may
            need to be assumed by Buyer. Without Seller's prior written consent, Buyer shall neither make nor cause to be made: invasive or
            destructive Buyer Investigations, except for minimally invasive testing required to prepare a Pest Control Report; or inspections by any
            governmental building or zoning inspector or government employee, unless required by Law.
        B. Seller shall make the Property available for all Buyer Investigations. Buyer shall (i) as specified in paragraph 14B, complete
            Buyer Investigations and either remove the contingency or cancel this Agreement, and (ii) give Seller, at no cost, complete
            Copies of all such Investigation reports obtained by Buyer, which obligation shall survive the termination of this Agreement.
        C. Seller shall have water, gas, electricity and all operable pilot lights on for Buyer's Investigations and through the date possession
            is made available to Buyer.
        D. Buyer indemnity and seller protection for entry upon property: Buyer shall: (i) keep the Property free and clear of liens; (ii) repair
            all damage arising from Buyer Investigations; and (iii) indemnify and hold Seller harmless from all resulting liability, claims, demands,
            damages and costs. Buyer shall carry, or Buyer shall require anyone acting on Buyer's behalf to carry, policies of liability, workers'
            compensation and other applicable insurance, defending and protecting Seller from liability for any injuries to persons or property occurring
            during any Buyer Investigations or work done on the Property at Buyer's direction prior to Close Of Escrow. Seller is advised that certain
            protections may be afforded Seller by recording a “Notice of Non-Responsibility” (C.A.R. Form NNR) for Buyer Investigations and work
            done on the Property at Buyer's direction. Buyer's obligations under this paragraph shall survive the termination of this Agreement.
    13. TITLE AND VESTING:
        A. Within the time specified in paragraph 14, Buyer shall be provided a current preliminary title report (“Preliminary Report”). The Preliminary
            Report is only an offer by the title insurer to issue a policy of title insurance and may not contain every item affecting title. Buyer's review of
            the Preliminary Report and any other matters which may affect title are a contingency of this Agreement as specified in paragraph 14B. The
            company providing the Preliminary Report shall, prior to issuing a Preliminary Report, conduct a search of the General Index for all Sellers
            except banks or other institutional lenders selling properties they acquired through foreclosure (REOs), corporations, and government
            entities. Seller shall within 7 Days After Acceptance, give Escrow Holder a completed Statement of Information.
        B. Title is taken in its present condition subject to all encumbrances, easements, covenants, conditions, restrictions, rights and other
            matters, whether of record or not, as of the date of Acceptance except for: (i) monetary liens of record (which Seller is obligated to pay
            off) unless Buyer is assuming those obligations or taking the Property subject to those obligations; and (ii) those matters which Seller
            has agreed to remove in writing.
        C. Within the time specified in paragraph 14A, Seller has a duty to disclose to Buyer all matters known to Seller affecting title,
            whether of record or not.
        D. At Close Of Escrow, Buyer shall receive a grant deed conveying title (or, for stock cooperative or long-term lease, an assignment
            of stock certificate or of Seller's leasehold interest), including oil, mineral and water rights if currently owned by Seller. Title shall
            vest as designated in Buyer's supplemental escrow instructions. THE MANNER OF TAKING TITLE MAY HAVE SIGNIFICANT
            LEGAL AND TAX CONSEQUENCES. CONSULT AN APPROPRIATE PROFESSIONAL.


    Buyer's Initials   (         ) (              )                                                             Seller's Initials    (    ) (            )
    RPA-CA REVISED 12/15 (PAGE 5 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 5 OF 10)


                                                                          Exhibit 6
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               Case 6:17-bk-10928-WJ                       Doc 58            Filed 12/18/18 Entered 12/18/18 18:00:18 Desc
    Property Address: 1339 Alta Ave, Upland, CAMain Document
                                                91786-2812                             Page 79 of 97       Date: October 19, 2018
        E. Buyer shall receive a CLTA/ALTA “Homeowner's Policy of Title Insurance”, if applicable to the type of property and buyer. If not, Escrow Holder
            shall notify Buyer. A title company can provide information about the availability, coverage, and cost of other title policies and endorsements. If
            the Homeowner's Policy is not available, Buyer shall choose another policy, instruct Escrow Holder in writing and shall pay any increase in cost.
    14. TIME PERIODS; REMOVAL OF CONTINGENCIES; CANCELLATION RIGHTS: The following time periods may only be extended,
        altered, modified or changed by mutual written agreement. Any removal of contingencies or cancellation under this paragraph by
        either Buyer or Seller must be exercised in good faith and in writing (C.A.R. Form CR or CC).
        A. SELLER HAS: 7 (or               ) Days After Acceptance to Deliver to Buyer all Reports, disclosures and information for which Seller is
            responsible under paragraphs 5, 6, 7, 8B(5), 10A, B, C, and F, 11A and 13A. If, by the time specified, Seller has not Delivered any
            such item, Buyer after first Delivering to Seller a Notice to Seller to Perform (C.A.R. Form NSP) may cancel this Agreement.
        B. (1) BUYER HAS: 17 (or              ) Days After Acceptance, unless otherwise agreed in writing, to: (i) complete all Buyer Investigations;
                review all disclosures, reports, lease documents to be assumed by Buyer pursuant to paragraph 8B(5), and other applicable
                information, which Buyer receives from Seller; and approve all matters affecting the Property; and (ii) Deliver to Seller Signed Copies
                of Statutory and Lead Disclosures and other disclosures Delivered by Seller in accordance with paragraph 10A.
            (2) Within the time specified in paragraph 14B(1), Buyer may request that Seller make repairs or take any other action regarding the
                Property (C.A.R. Form RR). Seller has no obligation to agree to or respond to (C.A.R. Form RRRR) Buyer's requests.
            (3) By the end of the time specified in paragraph 14B(1) (or as otherwise specified in this Agreement), Buyer shall Deliver to Seller a
                removal of the applicable contingency or cancellation (C.A.R. Form CR or CC) of this Agreement. However, if any report, disclosure
                or information for which Seller is responsible is not Delivered within the time specified in paragraph 14A, then Buyer has 5 (or              )
                Days After Delivery of any such items, or the time specified in paragraph 14B(1), whichever is later, to Deliver to Seller a removal of
                the applicable contingency or cancellation of this Agreement.
            (4) Continuation of Contingency: Even after the end of the time specified in paragraph 14B(1) and before Seller cancels, if at all,
                pursuant to paragraph 14D, Buyer retains the right, in writing, to either (i) remove remaining contingencies, or (ii) cancel this Agreement
                based on a remaining contingency. Once Buyer's written removal of all contingencies is Delivered to Seller, Seller may not cancel this
                Agreement pursuant to paragraph 14D(1).
            (5) Access to Property: Buyer shall have access to the Property to conduct inspections and investigations for 17 (or                  ) Days After
                Acceptance, whether or not any part of the Buyer's Investigation Contingency has been waived or removed.
        C. X REMOVAL OF CONTINGENCIES WITH OFFER: Buyer removes the contingencies specified in the attached Contingency
            Removal form (C.A.R. Form CR). If Buyer removes any contingency without an adequate understanding of the Property's
            condition or Buyer's ability to purchase, Buyer is acting against the advice of Broker.
        D. SELLER RIGHT TO CANCEL:
            (1) Seller right to Cancel; Buyer Contingencies: If, by the time specified in this Agreement, Buyer does not Deliver to Seller a
                removal of the applicable contingency or cancellation of this Agreement, then Seller, after first Delivering to Buyer a Notice to Buyer to
                Perform (C.A.R. Form NBP), may cancel this Agreement. In such event, Seller shall authorize the return of Buyer's deposit, except for
                fees incurred by Buyer.
            (2) Seller right to Cancel; Buyer Contract Obligations: Seller, after first delivering to Buyer a NBP, may cancel this Agreement if, by
                the time specified in this Agreement, Buyer does not take the following action(s): (i) Deposit funds as required by paragraph 3A, or
                3B or if the funds deposited pursuant to paragraph 3A or 3B are not good when deposited; (ii) Deliver a notice of FHA or VA costs
                or terms as required by paragraph 3D(3) (C.A.R. Form FVA); (iii) Deliver a letter as required by paragraph 3J(1); (iv) Deliver
                verification, or a satisfactory verification if Seller reasonably disapproves of the verification already provided, as required by
                paragraph 3C or 3H; (v) In writing assume or accept leases or liens specified in 8B5; (vi) Return Statutory and Lead Disclosures as
                required by paragraph 10A(5); or (vii) Sign or initial a separate liquidated damages form for an increased deposit as required by
                paragraphs 3B and 21B; or (viii) Provide evidence of authority to sign in a representative capacity as specified in paragraph 19. In
                such event, Seller shall authorize the return of Buyer's deposit, except for fees incurred by Buyer.
        E. NOTICE TO BUYER OR SELLER TO PERFORM: The NBP or NSP shall: (i) be in writing; (ii) be signed by the applicable Buyer or
            Seller; and (iii) give the other Party at least 2 (or         ) Days After Delivery (or until the time specified in the applicable paragraph,
            whichever occurs last) to take the applicable action. A NBP or NSP may not be Delivered any earlier than 2 Days Prior to the expiration of
            the applicable time for the other Party to remove a contingency or cancel this Agreement or meet an obligation specified in paragraph 14.
        F. EFFECT OF BUYER'S REMOVAL OF CONTINGENCIES: If Buyer removes, in writing, any contingency or cancellation rights, unless
            otherwise specified in writing, Buyer shall conclusively be deemed to have: (i) completed all Buyer Investigations, and review of reports
            and other applicable information and disclosures pertaining to that contingency or cancellation right; (ii) elected to proceed with the
            transaction; and (iii) assumed all liability, responsibility and expense for Repairs or corrections pertaining to that contingency or
            cancellation right, or for the inability to obtain financing.
        G. CLOSE OF ESCROW: Before Buyer or Seller may cancel this Agreement for failure of the other Party to close escrow pursuant to this
            Agreement, Buyer or Seller must first Deliver to the other Party a demand to close escrow (C.A.R. Form DCE). The DCE shall: (i) be
            signed by the applicable Buyer or Seller; and (ii) give the other Party at least 3 (or          ) Days After Delivery to close escrow. A DCE
            may not be Delivered any earlier than 3 Days Prior to the scheduled close of escrow.
        H. EFFECT OF CANCELLATION ON DEPOSITS: If Buyer or Seller gives written notice of cancellation pursuant to rights duly exercised
            under the terms of this Agreement, the Parties agree to Sign mutual instructions to cancel the sale and escrow and release deposits, if
            any, to the party entitled to the funds, less fees and costs incurred by that party. Fees and costs may be payable to service providers
            and vendors for services and products provided during escrow. Except as specified below, release of funds will require mutual
            Signed release instructions from the Parties, judicial decision or arbitration award. If either Party fails to execute mutual
            instructions to cancel escrow, one Party may make a written demand to Escrow Holder for the deposit. (C.A.R. Form BDRD or SDRD).
            Escrow Holder, upon receipt, shall promptly deliver notice of the demand to the other Party. If, within 10 Days After Escrow Holder's
            notice, the other Party does not object to the demand, Escrow Holder shall disburse the deposit to the Party making the demand. If
            Escrow Holder complies with the preceding process, each Party shall be deemed to have released Escrow Holder from any and all
            claims or liability related to the disbursal of the deposit. Escrow Holder, at its discretion, may nonetheless require mutual cancellation
            instructions. A Party may be subject to a civil penalty of up to $1,000 for refusal to sign cancellation instructions if no good
            faith dispute exists as to who is entitled to the deposited funds (Civil Code §1057.3).
    Buyer's Initials   (         ) (              )                                                             Seller's Initials    (    ) (            )
    RPA-CA REVISED 12/15 (PAGE 6 OF 10)
                           CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 6 OF 10)

                                                                          Exhibit 6
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               Case 6:17-bk-10928-WJ                       Doc 58            Filed 12/18/18 Entered 12/18/18 18:00:18 Desc
    Property Address: 1339 Alta Ave, Upland, CAMain Document
                                                91786-2812                             Page 80 of 97       Date: October 19, 2018
    15. FINAL VERIFICATION OF CONDITION: Buyer shall have the right to make a final verification of the Property within 5 (or                       ) Days
        Prior to Close Of Escrow, NOT AS A CONTINGENCY OF THE SALE, but solely to confirm: (i) the Property is maintained pursuant to paragraph 11;
        (ii) Repairs have been completed as agreed; and (iii) Seller has complied with Seller's other obligations under this Agreement (C.A.R. Form VP).
    16. REPAIRS: Repairs shall be completed prior to final verification of condition unless otherwise agreed in writing. Repairs to be performed at
        Seller's expense may be performed by Seller or through others, provided that the work complies with applicable Law, including
        governmental permit, inspection and approval requirements. Repairs shall be performed in a good, skillful manner with materials of quality
        and appearance comparable to existing materials. It is understood that exact restoration of appearance or cosmetic items following all
        Repairs may not be possible. Seller shall: (i) obtain invoices and paid receipts for Repairs performed by others; (ii) prepare a written
        statement indicating the Repairs performed by Seller and the date of such Repairs; and (iii) provide Copies of invoices and paid receipts
        and statements to Buyer prior to final verification of condition.
    17. PRORATIONS OF PROPERTY TAXES AND OTHER ITEMS: Unless otherwise agreed in writing, the following items shall be PAID CURRENT
        and prorated between Buyer and Seller as of Close Of Escrow: real property taxes and assessments, interest, rents, HOA regular, special, and
        emergency dues and assessments imposed prior to Close Of Escrow, premiums on insurance assumed by Buyer, payments on bonds and
        assessments assumed by Buyer, and payments on Mello-Roos and other Special Assessment District bonds and assessments that are now a
        lien. The following items shall be assumed by Buyer WITHOUT CREDIT toward the purchase price: prorated payments on Mello-Roos and
        other Special Assessment District bonds and assessments and HOA special assessments that are now a lien but not yet due. Property will be
        reassessed upon change of ownership. Any supplemental tax bills shall be paid as follows: (i) for periods after Close Of Escrow, by Buyer; and
        (ii) for periods prior to Close Of Escrow, by Seller (see C.A.R. Form SPT or SBSA for further information). TAX BILLS ISSUED AFTER CLOSE
        OF ESCROW SHALL BE HANDLED DIRECTLY BETWEEN BUYER AND SELLER. Prorations shall be made based on a 30-day month.
    18. BROKERS:
        A. COMPENSATION: Seller or Buyer, or both, as applicable, agree to pay compensation to Broker as specified in a separate written
              agreement between Broker and that Seller or Buyer. Compensation is payable upon Close Of Escrow, or if escrow does not close, as
              otherwise specified in the agreement between Broker and that Seller or Buyer.
        B. SCOPE OF DUTY: Buyer and Seller acknowledge and agree that Broker: (i) Does not decide what price Buyer should pay or Seller
              should accept; (ii) Does not guarantee the condition of the Property; (iii) Does not guarantee the performance, adequacy or
              completeness of inspections, services, products or repairs provided or made by Seller or others; (iv) Does not have an obligation
              to conduct an inspection of common areas or areas off the site of the Property; (v) Shall not be responsible for identifying defects
              on the Property, in common areas, or offsite unless such defects are visually observable by an inspection of reasonably accessible
              areas of the Property or are known to Broker; (vi) Shall not be responsible for inspecting public records or permits concerning the
              title or use of Property; (vii) Shall not be responsible for identifying the location of boundary lines or other items affecting title; (viii)
              Shall not be responsible for verifying square footage, representations of others or information contained in Investigation reports,
              Multiple Listing Service, advertisements, flyers or other promotional material; (ix) Shall not be responsible for determining the fair
              market value of the Property or any personal property included in the sale; (x) Shall not be responsible for providing legal or tax
              advice regarding any aspect of a transaction entered into by Buyer or Seller; and (xi) Shall not be responsible for providing
              other advice or information that exceeds the knowledge, education and experience required to perform real estate licensed
              activity. Buyer and Seller agree to seek legal, tax, insurance, title and other desired assistance from appropriate professionals.
    19. REPRESENTATIVE CAPACITY: If one or more Parties is signing this Agreement in a representative capacity and not for him/herself
        as an individual then that Party shall so indicate in paragraph 31 or 32 and attach a Representative Capacity Signature Disclosure
        (C.A.R. Form RCSD). Wherever the signature or initials of the representative identified in the RCSD appear on this Agreement
        or any related documents, it shall be deemed to be in a representative capacity for the entity described and not in an individual
        capacity, unless otherwise indicated. The Party acting in a representative capacity (i) represents that the entity for which that party is acting
        already exists and (ii) shall Deliver to the other Party and Escrow Holder, within 3 Days After Acceptance, evidence of authority to act in
        that capacity (such as but not limited to: applicable portion of the trust or Certification Of Trust (Probate Code §18100.5), letters
        testamentary, court order, power of attorney, corporate resolution, or formation documents of the business entity).
    20. JOINT ESCROW INSTRUCTIONS TO ESCROW HOLDER:
        A. The following paragraphs, or applicable portions thereof, of this Agreement constitute the joint escrow instructions
              of Buyer and Seller to Escrow Holder, which Escrow Holder is to use along with any related counter offers and addenda,
              and any additional mutual instructions to close the escrow: paragraphs 1, 3, 4B, 5A, 6, 7, 10C, 13, 14G, 17, 18A, 19, 20, 26,
              29, 30, 31, 32 and paragraph D of the section titled Real Estate Brokers on page 10. If a Copy of the separate compensation
              agreement(s) provided for in paragraph 18A, or paragraph D of the section titled Real Estate Brokers on page 10 is deposited
              with Escrow Holder by Broker, Escrow Holder shall accept such agreement(s) and pay out from Buyer's or Seller's funds, or
              both, as applicable, the Broker's compensation provided for in such agreement(s). The terms and conditions of this Agreement
              not set forth in the specified paragraphs are additional matters for the information of Escrow Holder, but about which Escrow
              Holder need not be concerned. Buyer and Seller will receive Escrow Holder's general provisions, if any, directly from Escrow
              Holder and will execute such provisions within the time specified in paragraph 7C(1)(c). To the extent the general provisions are
              inconsistent or conflict with this Agreement, the general provisions will control as to the duties and obligations of Escrow Holder
              only. Buyer and Seller will execute additional instructions, documents and forms provided by Escrow Holder that are reasonably
              necessary to close the escrow and, as directed by Escrow Holder, within 3 (or               ) Days, shall pay to Escrow Holder or HOA or
              HOA management company or others any fee required by paragraphs 7, 10 or elsewhere in this Agreement.
        B. A Copy of this Agreement including any counter offer(s) and addenda shall be delivered to Escrow Holder within 3 Days After
              Acceptance (or                                                                               ). Buyer and Seller authorize Escrow
              Holder to accept and rely on Copies and Signatures as defined in this Agreement as originals, to open escrow and for other
              purposes of escrow. The validity of this Agreement as between Buyer and Seller is not affected by whether or when Escrow
              Holder Signs this Agreement. Escrow Holder shall provide Seller's Statement of Information to Title company when received
              from Seller. If Seller delivers an affidavit to Escrow Holder to satisfy Seller's FIRPTA obligation under paragraph 10C, Escrow
              Holder shall deliver to Buyer a Qualified Substitute statement that complies with federal Law.



    Buyer's Initials   (        ) (               )                                                             Seller's Initials    (    ) (            )
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                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 7 OF 10)

                                                                          Exhibit 6
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               Case 6:17-bk-10928-WJ                    Doc 58            Filed 12/18/18 Entered 12/18/18 18:00:18 Desc
    Property Address: 1339 Alta Ave, Upland, CAMain Document
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        C. Brokers are a party to the escrow for the sole purpose of compensation pursuant to paragraph 18A and paragraph D of the
           section titled Real Estate Brokers on page 10. Buyer and Seller irrevocably assign to Brokers compensation specified in
           paragraph 18A, and irrevocably instruct Escrow Holder to disburse those funds to Brokers at Close Of Escrow or pursuant to any
           other mutually executed cancellation agreement. Compensation instructions can be amended or revoked only with the written
           consent of Brokers. Buyer and Seller shall release and hold harmless Escrow Holder from any liability resulting from Escrow
           Holder's payment to Broker(s) of compensation pursuant to this Agreement.
        D. Upon receipt, Escrow Holder shall provide Seller and Seller's Broker verification of Buyer's deposit of funds pursuant to
           paragraph 3A and 3B. Once Escrow Holder becomes aware of any of the following, Escrow Holder shall immediately notify all
           Brokers: (i) if Buyer's initial or any additional deposit or down payment is not made pursuant to this Agreement, or is not good at
           time of deposit with Escrow Holder; or (ii) if Buyer and Seller instruct Escrow Holder to cancel escrow.
        E. A Copy of any amendment that affects any paragraph of this Agreement for which Escrow Holder is responsible shall be
           delivered to Escrow Holder within 3 Days after mutual execution of the amendment.
    21. REMEDIES FOR BUYER'S BREACH OF CONTRACT:
        A. Any clause added by the Parties specifying a remedy (such as release or forfeiture of deposit or making a deposit
           non-refundable) for failure of Buyer to complete the purchase in violation of this Agreement shall be deemed invalid
           unless the clause independently satisfies the statutory liquidated damages requirements set forth in the Civil Code.
        B. LIQUIDATED DAMAGES: If Buyer fails to complete this purchase because of Buyer's default, Seller shall retain,
           as liquidated damages, the deposit actually paid. If the Property is a dwelling with no more than four units, one
           of which Buyer intends to occupy, then the amount retained shall be no more than 3% of the purchase price. Any
           excess shall be returned to Buyer. Except as provided in paragraph 14H, release of funds will require mutual,
           Signed release instructions from both Buyer and Seller, judicial decision or arbitration award. AT THE TIME OF
           ANY INCREASED DEPOSIT BUYER AND SELLER SHALL SIGN A SEPARATE LIQUIDATED DAMAGES PROVISION
           INCORPORATING THE INCREASED DEPOSIT AS LIQUIDATED DAMAGES (C.A.R. FORM RID).
                              Buyer's Initials                 /                                                        Seller's Initials         /
    22. DISPUTE RESOLUTION:
        A. MEDIATION: The Parties agree to mediate any dispute or claim arising between them out of this Agreement, or any resulting
           transaction, before resorting to arbitration or court action through the C.A.R. Real Estate Mediation Center for Consumers
           (www.consumermediation.org) or through any other mediation provider or service mutually agreed to by the Parties. The
           Parties also agree to mediate any disputes or claims with Broker(s), who, in writing, agree to such mediation prior
           to, or within a reasonable time after, the dispute or claim is presented to the Broker. Mediation fees, if any, shall be
           divided equally among the Parties involved. If, for any dispute or claim to which this paragraph applies, any Party (i) commences
           an action without first attempting to resolve the matter through mediation, or (ii) before commencement of an action, refuses to
           mediate after a request has been made, then that Party shall not be entitled to recover attorney fees, even if they would otherwise
           be available to that Party in any such action. THIS MEDIATION PROVISION APPLIES WHETHER OR NOT THE ARBITRATION
           PROVISION IS INITIALED. Exclusions from this mediation agreement are specified in paragraph 22C.
        B. ARBITRATION OF DISPUTES:
           The Parties agree that any dispute or claim in Law or equity arising between them out of this Agreement or any
           resulting transaction, which is not settled through mediation, shall be decided by neutral, binding arbitration. The
           Parties also agree to arbitrate any disputes or claims with Broker(s), who, in writing, agree to such arbitration
           prior to, or within a reasonable time after, the dispute or claim is presented to the Broker. The arbitrator shall be
           a retired judge or justice, or an attorney with at least 5 years of residential real estate Law experience, unless the
           parties mutually agree to a different arbitrator. The Parties shall have the right to discovery in accordance with
           Code of Civil Procedure §1283.05. In all other respects, the arbitration shall be conducted in accordance with
           Title 9 of Part 3 of the Code of Civil Procedure. Judgment upon the award of the arbitrator(s) may be entered into
           any court having jurisdiction. Enforcement of this agreement to arbitrate shall be governed by the Federal
           Arbitration Act. Exclusions from this arbitration agreement are specified in paragraph 22C.
               “NOTICE: BY INITIALING IN THE SPACE BELOW YOU ARE AGREEING TO HAVE ANY DISPUTE
           ARISING OUT OF THE MATTERS INCLUDED IN THE 'ARBITRATION OF DISPUTES' PROVISION DECIDED
           BY NEUTRAL ARBITRATION AS PROVIDED BY CALIFORNIA LAW AND YOU ARE GIVING UP ANY
           RIGHTS YOU MIGHT POSSESS TO HAVE THE DISPUTE LITIGATED IN A COURT OR JURY TRIAL. BY
           INITIALING IN THE SPACE BELOW YOU ARE GIVING UP YOUR JUDICIAL RIGHTS TO DISCOVERY AND
           APPEAL, UNLESS THOSE RIGHTS ARE SPECIFICALLY INCLUDED IN THE 'ARBITRATION OF DISPUTES'
           PROVISION. IF YOU REFUSE TO SUBMIT TO ARBITRATION AFTER AGREEING TO THIS PROVISION, YOU
           MAY BE COMPELLED TO ARBITRATE UNDER THE AUTHORITY OF THE CALIFORNIA CODE OF CIVIL
           PROCEDURE. YOUR AGREEMENT TO THIS ARBITRATION PROVISION IS VOLUNTARY.”
               “WE HAVE READ AND UNDERSTAND THE FOREGOING AND AGREE TO SUBMIT DISPUTES ARISING OUT OF
           THE MATTERS INCLUDED IN THE 'ARBITRATION OF DISPUTES' PROVISION TO NEUTRAL ARBITRATION.”
                              Buyer's Initials                 /                                                        Seller's Initials         /
        C. ADDITIONAL MEDIATION AND ARBITRATION TERMS:
           (1) EXCLUSIONS: The following matters are excluded from mediation and arbitration: (i) a judicial or non-judicial foreclosure
               or other action or proceeding to enforce a deed of trust, mortgage or installment land sale contract as defined in Civil
               Code §2985; (ii) an unlawful detainer action; and (iii) any matter that is within the jurisdiction of a probate, small claims or
               bankruptcy court.
    Buyer's Initials   (      ) (              )                                                             Seller's Initials    (         ) (            )
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                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 8 OF 10)


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                Case 6:17-bk-10928-WJ                         Doc 58            Filed 12/18/18 Entered 12/18/18 18:00:18 Desc
    Property Address: 1339 Alta Ave, Upland, CAMain Document
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               (2) PRESERVATION OF ACTIONS: The following shall not constitute a waiver nor violation of the mediation and arbitration
                   provisions: (i) the filing of a court action to preserve a statute of limitations; (ii) the filing of a court action to enable the
                   recording of a notice of pending action, for order of attachment, receivership, injunction, or other provisional remedies; or
                   (iii) the filing of a mechanic's lien.
               (3) BROKERS: Brokers shall not be obligated nor compelled to mediate or arbitrate unless they agree to do so in writing. Any
                   Broker(s) participating in mediation or arbitration shall not be deemed a party to this Agreement.
    23.   SELECTION OF SERVICE PROVIDERS: Brokers do not guarantee the performance of any vendors, service or product providers (“Providers”),
          whether referred by Broker or selected by Buyer, Seller or other person. Buyer and Seller may select ANY Providers of their own choosing.
    24.   MULTIPLE LISTING SERVICE (“MLS”): Brokers are authorized to report to the MLS a pending sale and, upon Close Of Escrow, the sales
          price and other terms of this transaction shall be provided to the MLS to be published and disseminated to persons and entities authorized
          to use the information on terms approved by the MLS.
    25.   ATTORNEY FEES: In any action, proceeding, or arbitration between Buyer and Seller arising out of this Agreement, the prevailing Buyer or
          Seller shall be entitled to reasonable attorney fees and costs from the non-prevailing Buyer or Seller, except as provided in paragraph 22A.
    26.   ASSIGNMENT: Buyer shall not assign all or any part of Buyer's interest in this Agreement without first having obtained the separate written
          consent of Seller to a specified assignee. Such consent shall not be unreasonably withheld. Any total or partial assignment shall not
          relieve Buyer of Buyer's obligations pursuant to this Agreement unless otherwise agreed in writing by Seller. (C.A.R. Form AOAA).
    27.   EQUAL HOUSING OPPORTUNITY: The Property is sold in compliance with federal, state and local anti-discrimination Laws.
    28.   TERMS AND CONDITIONS OF OFFER:
          This is an offer to purchase the Property on the above terms and conditions. The liquidated damages paragraph or the arbitration of
          disputes paragraph is incorporated in this Agreement if initialed by all Parties or if incorporated by mutual agreement in a counter offer or
          addendum. If at least one but not all Parties initial, a counter offer is required until agreement is reached. Seller has the right to continue to
          offer the Property for sale and to accept any other offer at any time prior to notification of Acceptance. The Parties have read and
          acknowledge receipt of a Copy of the offer and agree to the confirmation of agency relationships. If this offer is accepted and Buyer
          subsequently defaults, Buyer may be responsible for payment of Brokers' compensation. This Agreement and any supplement, addendum
          or modification, including any Copy, may be Signed in two or more counterparts, all of which shall constitute one and the same writing.
    29.   TIME OF ESSENCE; ENTIRE CONTRACT; CHANGES:                       Time is of the essence. All understandings between the Parties are incorporated in this
          Agreement. Its terms are intended by the Parties as a final, complete and exclusive expression of their Agreement with respect to its subject matter,
          and may not be contradicted by evidence of any prior agreement or contemporaneous oral agreement. If any provision of this Agreement is held to
          be ineffective or invalid, the remaining provisions will nevertheless be given full force and effect. Except as otherwise specified, this Agreement shall
          be interpreted and disputes shall be resolved in accordance with the Laws of the State of California. Neither this Agreement nor any provision in
          it may be extended, amended, modified, altered or changed, except in writing Signed by Buyer and Seller.
    30.   DEFINITIONS: As used in this Agreement:
          A. “Acceptance” means the time the offer or final counter offer is accepted in writing by a Party and is delivered to and personally
               received by the other Party or that Party's authorized agent in accordance with the terms of this offer or a final counter offer.
          B. “Agreement” means this document and any counter offers and any incorporated addenda, collectively forming the binding agreement
               between the Parties. Addenda are incorporated only when Signed by all Parties.
          C. “C.A.R. Form” means the most current version of the specific form referenced or another comparable form agreed to by the parties.
          D. “Close Of Escrow”, including “COE”, means the date the grant deed, or other evidence of transfer of title, is recorded.
          E. “Copy” means copy by any means including photocopy, NCR, facsimile and electronic.
          F. “Days” means calendar days. However, after Acceptance, the last Day for performance of any act required by this Agreement
               (including Close Of Escrow) shall not include any Saturday, Sunday, or legal holiday and shall instead be the next Day.
          G. “Days After” means the specified number of calendar days after the occurrence of the event specified, not counting the calendar date
               on which the specified event occurs, and ending at 11:59 PM on the final day.
          H. “Days Prior” means the specified number of calendar days before the occurrence of the event specified, not counting the calendar
               date on which the specified event is scheduled to occur.
          I. “Deliver”, “Delivered” or “Delivery”, unless otherwise specified in writing, means and shall be effective upon: personal receipt by
               Buyer or Seller or the individual Real Estate Licensee for that principal as specified in the section titled Real Estate Brokers on page 10,
               regardless of the method used (i.e., messenger, mail, email, fax, other).
          J. “Electronic Copy” or “Electronic Signature” means, as applicable, an electronic copy or signature complying with California Law.
               Buyer and Seller agree that electronic means will not be used by either Party to modify or alter the content or integrity of this Agreement
               without the knowledge and consent of the other Party.
          K. “Law” means any law, code, statute, ordinance, regulation, rule or order, which is adopted by a controlling city, county, state or federal
               legislative, judicial or executive body or agency.
          L. “Repairs” means any repairs (including pest control), alterations, replacements, modifications or retrofitting of the Property provided for
               under this Agreement.
          M. “Signed” means either a handwritten or electronic signature on an original document, Copy or any counterpart.
    31.   EXPIRATION OF OFFER: This offer shall be deemed revoked and the deposit, if any, shall be returned to Buyer unless the offer is Signed
          by Seller and a Copy of the Signed offer is personally received by Buyer, or by                                     Greg Shipp                         ,
          who is authorized to receive it, by 5:00 PM on the third Day after this offer is signed by Buyer (or by                                       AM/ PM,
          on                                       (date)).
      One or more Buyers is signing this Agreement in a representative capacity and not for him/herself as an individual. See attached
    Representative Capacity Signature Disclosure (C.A.R. Form RCSD-B) for additional terms.
    Date 10/22/2018 | 13:38:14
                            BUYER PDT
    (Print name) Yao Juan Xu
    Date                          BUYER
    (Print name)
      Additional Signature Addendum attached (C.A.R. Form ASA).
                                                                                                              Seller's Initials    (         ) (       )
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                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 9 OF 10)

                                                                             Exhibit 6
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    Property Address: 1339 Alta Ave, Upland, CAMain Document
                                                91786-2812                                 Page 83 of 97       Date: October 19, 2018
    32. ACCEPTANCE OF OFFER: Seller warrants that Seller is the owner of the Property, or has the authority to execute this Agreement.
        Seller accepts the above offer, and agrees to sell the Property on the above terms and conditions. Seller has read and
        acknowledges receipt of a Copy of this Agreement, and authorizes Broker to Deliver a Signed Copy to Buyer.
        (If checked) SELLER'S ACCEPTANCE IS SUBJECT TO ATTACHED COUNTER OFFER (C.A.R. Form SCO or SMCO) DATED:
                                      .
        One or more Sellers is signing this Agreement in a representative capacity and not for him/herself as an individual. See attached
        Representative Capacity Signature Disclosure (C.A.R. Form RCSD-S) for additional terms.
    Date                    SELLER
    (Print name) Lynda Bui, BK Trustee for the Estate of Joel & Peggy Clelland
    Date                    SELLER
    (Print name)
       Additional Signature Addendum attached (C.A.R. Form ASA).
    ( _____ / _____ ) (Do not initial if making a counter offer.) CONFIRMATION OF ACCEPTANCE: A Copy of Signed Acceptance was
        (Initials)    personally received by Buyer or Buyer's authorized agent on (date)                           at
                         AM/     PM. A binding Agreement is created when a Copy of Signed Acceptance is personally received by
                      Buyer or Buyer's authorized agent whether or not confirmed in this document. Completion of this confirmation
                      is not legally required in order to create a binding Agreement; it is solely intended to evidence the date that
                      Confirmation of Acceptance has occurred.
    REAL ESTATE BROKERS:
    A. Real Estate Brokers are not parties to the Agreement between Buyer and Seller.
    B. Agency relationships are confirmed as stated in paragraph 2.
    C. If specified in paragraph 3A(2), Agent who submitted the offer for Buyer acknowledges receipt of deposit.
    D. COOPERATING BROKER COMPENSATION: Listing Broker agrees to pay Cooperating Broker (Selling Firm) and Cooperating
       Broker agrees to accept, out of Listing Broker's proceeds in escrow, the amount specified in the MLS, provided Cooperating Broker
       is a Participant of the MLS in which the Property is offered for sale or a reciprocal MLS. If Listing Broker and Cooperating Broker
       are not both Participants of the MLS, or a reciprocal MLS, in which the Property is offered for sale, then compensation must be
       specified in a separate written agreement (C.A.R. Form CBC). Declaration of License and Tax (C.A.R. Form DLT) may be used to
       document that tax reporting will be required or that an exemption exists.

    Real Estate Broker (Selling Firm) Sentinel Real Estate & Investments                                DRE Lic. # 01835117
    By                                                      Jameson Shipp DRE Lic. # 02011647                Date 10/22/2018 | 13:13:27 PDT
    By                                                                     DRE Lic. #                        Date
    Address 8780 19th Street #350                                    City Alta Loma                    State CA     Zip 91701
    Telephone (909)944-6900                   Fax (909)912-8350                E-mail jamesonshipp715@gmail.com
    Real Estate Broker (Listing Firm) SENTINEL REAL ESTATE & INVEST.                                    DRE Lic. # 01835117
    By                                                    GREGORY SHIPP DRE Lic. # 01006314                  Date 10/22/2018 | 13:59:59 PDT
    By                                                                     DRE Lic. #                        Date
    Address 8795 ORANGE STREET                                       City ALTA LOMA                    State CA     Zip 91701
    Telephone (909)944-6900                   Fax (909)912-8350                E-mail gregoryshipp@hotmail.com

    ESCROW HOLDER ACKNOWLEDGMENT:
    Escrow Holder acknowledges receipt of a Copy of this Agreement, (if checked,     a deposit in the amount of $                                  ),
    counter offer numbers                                        Seller's Statement of Information and
                                                                 , and agrees to act as Escrow Holder subject to paragraph 20 of this Agreement, any
    supplemental escrow instructions and the terms of Escrow Holder's general provisions.
    Escrow Holder is advised that the date of Confirmation of Acceptance of the Agreement as between Buyer and Seller is
    Escrow Holder                                                                                                          Escrow #
    By                                                                                                                                                Date
    Address
    Phone/Fax/E-mail
    Escrow Holder has the following license number #
       Department of Business Oversight, Department of Insurance,                      Department of Real Estate.

    PRESENTATION OF OFFER: (                                           ) Listing Broker presented this offer to Seller on                                                            (date).
                                         Broker or Designee Initials

    REJECTION OF OFFER: (                      )(            ) No counter offer is being made. This offer was rejected by Seller on                                                 (date).
                                         Seller's Initials
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    TRANSACTIONS. IF YOU DESIRE LEGAL OR TAX ADVICE, CONSULT AN APPROPRIATE PROFESSIONAL.
              Published and Distributed by:                        Buyer Acknowledges that page 10 is part of this Agreement               (          ) (               )
              REAL ESTATE BUSINESS SERVICES, INC.                                                                                              Buyer's Initials
              a subsidiary of the CALIFORNIA ASSOCIATION OF REALTORS®
              525 South Virgil Avenue, Los Angeles, California 90020
    RPA-CA REVISED 12/15 (PAGE 10 of 10)
                       CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 10 OF 10)

                                                                              Exhibit 6
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DocuSign Envelope ID: C4607E9B-4C9E-4F36-BEC9-6E09324E6DF3
                 Case 6:17-bk-10928-WJ                            Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                                                             Desc
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                                                                 BUYER'S INSPECTIONPage 84 of 97
                                                                                       ADVISORY
                                                                              (C.A.R. Form BIA, Revised 11/14)

    Property Address 1339 Alta Ave, Upland, CA 91786-2812
    1. IMPORTANCE OF PROPERTY INVESTIGATION: The physical condition of the land and improvements being purchased is not
    guaranteed by either Seller or Brokers. You have an affirmative duty to exercise reasonable care to protect yourself, including discovery
    of the legal, practical and technical implications of disclosed facts, and the investigation and verification of information and facts that you
    know or that are within your diligent attention and observation. A general physical inspection typically does not cover all aspects of the
    Property nor items affecting the Property that are not physically located on the Property. If the professionals recommend further
    investigations, including a recommendation by a pest control operator to inspect inaccessible areas of the Property, you should contact
    qualified experts to conduct such additional investigations.
    2. BROKER OBLIGATIONS: Brokers do not have expertise in all areas and therefore cannot advise you on many items, such as
    those listed below. If Broker gives you referrals to professionals, Broker does not guarantee their performance.
    3. YOU ARE STRONGLY ADVISED TO INVESTIGATE THE CONDITION AND SUITABILITY OF ALL ASPECTS OF THE PROPERTY,
    INCLUDING BUT NOT LIMITED TO THE FOLLOWING. IF YOU DO NOT DO SO, YOU ARE ACTING AGAINST THE ADVICE OF BROKERS.
        A. GENERAL CONDITION OF THE PROPERTY, ITS SYSTEMS AND COMPONENTS: Foundation, roof (condition, age, leaks,
            useful life), plumbing, heating, air conditioning, electrical, mechanical, security, pool/spa (cracks, leaks, operation), other
            structural and nonstructural systems and components, fixtures, built-in appliances, any personal property included in the sale,
            and energy efficiency of the Property.
        B. SQUARE FOOTAGE, AGE, BOUNDARIES: Square footage, room dimensions, lot size, age of improvements and boundaries.
            Any numerical statements regarding these items are APPROXIMATIONS ONLY and have not been verified by Seller and
            cannot be verified by Brokers. Fences, hedges, walls, retaining walls and other barriers or markers do not necessarily identify
            true Property boundaries.
        C. WOOD DESTROYING PESTS: Presence of, or conditions likely to lead to the presence of wood destroying pests and organisms.
        D. SOIL STABILITY: Existence of fill or compacted soil, expansive or contracting soil, susceptibility to slippage, settling or
            movement, and the adequacy of drainage.
        E. WATER AND UTILITIES; WELL SYSTEMS AND COMPONENTS; WASTE DISPOSAL: Water and utility availability, use
            restrictions and costs. Water quality, adequacy, condition, and performance of well systems and components. The type, size,
            adequacy, capacity and condition of sewer and septic systems and components, connection to sewer, and applicable fees.
        F. ENVIRONMENTAL HAZARDS: Potential environmental hazards, including, but not limited to, asbestos, lead-based paint and
            other lead contamination, radon, methane, other gases, fuel oil or chemical storage tanks, contaminated soil or water,
            hazardous waste, waste disposal sites, electromagnetic fields, nuclear sources, and other substances, materials, products, or
            conditions (including mold (airborne, toxic or otherwise), fungus or similar contaminants).
        G. EARTHQUAKES AND FLOODING: Susceptibility of the Property to earthquake/seismic hazards and propensity of the Property to flood.
        H. FIRE, HAZARD AND OTHER INSURANCE: The availability and cost of necessary or desired insurance may vary. The location of
            the Property in a seismic, flood or fire hazard zone, and other conditions, such as the age of the Property and the claims history of
            the Property and Buyer, may affect the availability and need for certain types of insurance. Buyer should explore insurance options
            early as this information may affect other decisions, including the removal of loan and inspection contingencies.
        I. BUILDING PERMITS, ZONING AND GOVERNMENTAL REQUIREMENTS: Permits, inspections, certificates, zoning, other
            governmental limitations, restrictions, and requirements affecting the current or future use of the Property, its development or size.
        J. RENTAL PROPERTY RESTRICTIONS: Some cities and counties impose restrictions that limit the amount of rent that can be charged,
            the maximum number of occupants, and the right of a landlord to terminate a tenancy. Deadbolt or other locks and security systems for
            doors and windows, including window bars, should be examined to determine whether they satisfy legal requirements.
        K. SECURITY AND SAFETY: State and local Law may require the installation of barriers, access alarms, self-latching mechanisms
            and/or other measures to decrease the risk to children and other persons of existing swimming pools and hot tubs, as well as
            various fire safety and other measures concerning other features of the Property.
        L. NEIGHBORHOOD, AREA, SUBDIVISION CONDITIONS; PERSONAL FACTORS: Neighborhood or area conditions, including
            schools, law enforcement, crime statistics, registered felons or offenders, fire protection, other government services, availability,
            adequacy and cost of internet connections or other technology services and installations, commercial, industrial or agricultural
            activities, existing and proposed transportation, construction and development that may affect noise, view, or traffic, airport
            noise, noise or odor from any source, wild and domestic animals, other nuisances, hazards, or circumstances, protected
            species, wetland properties, botanical diseases, historic or other governmentally protected sites or improvements, cemeteries,
            facilities and condition of common areas of common interest subdivisions, and possible lack of compliance with any governing
            documents or Homeowners' Association requirements, conditions and influences of significance to certain cultures and/or
            religions, and personal needs, requirements and preferences of Buyer.
    By signing below, Buyers acknowledge that they have read, understand, accept and have received a Copy of this Advisory.
    Buyers are encouraged to read it carefully.
    Buyer                                            10/22/2018 | 13:38:14Buyer    PDT
              Yao Juan Xu
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    BIA REVISED 11/14 (PAGE 1 OF 1)
                                                           BUYER'S INSPECTION ADVISORY (BIA PAGE 1 OF 1)
    Sentinel Real Estate, 8780 19th Street #350 Alta Loma CA 91701                                                             Phone: 909-944-6900        Fax: 909-912-8350      1339 Alta Ave -
    Gregory Shipp                                   Produced with zipForm® by zipLogix 18070 Fifteen Mile Road, Fraser, Michigan 48026 www.zipLogix.com



                                                                                   Exhibit 6
          Case 6:17-bk-10928-WJ               Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18
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                                                                          ®
                                                  �KGlobal
                      Purchase & Sale of Real Property Contract Addendum


                                     1339 Alta Avenue Upland, CA 91786
                                                     Property Address
   1      Buyer acknowledges that this property is subject to Short Sale Lender Approval & Bankruptcy Court
          Approval.

   2     The Bankruptcy Estate Fee is to be paid by the Sellers proceeds or through a buyer's premium and
         made payable to the Bankruptcy Estate.

   3      Buyer acknowledges that the property is sold "AS IS". Absolutely no repairs will be authorized. The
          Seller is unable to remove any debris or personal property left on the Property and does not
          warrant that there will be any appliances or other personal property left on the Property.

   4      Seller shall make no concessions and can pay no closing costs for the buyer.

    5     Escrow will be opened with:


                COMPANY NAME:               Brightline Title
                        ADDRESS:            5404 Cypress Center Dr. Suite 300

                  CITY, STAT, ZIP:          Tampa, FL 33609

                          PHONE:            813-454-0300

                          EMAIL:            customersupport@alaw.net


    6     Earnest money deposit will be no less than 1 % of the purchase price. Upon acceptance, earnest money
          will be deposited with the Escrow/Title Company in the form of a cashier's check or bank wire within 48
          hours of acceptance.

    7     The Seller in this transaction is exempt from providing the Home Owner's Association documents, as this
          is a court-ordered sale. Buyer will be solely responsible for any application, transfer, capital contributions
          and initial membership fees charged by the Association. Buyer is aware it may take up to 10 days to
          receive a response from the Federal Bankruptcy Trustee (Seller).

    8     Buyer may cancel the Residential Purchase Agreement for any reason without penalty any time after
          120 days from Seller's acceptance date, if Short Sale Investor Approval has not been received.

    9     Upon Investor approval of sale, buyer shall be prepared to close escrow within 45 days. Upon
          Bankruptcy Court Approval of sale, buyer agrees to close escrow per Federal Bankruptcy Trustee
          instructions.

    10    Any issues regarding permitting will be the responsibility of the buyer and will not be part of the contract
          and not a requirement of closing.

    11     Buyer shall be responsible for connecting utilities to perform inspections requested as part of the due
           diligence period. Buyer shall use this period to satisfy themselves of all mechanical, structural, functional
           related concerns regarding the property. Buyer shall have the same amount ohime to obtain, review, &
           satisfy themselves of any association rules, regulations & fees, if applicable. Buyer shall release
           inspection contingency within 5 days of Short Sale Lender Approval, if applicable. Seller will not pay any
           upfront expenses related to plowing the road for access to the property. Should the Buyer require the
           septic system be pumped and inspected this will be done at the buyer's expense.




                                                         Exhibit 6
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                               Exhibit 6
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                 Case 6:17-bk-10928-WJ                              Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                                                            Desc
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                                                                      SHORT SALE ADDENDUM
                                                                           (C.A.R. Form SSA, Revised 4/12)


    This is an addendum to the X California Residential Purchase Agreement,    Counter Offer,   Other
                                                                           (“Agreement”), dated October 19, 2018                                                                                  ,
    on property known as                               1339 Alta Ave, Upland, CA 91786-2812
    (“Property”), between                                          Yao Juan Xu
    (“Buyer”) and                     Lynda Bui, BK Trustee for the Estate of Joel & Peggy Clelland
    (“Seller”).
    1. SHORT SALE APPROVAL:
       A. This Agreement is contingent upon Seller's receipt of and delivery to Buyer of written consent (“Short Sale
          Lenders' Consent”) to the Agreement from all existing secured lenders and lienholders (“Short Sale
          Lenders”), by 5:00 P.M. no later than 45 (or X             90    ) Days After Acceptance (or      on
          (date) (“Short Sale Contingency Date”). If Buyer or Seller cancels this Agreement prior to the Short Sale
          Contingency Date, that party may be in breach of the Agreement unless the cancellation is made pursuant
          to some other paragraph in this addendum or in the Agreement, whether or not time periods in the
          Agreement have commenced.
       B. Short Sale Lenders' Consent means that all Short Sale Lenders shall collectively agree to reduce their
          respective loan balances by an amount sufficient to permit the proceeds from the sale of the Property to
          pay the existing balances on loans secured by the Property, real property taxes, brokerage commissions,
          closing costs, and other monetary obligations the Agreement requires Seller to pay at Close Of Escrow
          (including, but not limited to, escrow charges, title charges, documentary transfer taxes, prorations, retrofit
          costs, Homeowners Association Fees and Repairs) without requiring Seller to place any funds into escrow
          or have any continuing obligation to Short Sale Lenders.
       C. (i) Seller shall Deliver to Buyer a copy of Short Sale Lenders' Consent or term sheet(s) within 3 (or
                         ) Days After receipt by Seller. (ii) Seller's presentation to Buyer of Short Sale Lender's Consent
          satisfying 1B removes the contingency in 1A.
       D. If by the Short Sale Contingency Date, (i) Seller has not received Short Sale Lenders' Consent satisfying
          1B, Seller may in writing cancel this Agreement, or (ii) Buyer has not received a copy of Short Sale
          Lenders' Consent satisfying 1B, Buyer may cancel this Agreement in writing. In either case, Buyer shall
          be entitled to return of any remaining deposit delivered to escrow.
       E. Seller shall reasonably cooperate with existing Short Sale Lenders in the short sale process, but neither
          Seller nor Buyer is obligated to change the terms of their Agreement to satisfy Short Sale Lenders'
          consent or term sheet(s).
       F. If Short Sale Lenders' written consent or term sheet(s) provided to Seller require changes to the
          Agreement in order to satisfy the terms of 1B, (i) neither Buyer nor Seller shall be obligated to continue
          negotiations to satisfy any of the requirements of the term sheet(s) (ii) either party may in writing cancel
          this Agreement and (iii) Seller is advised to seek legal, accounting and tax advice before agreeing to any
          such changes. If the Agreement is cancelled pursuant to this paragraph, Buyer shall be entitled to return
          of any remaining deposit delivered to escrow.
    2. TIME PERIODS. Time periods in the Agreement for inspections, contingencies, covenants, and other obligations:
          (i) shall begin the Day After Seller delivers to Buyer Short Sale Lenders' Consent satisfying 1B. However,
          time periods for providing pre-approval/pre-qualification letters and verification of down payment and
          closing costs shall nonetheless begin as otherwise specified in the Agreement;
          or (ii) (if checked) X shall begin as specified in the Agreement.

    Buyer's Initials     (           ) (             )                                                                                    Seller's Initials      (            ) (         )




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    SSA 4/12 (PAGE 1 OF 2)
                                                             SHORT SALE ADDENDUM (SSA PAGE 1 OF 2)
    Sentinel Real Estate, 8780 19th Street #350 Alta Loma CA 91701                                                             Phone: 909-944-6900        Fax: 909-912-8350         1339 Alta Ave -
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               Case 6:17-bk-10928-WJ                           Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                                                  Desc
                                                               Main Document    Page 88 of 97
    Property Address: 1339 Alta Ave, Upland, CA 91786-2812                                                                                    Date: October 19, 2018

    3. BUYER'S DEPOSIT CHECK. Buyer's deposit check shall be delivered to escrow within:
         (i) 3 business Days After Seller delivers to Buyer Short Sale Lenders' Consent satisfying 1B,
         or (ii) (if checked) X as specified in the Agreement.
    4. NO ASSURANCE OF LENDER APPROVAL. Buyer and Seller understand that Short Sale Lenders: (i) are
       not obligated to give consent to a short sale; (ii) may require Seller to forward any other offer received; and
       (iii) may give consent to other offers. Additionally, Short Sale Lenders may require that, in order to obtain
       their approval for a short sale, some terms of the Agreement, such as the Close of Escrow, be amended or
       that Seller sign a personal note or some other obligation for all or a portion of the amount of the secured
       debt reduction. Buyer and Seller do not have to agree to any of Short Sale Lenders' proposed terms. Buyer,
       Seller and Brokers do not have control over whether Short Sale Lenders will consent to a short sale, or
       control over any act, omission, or decision by any Short Sale Lender in the short sale process.
    5. BUYER AND SELLER COSTS. Buyer and Seller acknowledge that each of them may incur costs in
       connection with rights or obligations under the Agreement. These costs may include, but are not limited to,
       payments for loan applications, inspections, appraisals, and other reports. Such costs will be the sole
       responsibility of the party incurring them if Short Sale Lenders do not consent to the transaction or either
       party cancels the transaction pursuant to the Agreement.
    6. OTHER OFFERS. Unless otherwise agreed in writing, after Buyer's offer has been accepted by Seller, (i)
       Seller has the right to continue to market the Property for back-up offers; (ii) Seller has the right to accept
       back-up offers (C.A.R. Form PAA, Paragraph 1), and subject to Short Sale Lender(s) requirements present
       to Short Sale Lender(s) any accepted back-up offers that are received; and (iii) Seller shall notify buyer
       when any accepted back-up offers, are presented to Short Sale Lender(s).
    7. CREDIT, LEGAL AND TAX ADVICE. Seller is informed that a short sale may have credit or legal
       consequences and may result in taxable income to Seller. Seller is advised to seek advice from an
       attorney, certified public accountant or other expert regarding such potential consequences of a
       short sale.

    By signing below, Buyer and Seller each acknowledge that they have read, understand, accept and
    have received a copy of this Short Sale Addendum.

    Date 10/22/2018 | 13:38:14 PDT                                                                   Date

    Buyer                                                                                            Seller
                                                                                                                    Lynda Bui, BK Trustee for the Estate of Joel & Peggy Clelland
                 Yao Juan Xu
    Buyer                                                                                            Seller




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    SSA REVISED 4/12 (PAGE 2 OF 2)
                                                        SHORT SALE ADDENDUM (SSA PAGE 2 OF 2)
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                                                                              Exhibit 6
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                                                   REMOVAL   No.of 971
                                                                               (C.A.R. Form CR, Revised, 6/16)



    In accordance with the terms and conditions of the: X Residential Purchase Agreement (C.A.R. Form RPA-CA),                                                           Request For Repair
    (C.A.R. Form RR),    Response And Reply To Request For Repair (C.A.R. Form RRRR) or      Other
                                                                                                                                                                              ("Agreement"),
    dated 10/19/2018 , on property known as                  1339 Alta Ave, Upland, CA 91786-2812                                                                                 ("Property"),
    between                                                Yao Juan Xu                                                                                                               ("Buyer")
    and                         Lynda Bui, BK Trustee for the Estate of Joel & Peggy Clelland                                                                                       ("Seller").
    I.    BUYER REMOVAL OF BUYER CONTINGENCIES:
          1. With respect to any contingency and cancellation right that Buyer removes, unless otherwise specified in a separate written
             agreement between Buyer and Seller, Buyer shall conclusively be deemed to have: (i) completed all Buyer Investigations and
             review of reports and other applicable information and disclosures; (ii) elected to proceed with the transaction; and (iii)
             assumed all liability, responsibility and, expense, if any, for Repairs, corrections, or for the inability to obtain financing. Waiver
             of statutory disclosures is prohibited by law.
          2. Buyer removes those contingencies specified below.
             A. ONLY the following individually checked Buyer contingencies are removed:
                 1.    Loan (Paragraph 3J)
                 2.    Appraisal (Paragraph 3I)
                 3.    Buyer's Physical Inspection (Paragraph 12)
                 4.    All Buyer Investigations other than a physical inspection (Paragraph 12)
                 5.    Condominium/Planned Development (HOA or OA) Disclosures (Paragraph 10F)
                 6.    Reports/Disclosures (Paragraphs 7 and 10)
                 7.    Title: Preliminary Report (Paragraph 13)
                 8.    Sale of Buyer's Property (Paragraph 4B)
                 9.    Review of documentation for leased or liened items (Paragraph 8B(5)
                 10.   Other:
                 11.   Other:
          OR B. X ALL Buyer contingencies are removed, EXCEPT:               Loan Contingency (Paragraph 3J); Appraisal Contingency
                (Paragraph 3I);     Contingency for the Sale of Buyer's Property (Paragraph 4B);   Condominium/Planned Development
                (HOA) Disclosures (Paragraph 10F); X Other Reports/Disclosures (Par. 7&10) and Title:Preliminary Report (Par. 13)
          OR C.     BUYER HEREBY REMOVES ANY AND ALL BUYER CONTINGENCIES.
          3.     Once all contingencies are removed, whether or not Buyer has satisfied him/herself regarding all contingencies or
                 received any information relating to those contingencies, Buyer may not be entitled to a return of Buyer's deposit if
                 Buyer does not close escrow. This could happen even if, for example, Buyer does not approve of some aspect of the
                 Property or lender does not approve Buyer's loan.
    NOTE: Paragraph numbers refer to the California Residential Purchase Agreement (C.A.R. Form RPA-CA). Applicable paragraph
    numbers for each contingency or contractual action in other C.A.R. contracts are found in Contract Paragraph Matrix (C.A.R. Form
    CPM).
    Buyer                                                                                              Date 10/22/2018 | 13:38:14 PDT
           Yao Juan Xu
    Buyer                                                                                                                                                 Date


    II.   SELLER REMOVAL OF SELLER CONTINGENCIES: Seller hereby removes the following Seller contingencies:
           Finding of replacement property (C.A.R. Form SPRP); Closing on replacement property (C.A.R. Form SPRP)
           Other
    Seller                                                                                                                                                Date

    Seller                                                                                                                                                Date


    (          /              ) (Initials) CONFIRMATION OF RECEIPT: A copy of this signed Contingency Removal was personally received
    by      Buyer        Seller or authorized agent on                    (date), at                AM / PM.
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    THIS FORM HAS BEEN APPROVED BY THE CALIFORNIA ASSOCIATION OF REALTORS®. NO REPRESENTATION IS MADE AS TO THE LEGAL VALIDITY
    OR ACCURACY OF ANY PROVISION IN ANY SPECIFIC TRANSACTION. A REAL ESTATE BROKER IS THE PERSON QUALIFIED TO ADVISE ON REAL ESTATE
    TRANSACTIONS. IF YOU DESIRE LEGAL OR TAX ADVICE, CONSULT AN APPROPRIATE PROFESSIONAL.
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    CR REVISED 6/16 (PAGE 1 OF 1)
                                                                 CONTINGENCY REMOVAL (CR PAGE 1 OF 1)
    Sentinel Real Estate, 8780 19th Street #350 Alta Loma CA 91701                                                             Phone: 909-944-6900        Fax: 909-912-8350         1339 Alta Ave -
    Gregory Shipp                                   Produced with zipForm® by zipLogix 18070 Fifteen Mile Road, Fraser, Michigan 48026 www.zipLogix.com



                                                                                   Exhibit 6
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                           EXHIBIT 7
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Specialized Loan Servicing LLC
8742 Lucent Boulevard
Suite 300
Highlands Ranch, CO 80129




PEGGY CLELLAND
1339 ALTA AVE
UPLAND      CA 91786




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GL6.32 11/01/17 1002541429




12/18/2018


LYNDA T. BUI                                                         RE: Loan Number:
3550 VINE STREET, SUITE 210
RIVERSIDE      CA 992507




Property Address: 1339 ALTA AVE
                  UPLAND      CA 91786


                       Chapter 7 Bankruptcy Trustee Short Sale, Contingent Approval


Dear LYNDA T. BUI (TRUSTEE)

Pursuant to 11 U.S.C. § 363(f) SLS consents to the above-referenced Property being sold by the Trustee
in accordance with the provisions of 11 U.S.C. § 363.

Specialized Loan Servicing LLC (SLS) has been authorized by the Investor to accept a “Short Sale” in
connection with the above referenced property, release the lien secured by its Deed of Trust or Mortgage,
and release you from liability under your promissory note, contingent on the fulfillment of the conditions
listed below:

    1. Return of signed acknowledgement of this approval agreement by fax.
    2. Receipt of the final Settlement Statement by fax/email at least 24 hours prior to closing.
    3. Receipt of Minimum Net Proceeds in the amount and timeframe specified in this agreement.

The Minimum Net Proceeds from the closing in the amount of $23000.00 must be received in our office
before the close of business on 1/31/19. If any of the above requested documents and information, as
well as the Minimum Net Proceeds are not received in our office by the required dates and times, this
approval will be null and void and you will need to contact our office for updated approval.

At least 24 hours prior to closing, a copy of the final Settlement Statement must be faxed or emailed to
the attention of the Bankruptcy Department for approval. If you become aware of any changes to the
approved terms and the loan cannot close or fund, you should contact this office immediately.

SLS will continue to make normal servicing disbursements for items such as taxes and insurance, which
may increase the Minimum Net Proceeds required. In the event this occurs, SLS will send an updated
approval letter reflecting the increased Minimum Net Proceeds required for closing.

If you have not already done so, please send the requested documentation, along with the name of the
title company’s closing agent and a contact number to SLS at the fax number referenced below so that
we can make arrangements for direct payment of the proceeds. If you are a customer in bankruptcy, a
written approval from your attorney acknowledging acceptance of these terms must be received in order
to complete this process. Please return the approval letter to SLS with your signed documents.



                                          Exhibit 7
                        8742 Lucent Blvd., Suite 300, Highlands Ranch, CO 80129
                              Direct: 1-800-268-9706 Fax: 1-303-895-2513
Case 6:17-bk-10928-WJ             Doc 58 Filed 12/18/18 Entered 12/18/18 18:00:18                       Desc
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You will NOT receive any proceeds at closing and will waive your rights to any unearned premiums for
taxes and/or insurance, any escrow funds and overages for fees associated with this sale or property
securing this loan or loans, which includes, but is not limited to attorney’s fees, any and all pro-rations and
any escrow cushion.

Please be advised the acceptance of this short sale transaction is being made in reliance upon the
information provided by you to SLS, including the financial representations regarding your amounts and
sources of income, your other assets, and your debt obligations.


Sincerely,
Specialized Loan Servicing LLC
Bankruptcy Department
1-800-268-9706




*PLEASE NOTE - As a result of this Short Sale Offer, debt under your Mortgage Note may have/has
been forgiven and there may be tax consequences to you. Please consult your tax advisor.


SPECIALIZED LOAN SERVICING LLC IS REQUIRED BY FEDERAL LAW TO ADVISE YOU THAT
THIS COMMUNICATION IS FROM A DEBT COLLECTOR.

BANKRUPTCY NOTICE - IF YOU ARE A CUSTOMER IN BANKRUPTCY OR A CUSTOMER WHO
HAS RECEIVED A BANKRUPTCY DISCHARGE OF THIS DEBT: PLEASE BE ADVISED THAT THIS
NOTICE IS TO ADVISE YOU OF THE STATUS OF YOUR MORTGAGE LOAN. THIS NOTICE
CONSTITUTES NEITHER A DEMAND FOR PAYMENT NOR A NOTICE OF PERSONAL LIABILITY TO
ANY RECIPIENT HEREOF, WHO MIGHT HAVE RECEIVED A DISCHARGE OF SUCH DEBT IN
ACCORDANCE WITH APPLICABLE BANKRUPTCY LAWS OR WHO MIGHT BE SUBJECT TO THE
AUTOMATIC STAY OF SECTION 362 OF THE UNITED STATES BANKRUPTCY CODE. HOWEVER,
IT MAY BE A NOTICE OF POSSIBLE ENFORCEMENT OF THE LIEN AGAINST THE COLLATERAL
PROPERTY, WHICH HAS NOT BEEN DISCHARGED IN YOUR BANKRUPTCY. IF YOU HAVE
QUESTIONS, PLEASE CONTACT US AT 1-800-306-6057.

NOTICES OF ERROR AND REQUESTS FOR INFORMATION (INCLUDING QUALIFIED WRITTEN
REQUESTS), MUST BE SUBMITTED IN WRITING TO: SPECIALIZED LOAN SERVICING LLC, P.O.
BOX 630147, LITTLETON, CO 80163-0147




                                            Exhibit 7
                        8742 Lucent Blvd., Suite 300, Highlands Ranch, CO 80129
                              Direct: 1-800-268-9706 Fax: 1-303-895-2513
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Loan number

All seller proceeds from the sale must be made payable to Specialized Loan Servicing LLC in the form of
a cashier’s check and remitted immediately after closing and mailed to:
                 Specialized Loan Servicing LLC
                 Attn: Bankruptcy Cashiering Department
                 8742 Lucent Blvd, Suite 300
                 Highlands Ranch, CO 80129

Proceeds may also be wired to:
              Bank Name:                Wells Fargo Bank NA
              Bank Address:             420 Montgomery Street San Francisco, CA 94104
              Account Number:
              Bank ABA Number:
              Account Name:             SLS – Wire Clearing

Reference your name, SLS Loan number, and property address to ensure payments are properly applied.

Please complete the following information so that we may update our records:

Customer’s Daytime telephone number: ____________________________

Mailing Address: ________________________________________________

City, State, Zip:__________________________________________________

After full completion of this document, please email all pages to: Bankruptcy@SLS.net.



My signature below acknowledges acceptance of the above terms and conditions.




_________________________________                _________________________________
LYNDA T. BUI (TRUSTEE)       Date                                             Date




                                         Exhibit 7
                      8742 Lucent Blvd., Suite 300, Highlands Ranch, CO 80129
                            Direct: 1-800-268-9706 Fax: 1-303-895-2513
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 100
Spectrum Center Drive, Suite 600, Irvine, California 92618

A true and correct copy of the foregoing document entitled (specify): NOTICE OF SALE OF ESTATE PROPERTY will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 18, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 18, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 18, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Via Email to Trustee’s Broker and Selling Broker:
BK Global Real Estate Services, Patrick Butler pbutler@bkginc.com
Sentinel Real Estate & Investments, Attn Gregory Shipp, gregoryshipp@hotmail.com
Sentinel Real Estate & Investments, Attn JamesonShipp, jamesonshipp715@gmail.com
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  December 18, 2018                 Lorre Clapp                                                  /s/ Lorre Clapp
  Date                              Printed Name                                                 Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
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                                                             NEF SERVICE LIST
    •   Lynda T. Bui (TR) trustee.bui@shbllp.com, C115@ecfcbis.com Chapter 7 Trustee
    •   Tyneia Merritt tye@mlawinc.com, legal@mlawinc.com, Attorney for Deutsche Bank National Trust Company,
        as Trustee, for IndyMac Home Equity Mortgage Loan Asset-backed Trust, Series 2006-H1
    •   Christina J O christinao@mclaw.org, CACD_ECF@mclaw.org Attorney for Lakeview Loan Servicing, LLC
    •   Valerie Smith claims@recoverycorp.com NEF for Interested Party
    •   United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov United States Trustee
    •   Julie J Villalobos julie@oaktreelaw.com, oakecfmail@gmail.com, villalobosjr51108@notify.bestcase.com
        Attorney for the Debtors

                                                           EMAIL SERVICE LIST
Via Email to Trustee’s Broker and Selling Broker:
BK Global Real Estate Services, Patrick Butler pbutler@bkginc.com
Sentinel Real Estate & Investments, Attn Gregory Shipp, gregoryshipp@hotmail.com
Sentinel Real Estate & Investments, Attn JamesonShipp, jamesonshipp715@gmail.com

                                                         US MAIL SERVICE LIST
Judge's Copy
Attn: Honorable Wayne E. Johnson, U.S. Bankruptcy Court, 3420 Twelfth Street, Suite 385, Riverside, CA 92501

Buyer: Yao Juan Xu, 4394 Hiwassee, Claremont, CA 91711

Secured Creditor: MTC Financial dba Trustee Corps, Attn Marisol A. Nagata, Esq., General Counsel, 17100
Gillette Ave. Irvine, CA 92614

Secured Creditor: Specialized Loan Servicing LLC, Attn President or Manager, 8742 Lucent Blvd, Suite 300,
Highlands Ranch, CO 80129

Tax Collector: San Bernardino County Treasurer/Tax Collector, 268 W. Hospitality Lane, First Fl, San Bernardino,
CA 924155


Creditors and Parties in Interest:

 DEBTORS                                         UNITED STATES TRUSTEE                              COURT MAIL LIST
 PEGGY IRENE CLELLAND                            UNITED STATES TRUSTEE (RS)                         EMPLOYMENT DEVELOPMENT DEPT.
 JOEL DOUGLAS CLELLAND                           3801 UNIVERSITY AVENUE, SUITE 720                  BANKRUPTCY GROUP MIC 92E
 1339 ALTA AVE                                   RIVERSIDE, CA 92501-3255                           P.O. BOX 826880
 UPLAND, CA 91786-2812                                                                              SACRAMENTO, CA 94280-0001
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 FRANCHISE TAX BOARD                             HAHN FIFE & COMPANY                                CAPITAL ONE
 BANKRUPTCY SECTION MS: A-340                    790 E COLORADO BLVD 9TH FL                         PO BOX 30285
 P.O. BOX 2952                                   PASADENA, CA 91101-2193                            SALT LAKE CITY UT 84130-0285
 SACRAMENTO, CA 95812-2952
 COURT MAIL LIST                                 CLAIM FILED                                        COURT MAIL LIST
 CAPITAL ONE                                     CAPITAL ONE BANK (USA), N.A.                       CENLAR
 ATTN: BANKRUPTCY                                PO BOX 71083                                       ATTN PRESIDENT OR MANAGER AGENT
 PO BOX 30285                                    CHARLOTTE, NC 28272-1083                           P.O.BOX 77404
 SALT LAKE CITY, UT 84130-0285                                                                      TRENTON, NJ 08628-6404
 COURT MAIL LIST                                 COURT MAIL LIST                                    CLAIM FILED
 CREDIT ONE BANK NA                              CREDIT ONE BANK NA                                 INTERNAL REVENUE SERVICE
 PO BOX 98872                                    PO BOX 98873                                       P.O. BOX 7346
 LAS VEGAS, NV 89193-8872                        LAS VEGAS, NV 89193-8873                           PHILADELPHIA, PA 19101-7346


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 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 LENDING CLUB CORP                               LENDING CLUB CORP                                  MID AMERICA BANK & TRU
 71 STEVENSON PL. STE # 300                      71 STEVENSON ST                                    5109 S BROADBAND LN
 SAN FRANCISCO, CA 94105-2985                    SUITE 300                                          SIOUX FALLS, SD 57108-2208
                                                 SAN FRANCISCO, CA 94105-2985
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 NAVIENT                                         NAVIENT                                            OCWEN LOAN SEVICING LLC
 ATTN: CLAIMS DEPT                               PO BOX 9500                                        1661 WORTHINGTON R
 PO BOX 9500                                     WILKES BARRE, PA 18773-9500                        WEST PALM BEAC, FL 33409-6493
 WILKES-BARR, PA 18773-9500
 COURT MAIL LIST                                 CLAIM FILED                                        COURT MAIL LIST
 PRA RECEIVABLES MANAGEMENT, LLC                 PYOD, LLC ITS SUCCESSORS                   AND     POWER SALES UNIVERSITY
 PO BOX 41021                                    ASSIGNS AS ASSI                                    2901 WEST COAST HWY #200
 NORFOLK, VA 23541-1021                          OF FNBM, LLC                                       NEWPORT BEACH, CA 92663-4045
                                                 RESURGENT CAPITAL SERVICES
                                                 PO BOX 19008
                                                 GREENVILLE, SC 29602-9008
 COURT MAIL LIST                                 COURT MAIL LIST                                    CLAIM FILED
 RISE CREDIT                                     SCHOOLS FIRST FCU                                  SCHOOLS FIRST FCU
 PO BOX 101808                                   2115 N BROADWAY                                    PO BOX 11547
 FORT WORTH, TX 76185-1808                       SANTA ANA, CA 92706-2613                           SANTA ANA, CA 92711-1547
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 SPECIALIZED LOAN SERVI                          SPECIALIZED LOAN SERVI                             TARGET
 8742 LUCENT BLVD.#300                           ATTN: BANKRUPTCY                                   C/O FINANCIAL & RETAIL SERVICES
 HIGHLANDS RANCH, CO 80129-2386                  8742 LUCENT BLVD. SUITE 300                        MAILSTOP BT PO BOX 9475
                                                 HIGHLANDS RANCH, CO 80129-2386                     MINNEAPOLIS, MN 55440-9475
 COURT MAIL LIST                                 CLAIM FILED                                        RETURNED MAIL
 TARGET                                          VERIZON
 PO BOX 673                                      BY AMERICAN INFOSOURCE LP AS AGENT
 MINNEAPOLIS, MN 55440-0673                      4515 N SANTA FE AVE
                                                 OKLAHOMA CITY, OK 73118-7901
 NO ADDRESS                                      NO ADDRESS                                         NO ADDRESS
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 SCHOOLSFIRST FCU                                CENLAR FSB                                         COURTESY NEF
 NO ADDRESS                                      NO ADDRESS                                         NOT APPLICABLE
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 DEUTSCHE BANK NATIONAL TRUST                    LAKEVIEW LOAN SERVICING, LLC, AND ITS              RIVERSIDE DIVISION
 COMPANY, AS TRU                                 SUCCES                                             3420 TWELFTH STREET,
                                                                                                    RIVERSIDE, CA 92501-3819




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
